Case 2:16-cv-13036-GAD-SDD ECF No. 84-5 filed 07/03/18   PageID.1871   Page 1 of 49




                       EXHIBIT D
Case 2:16-cv-13036-GAD-SDD ECF No. 84-5 filed 07/03/18         PageID.1872   Page 2 of 49




                              In The Matter Of:
                                   Parker vs.
                              City of Detroit, et al.




                       Police Officer Jerold Blanding
                             October 12, 2017




                      Original File BLANDING_POLICE OFFICER JEROLD.txt
                           Min-U-Script® with Word Index
  Case vs.
Parker 2:16-cv-13036-GAD-SDD             ECF No. 84-5 filed 07/03/18               PageID.1873   Page
                                                                                    Police Officer    3 of Blanding
                                                                                                   Jerold  49
City of Detroit, et al.                                                                                  October 12, 2017
                                                     Page 1                                                              Page 3
 1                 UNITED STATES DISTRICT COURT
                                                              1      TABLE OF CONTENTS
 2                 EASTERN DISTRICT OF MICHIGAN
                                                              2
 3                      SOUTHERN DIVISION
                                                              3    WITNESS                          PAGE
 4
                                                              4
 5    DEMAR PARKER,                                           5    POLICE OFFICER JEROLD BLANDING
 6                 Plaintiff,                                 6
 7   -vs-                       Case No. 16-cv-13036-GAD-SDD
                                                              7    Examination by Ms. Prescott         4
 8   CITY OF DETROIT, et al.,       Hon. Gershwin A. Drain    8    Examination by Mr. Paddison         176
 9   jointly and severally,     Mag. Stephanie Dawkins Davis  9    Re-Examination by Ms. Prescott       187
10                 Defendants.                               10
11    ~~~~~~~~~~~~~~~~~~~~~~~~/                              11      EXHIBITS (Attached): IDENTIFIED
12    DEPONENT:         POLICE OFFICER JEROLD BLANDING 12
13    DATE:              Thursday, October 12, 2017          13    Exhibit 1 Diagram               81
14    TIME:              1:22 p.m.                           14    Exhibit 2 Signature page         118
15    LOCATION:         City of Detroit Law Department 15          Exhibit 3 Screen shot           133
16                       2 Woodward Avenue, Suite 500 16           Exhibit 4 Screen shot           140
17                       Detroit, Michigan                   17    Exhibit 5 Khary Mason screen shot    166
18                                                           18    Exhibit 6 Management Awareness System 166
19    REPORTER:         John J. Slatin, RPR, CSR-5180 19             document
20                       Certified Shorthand Reporter 20           Exhibit 7 Detroit Police Department, 171
21                                                           21      Personnel Order
22                 (Appearances listed on page 2)            22
23                                                           23
24                                                           24
25                                                           25


                                                     Page 2                                                              Page 4
 1   APPEARANCES:
                                                               1      Thursday, October 12, 2017
 2
                                                               2      Detroit, Michigan
 3         SARAH S. PRESCOTT (P70510)
                                                               3      1:22 p.m.
 4         Salvatore, Prescott & Porter, PLLC
                                                               4      * * *
 5         105 East Main Street                                5      POLICE OFFICER JEROLD BLANDING,
 6         Northville, Michigan 48167                          6   having been first duly sworn, was examined and testified
 7         (248) 679-8711                                      7   as follows:
 8         prescott@spplawyers.com                             8      EXAMINATION
 9              Appearing on behalf of the Plaintiff.          9      BY MS. PRESCOTT:
10                                                            10   Q. So, good afternoon, Officer Blanding. My name is Sarah
11         GREGORY B. PADDISON (P75963)                       11    Prescott. I represent Demar Parker, and today is the
12         City of Detroit Law Department                     12    date for -- Noticed for your deposition.
13         2 Woodward Avenue, Suite 500                       13       It's being taken under the Federal Rules of Civil
14         Detroit, Michigan 48226                            14    Procedure relative to the federal suit we filed in this
15         (313) 237-0435                                     15    case, and it can be used for all the purposes that the
16         paddisong@detroitmi.gov                            16    rules allow.
17              Appearing on behalf of the Defendants.        17       My job today is to ask you a series of questions,
18                                                            18    and when I've done that and you answer, I have to assume
19                                                            19    that we were on the same page.
20                                                            20       So, if you have any questions about anything I've
21                                                            21    said, or "What are we talking about?" or clarifications,
22                                                            22    anything that you need clarified whatsoever, will you
23                                                            23    let me know?
24                                                            24   A. Yes.
25                                                            25   Q. Okay. If you need a break, will you let me know?


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  Case vs.
Parker 2:16-cv-13036-GAD-SDD                    ECF No. 84-5 filed 07/03/18               PageID.1874   Page
                                                                                           Police Officer    4 of Blanding
                                                                                                          Jerold  49
City of Detroit, et al.                                                                                         October 12, 2017
                                                            Page 5                                                             Page 7

 1   A. Yes.                                                          1       Putting those aside, have you sat down in a
 2   Q. Okay. And if you -- at some point you need to talk to         2    proceeding like this where it was a court reporter and
 3    your lawyer, you can certainly let me know that. I just         3    yourself, a lawyer asking you questions?
 4    need to take an answer to each question, so we have like        4   A. As I recall, maybe once -- one other time.
 5    peanut butter and jelly, the pair, every question and           5   Q. Okay. And what do you remember about it?
 6    answer, and then you can take a break and step out.             6   A. It was from a prior shooting -- previous. I can't
 7   A. I need to ask you something before we start.                  7    remember what year. '96 or '97.
 8       MS. PRESCOTT: Okay.                                          8   Q. And who was being sued?
 9       (Short recess at 1:23 p.m.)                                  9   A. The City.
10       * * *                                                       10   Q. Anyone else?
11       (Record resumed at 1:24 p.m.)                               11   A. Not as far as I know.
12       MS. PRESCOTT: Okay. So, we're back on the record,           12   Q. Like you -- do you know if you were sued?
13    and --                                                         13   A. Yeah, well -- was I sued?
14   A. So, do I --                                                  14   Q. Right.
15       MR. PADDISON: No.                                           15   A. I can't remember the outcome of the case, but it was
16       There was a brief conversation off the record.              16    from an attempted robbery.
17    There is anticipation that testimony given during              17   Q. Okay. Separate from the outcome, do you know if you
18    Officer Blanding's Garrity interview will be taken.            18    were accused of doing something wrong in the case?
19    Counselors have agreed that that testimony will be part        19   A. No. I wasn't accused of anything wrong, no disciplinary
20    of a separate sealed record. Just the request has been         20    action or anything.
21    made that no additional recording of the testimony but         21   Q. Okay. Who was the person that was bringing the lawsuit?
22    for the court reporter be taken during this deposition.        22   A. I think his name was Johnny Crenshaw.
23       MS. PRESCOTT: Okay. And that's fine. And so we              23   Q. Was he convicted of whatever, the robbery or acts around
24    may -- we may do some playing, and we'll just -- just to       24    a robbery?
25    clarify your point about the separate sealed record,           25   A. I have no idea.

                                                            Page 6                                                             Page 8

 1    we'll just -- it will be subject to the protective order        1   Q. Okay. Do you know whether he was charged?
 2    we have; right?                                                 2   A. I have no idea.
 3       MR. PADDISON: Right. Right.                                  3   Q. Okay. And in terms of the outcome, with regard to
 4       MS. PRESCOTT: Okay. All right.                               4    Crenshaw, you don't recall what happened there?
 5       BY MS. PRESCOTT:                                             5   A. They didn't tell me. They just said I was -- you know,
 6   Q. Okay. So, we have -- we have a basic understanding            6    after I gave my deposition, that I was fine; that he
 7    here, but, Officer, how many times have you been deposed        7    apparently received some money for some of his injuries,
 8    prior to today?                                                 8    not all of them.
 9   A. What do you mean?                                             9   Q. Okay. And so you are aware that Mr. Crenshaw settled
10   Q. How many times have you sat and given testimony where        10    with the City relative to what happened there?
11    you were either in court where you took an oath, or you        11   A. They wouldn't tell me as to how much or whatnot. They
12    sat down in a -- court reporter -- room with a court           12    just said the case was over.
13    reporter and took an oath before today?                        13   Q. Okay. You had shot Mr. Crenshaw?
14   A. Several times. I've been on the police department over       14   A. Yes.
15    23 and a half years.                                           15   Q. And you claimed that he had a gun; right?
16   Q. Okay. So, what was the first one of those?                   16   A. He tried to rob us.
17   A. Are you talking about as far as me making an arrest?         17   Q. But you claimed the man had a gun; right?
18   Q. No. Times when you've come in and testified under oath.      18   A. Yes.
19   A. As far as just like this, like the deposition?               19   Q. And he said that was a lie; right?
20   Q. Okay. So, let's break it down.                               20   A. If that's what he said.
21       So, let's put aside court where you're in a                 21   Q. Do you know?
22    courthouse.                                                    22   A. I don't know. I've never -- I didn't deal with him at
23   A. Okay.                                                        23    all except for the shooting. It was a separate issue.
24   Q. In the middle of a courtroom where, you know, you've got     24   Q. Do you know -- and so you don't know whether you were a
25    a judge and maybe a jury.                                      25    person who was sued as well as the City?


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  Case vs.
Parker 2:16-cv-13036-GAD-SDD                    ECF No. 84-5 filed 07/03/18                PageID.1875   Page
                                                                                            Police Officer    5 of Blanding
                                                                                                           Jerold  49
City of Detroit, et al.                                                                                          October 12, 2017
                                                             Page 9                                                             Page 11

 1   A. As I recall, it was the City.                                  1   Q. Nothing that you can recall, sitting here?
 2       You have to talk to the attorney. His name was                2   A. No.
 3    Jacob Schwarzberg. That's who handled my case.                   3   Q. Okay. And what have you been disciplined for?
 4   Q. Did you give permission to settle the case?                    4       MR. PADDISON: Objection. Relevance.
 5   A. How could I give permission to settle the case?                5       Go ahead and answer.
 6   Q. If you were sued, you would have to be the one to say,         6   A. Minor things. I can't recall. I don't -- I have a good
 7    "I want to go to trial," or "I want to settle."                  7    record. I -- probably an ACR entry or whatnot, but
 8       MR. PADDISON: Counselor, I think it                           8    nothing as far as losing days or suspension, nothing.
 9    mischaracterizes the relationship between the police             9       BY MS. PRESCOTT:
10    officers and the Law Department and city council. City          10   Q. So, an ACR entry is an entry into your record of the
11    council, in lawsuits against officers in their official         11    fact of there was a discipline?
12    capacity or the City, city council makes the decision           12   A. Yes. And it's supposed to stay in like six months and
13    whether or not to settle, not the individual officer.           13    then it's supposed to be erased out of your file.
14       MS. PRESCOTT: Okay. Well, he can tell me that, if            14   Q. Okay. So, what are the things you've been disciplined
15    that's how it rolls.                                            15    for?
16       MR. PADDISON: Well, you were telling him how the             16   A. I can't recall everything.
17    settlement rolls.                                               17       At this point, through my 23 and a half years,
18       MS. PRESCOTT: Well --                                        18    probably -- probably twice.
19       MR. PADDISON: I believe your statement was, "You             19   Q. What are those?
20    would have to give permission" --                               20   A. One was an incident back in '94 for shooting at a bird
21       MS. PRESCOTT: I was --                                       21    in a vacant building. And then the second one was
22       MR. PADDISON: -- which mischaracterizes the                  22    something -- some paperwork that we had filed not
23    relationship to the Law Department.                             23    correct. And I can't remember. It was minor stuff.
24       MS. PRESCOTT: I was offering ways that it might be           24   Q. So, you used your service weapon while you were on duty
25    that he would give permission. If he's named in a               25    and shot at a bird?

                                                            Page 10                                                             Page 12

 1    personal capacity, maybe he gives permission. Maybe              1   A. Yes.
 2    that's a way we can find out if he was named. Hence, my          2   Q. And what was the -- what did you understand was the
 3    question.                                                        3    reason for discipline? Like is there a policy violation
 4       MR. PADDISON: I mean, you can ask him if he knows             4    there or what?
 5    if he was sued.                                                  5   A. I can't recall. That happened when I first got on the
 6       MS. PRESCOTT: Yeah, and I did. And we're trying               6    job, ma'am.
 7    to get at it another way now.                                    7   Q. Has anyone ever mentioned or raised that to you since
 8       MR. PADDISON: Okay.                                           8    1994?
 9       MS. PRESCOTT: Okay. That's why.                               9   A. They was -- the boss was mad because that wasn't -- that
10       BY MS. PRESCOTT:                                             10    was supposed to have been erased out of my file, so that
11   Q. Suffice it to say, you don't recall being a part of a         11    shouldn't even have been brought up.
12    discussion of whether or not to go on with the case, go         12   Q. I didn't understand the first part.
13    to trial, settle it?                                            13       Did someone --
14   A. I don't recall.                                               14   A. It was supposed to have been erased out of my file after
15       I know I went to the deposition, and then nothing            15    six months.
16    else happened with it.                                          16   Q. Okay.
17   Q. Okay. So, Crenshaw is shot. There is a lawsuit.               17   A. That happened way back in '94. I was brand new on the
18       Is there an internal investigation about it?                 18    job.
19       MR. PADDISON: Form. Foundation. Relevance.                   19   Q. Okay. But has anyone ever mentioned it or discussed
20       Go ahead and answer if you know.                             20    that incident with you ever since 1994?
21   A. I've never been disciplined for any of that.                  21   A. Just the stuff that you guys put in the paper.
22       BY MS. PRESCOTT:                                             22   Q. But like -- it's a good clarification.
23   Q. Okay. My question was different. It was whether there         23       Has any boss of yours, any supervisor above you,
24    was an internal investigation.                                  24    ever mentioned it?
25   A. I have no idea.                                               25   A. No.


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  Case vs.
Parker 2:16-cv-13036-GAD-SDD                   ECF No. 84-5 filed 07/03/18               PageID.1876   Page
                                                                                          Police Officer    6 of Blanding
                                                                                                         Jerold  49
City of Detroit, et al.                                                                                        October 12, 2017
                                                          Page 13                                                             Page 15

 1   Q. Has anyone ever asked you about what happened there or       1    can't recall what it was.
 2    the circumstances ever since 1994?                             2   Q. Okay. And so are those the only two times you've ever
 3   A. No.                                                          3    been disciplined?
 4       Those bosses retired, ma'am.                                4   A. As far as -- I had had verbal counseling or something
 5   Q. Okay. But like -- I mean, do you even have any idea          5    before.
 6    that your current bosses would know about that?                6   Q. Okay. How about any kind of discipline?
 7   A. I've never looked at my record. If it's still in there,      7   A. No. I've never been suspended, never lost any days,
 8    it shouldn't be. They would know. They would have              8    nothing, ma'am.
 9    access to that.                                                9   Q. You weren't disciplined with anything regarding to Demar
10   Q. Okay. It's not in your record, I don't think. So,           10    Parker or shooting him?
11    that's why I am trying to figure out if your bosses know      11   A. No.
12    about it.                                                     12   Q. Okay. So, the first time that you -- we started walking
13   A. Your guess is as good as mine, ma'am.                       13    down this road because of time -- I asked you about
14   Q. Okay. You don't know?                                       14    times you had come in and had to sit and testify like
15   A. No.                                                         15    this, and you said the one had to do with Crenshaw.
16   Q. And then this paperwork thing is what? What was the         16       Are there other times where you've come in and
17    allegation against you?                                       17    given questions, with a court reporter, like this?
18       MR. PADDISON: Okay. So, I don't want to jam you            18   A. As I recall, we had an incident when I was at Narcotics,
19    up. I'll just put an ongoing to the line of questioning       19    but our whole raid crew had to go down with that one to
20    regarding allegations of past misconduct. That way I'm        20    trial at the City-County Building, but they were found
21    not jamming you up.                                           21    not guilty. But I can't remember if we did this
22       MS. PRESCOTT: Yeah.                                        22    individually like this.
23       MR. PADDISON: Go ahead and answer.                         23   Q. Okay. And what year are we in here that that happens?
24   A. Something -- not checking something off on a run sheet      24   A. Either '95, '96 or '97. I was at Narcotics then. Maybe
25    that we had to start doing.                                   25    even '98. It was a fight that the raid crew had.

                                                          Page 14                                                             Page 16

 1       BY MS. PRESCOTT:                                            1   Q. And so this is -- this fight or this thing with the
 2   Q. What year was this?                                          2    narcotics crew, this is the same thing? There's one
 3   A. I have -- it happened after 2010.                            3    incident?
 4   Q. Let me circle back.                                          4   A. I can't recall, like I said, if we did this
 5       With regard to the 1994 incident with the shooting,         5    individually.
 6    what was the rule or the policy or the -- whatever that        6   Q. Right.
 7    was at issue?                                                  7   A. I know that we did have to come to City-County Building,
 8       Did you say you didn't know?                                8    went to trial for about three days, four days, and we
 9   A. No. I believe it was just discharging my firearm.            9    were all found not guilty.
10   Q. Okay. But why? I mean, why -- what was wrong with           10   Q. You all were?
11    that?                                                         11   A. Yes.
12   A. I don't recall, ma'am.                                      12   Q. Okay. And was there a lawyer that you worked with on
13   Q. Okay. And do you recall -- you don't recall what was        13    that?
14    wrong with the run sheet or what the --                       14   A. I can't recall who it was.
15   A. It was something about -- we -- they changed some           15   Q. And do you recall who was making a claim that something
16    policy. They wanted us doing a run sheet, and my              16    wrong had been done? Like was there a person like
17    partner and I were -- kept forgetting to do it because        17    Johnny Crenshaw?
18    it was something new, something very tedious, and one of      18   A. It was like two guys that were in the house during the
19    the sergeants just got mad and said -- they gave us a         19    raid.
20    verbal counseling and, by me being a senior officer, an       20   Q. They had alleged that they -- that that officers used
21    ACR entry.                                                    21    excessive force, undue force?
22   Q. And do you recall what the -- like what it was that they    22   A. Yes. Something to that extent.
23    were --                                                       23   Q. Okay.
24   A. Not checking in one of the boxes on top of the run sheet    24      THE REPORTER: I'm sorry?
25    because he got tired of having to check it every day. I       25   A. I said something to that extent. I can't recall exactly


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  Case vs.
Parker 2:16-cv-13036-GAD-SDD                   ECF No. 84-5 filed 07/03/18                 PageID.1877   Page
                                                                                            Police Officer    7 of Blanding
                                                                                                           Jerold  49
City of Detroit, et al.                                                                                          October 12, 2017
                                                           Page 17                                                              Page 19

 1    what --                                                         1    against you?
 2       THE REPORTER: Thank you.                                     2       MR. PADDISON: I'm just going to renew the
 3       BY MS. PRESCOTT:                                             3    objection as ongoing.
 4   Q. Okay.                                                         4       Go ahead and answer.
 5   A. And they were charged, too.                                   5   A. I have no idea, ma'am.
 6   Q. And what names -- you don't remember their names?             6       BY MS. PRESCOTT:
 7   A. No.                                                           7   Q. Do you get notified of them?
 8   Q. And do you remember some of the other folks who went          8   A. Yes, we would get notified, but the majority of them
 9    down to the City-County Building and were part of that          9    came when we were at Narcotics, and they would be
10    trial, like other officers?                                    10    against the whole raid crew.
11   A. The raid crew I was on then -- you mean their names?         11   Q. So, how many have said that you used excessive force?
12   Q. Yeah. Like other police officers.                            12   A. I can't recall. There were just accusations of
13   A. At the time, it was Sergeant Patrick O'Rourke(sic);          13    different things of not having a search warrant, just
14    Officer Dennis Griffiths, he's deceased now; Officer           14    trying to beat the narcotics case.
15    Darren Bell; Officer John Dembinski; myself; I believe         15   Q. Okay. And so you're not sure about the number that
16    Officer Daniel Mitchell. I can't recall if he was on           16    involved a claim of excessive force?
17    our raid crew that day.                                        17   A. Me personally, no.
18       That was the crew that I worked on for years.               18   Q. And how many of them were resolved where there was a
19   Q. Okay. And was there ever a time you ever had to go down      19    specific finding one way or another way as opposed to
20    to the federal courthouse on Lafayette for a trial or a        20    unfounded or unsubstantiated or just no resolution at
21    case?                                                          21    all?
22   A. A shooting happened in 2004.                                 22   A. The majority of them were unfounded, no resolution.
23       I've been to federal court a couple times on drug           23    And, like I said, I have a good record.
24    cases.                                                         24   Q. Well, when you say "majority," then I have to probe it,
25   Q. Okay. And what was the 2004 matter?                          25    because "majority" to me means more than half.

                                                           Page 18                                                              Page 20

 1   A. I shot a guy in the raid.                                     1       So, I want to make sure we get on the same page.
 2   Q. And he claimed that that was wrongful, excessive?             2       Do you know how many have come out with specific
 3   A. No. He was trying to beat the dope case. He was a             3    findings one way or another?
 4    habitual offender. He had a gun. He went to fire at             4   A. No.
 5    me, and I fired first.                                          5   Q. Is that something that you can go back, if you wanted --
 6   Q. So, was there a lawsuit by him?                               6    like back at your precinct or whatever and you can go
 7   A. No. That was a federal court case.                            7    back and look up?
 8   Q. I just asked because sometimes federal court cases can        8   A. No. When I was at Narcotics, the majority of the stuff
 9    be claiming, like this one, excessive force.                    9    was on paperwork, so I don't know where you would find
10   A. No, none of that.                                            10    that stuff at in Narcotics.
11   Q. Okay. Do you remember his name?                              11   Q. Do you know how many times you've been named as a person
12   A. They said he's dead now.                                     12    who is sued in a lawsuit?
13       I believe it was Edward Robinson, Junior.                   13   A. Just -- as I recall, just this and with Johnny Crenshaw.
14   Q. So, were you testifying in his criminal conviction or in     14       And the incident I told you about where the whole
15    his criminal case?                                             15    raid crew went; that they were trying to sue the whole
16   A. Yes. He got found guilty, life in prison with no             16    raid crew.
17    parole.                                                        17   Q. And with regard to the Crenshaw, did you -- did you get
18   Q. Okay. And then other times you -- have there been other      18    put out on a leave while there was an investigation --
19    times that you've been down at that Lafayette Building?        19    if -- at any point, did you get put out on a leave
20   A. Yes, for narcotic cases.                                     20    relative to that shooting?
21   Q. Okay. Have there been other times where you were down        21   A. No.
22    there relative to someone saying that you had done             22   Q. Has anyone discussed that shooting with you since this
23    something wrong?                                               23    case came -- the events of this case?
24   A. No. Just narcotics cases.                                    24       MR. PADDISON: I'll just clarify. I'm going to
25   Q. How many times have there been citizen complaints            25    instruct my client not to answer to the extent it was --


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  Case vs.
Parker 2:16-cv-13036-GAD-SDD                    ECF No. 84-5 filed 07/03/18                PageID.1878   Page
                                                                                            Police Officer    8 of Blanding
                                                                                                           Jerold  49
City of Detroit, et al.                                                                                          October 12, 2017
                                                           Page 21                                                              Page 23

 1    involves conversations between himself and his attorney         1    trial.
 2    in this case or himself and his DPOA attorney.                  2   Q. My question is whether or not anyone ever sought
 3       Beyond those objections, you can go ahead and                3    criminal charges against you for whatever you -- what
 4    answer.                                                         4    your role was.
 5   A. What was your question again?                                 5   A. It was the whole raid crew, ma'am. That's what I keep
 6       MR. PADDISON: Sorry.                                         6    trying to explain to you.
 7       MS. PRESCOTT: That's all right.                              7   Q. Okay. So, do you think the whole raid crew had criminal
 8       BY MS. PRESCOTT:                                             8    charges taken against them as opposed to a guy saying,
 9   Q. Has anyone at Detroit Police Department raised or             9    "You did something wrong to me"? Did the --
10    discussed the Crenshaw matter with you since the events        10   A. I was part of the raid crew.
11    of this case?                                                  11   Q. -- prosecutor? You're not sure?
12   A. No.                                                          12   A. It's confusing. I was part of the raid.
13   Q. Like there were no questions about that when you were        13       MR. PADDISON: Can I -- because I think you and I
14    questioned about Demar Parker?                                 14    understand what you're asking. Do you mind if I try and
15   A. No.                                                          15    clarify?
16   Q. Did you have your badge or gun taken at any point            16       MS. PRESCOTT: Yeah.
17    relative to the Crenshaw thing?                                17       MR. PADDISON: And if I'm not getting it for you --
18   A. No. I've never had my -- wait a minute. Let me think.        18       Has there ever been a situation where you were
19       THE REPORTER: Excuse me?                                    19    involved in a lawsuit or a criminal prosecution where
20   A. I said let me think.                                         20    there was a possibility that you could go to jail or
21       When -- the Crenshaw thing, I had to go to the lab          21    that you could be convicted of a crime?
22    the next day for them to fire it, but I never had my gun       22   A. No.
23    taken.                                                         23       MR. PADDISON: Okay. Are you aware of any
24       With this incident, they took my gun and gave me            24    circumstance where you could be found liable to pay
25    a -- I'm trying to think.                                      25    money, or the City pay money on your behalf?

                                                           Page 22                                                              Page 24

 1       Did they give me a loaner?                                   1   A. No.
 2       Yeah. They gave me a loaner on this incident.                2      MS. PRESCOTT: Okay.
 3       BY MS. PRESCOTT:                                             3      MR. PADDISON: I hope I --
 4   Q. Relative to Demar Parker?                                     4      BY MS. PRESCOTT:
 5   A. Yes.                                                          5   Q. Has anyone every sought a warrant on you?
 6   Q. Okay. Other than the time that you just described where       6   A. Do you mean -- well, per Homicide, if there's a
 7    they took your gun and gave you a loaner in the Demar           7    shooting, they have to do a warrant, but they were
 8    Parker matter, have you ever had your gun taken?                8    denied.
 9   A. Taken as far as what, ma'am? That's two different             9   Q. When did Homicide have to do warrants for you?
10    things.                                                        10   A. As far as I know, they have to do them for every
11       Like suspended?                                             11    shooting.
12   Q. Yeah, like "Give me your badge and your gun."                12   Q. Do you know whether that was in place back when the
13   A. No, never.                                                   13    Crenshaw thing happened?
14   Q. Okay. And were there ever any charges sought against         14   A. I'm sure they did, but as far as them arresting me or
15    you with regard to the Crenshaw matter?                        15    anything, no.
16   A. No.                                                          16   Q. No, no. Yeah, I guess I want to distinguish what you
17   Q. Have you ever had criminal charges sought against you?       17    know and what you think probably was true.
18   A. Just the incident, as I recall, with the raid crew.          18      So, do you know when the policy was of we're just
19   Q. Criminal charges?                                            19    going to go get -- look for a warrant after any
20   A. I can't remember exactly, ma'am. It was a horrible           20    shooting?
21    fight in the house, a bunch of dogs, a bunch of                21   A. As far as I know, each time you fire your weapon,
22    commotion.                                                     22    Internal Affairs and Force Investigation and Homicide
23   Q. Okay.                                                        23    will have to sought a warrant against the officer, and
24   A. And they got found guilty of the drugs, and all the          24    so far they have all been denied, and one is still open.
25    allegations against us were dismissed during the jury          25   Q. Okay. And so the seeking of the warrant, that's been


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Parker 2:16-cv-13036-GAD-SDD                   ECF No. 84-5 filed 07/03/18                PageID.1879   Page
                                                                                           Police Officer    9 of Blanding
                                                                                                          Jerold  49
City of Detroit, et al.                                                                                        October 12, 2017
                                                           Page 25                                                            Page 27

 1    true your whole career, it sounds like, then, is what           1   A. I shot him.
 2    you're telling me, or at least since the Crenshaw thing         2   Q. Okay. So, you said, "He pulled up and started shooting
 3    happened?                                                       3    at us."
 4   A. Yes.                                                          4   A. Just started -- just pulled up and started shooting.
 5   Q. Okay. And so as far as you would know, they would seek        5   Q. Okay. So, did he shoot anybody? Did he shoot anybody?
 6    a warrant relative to Crenshaw, the guy in the raid in          6   A. Oh. No one got shot, not me or my buddy that I was
 7    the house with a bunch of you in Narcotics, Demar               7    with.
 8    Parker, and then you said there's one still outstanding?        8   Q. Okay. And who were you with?
 9   A. Yes.                                                          9   A. He's retired now.
10       It was another shooting prior to that, but that --          10   Q. So, it was an officer?
11    all of them were denied. And the one that's still              11   A. Yes.
12    outstanding now, it's still an ongoing investigation.          12   Q. Were you on duty?
13   Q. And so what is another shooting prior that I missed?         13   A. No.
14    Which one did I miss?                                          14   Q. Okay. What was the officer's name?
15       MR. PADDISON: Okay. Just to clarify, I'm going to           15   A. Heshimu Greene.
16    place an ongoing objection as to allegations of past           16   Q. Okay. And was there damage to a car?
17    misconduct or past shootings with -- I'll now place an         17   A. My car was -- my dad's vehicle was shot all up.
18    ongoing as to any allegations of misconduct or shootings       18   Q. Okay. So, what -- were you like at a stoplight or
19    that occurred after the Demar Parker incident. Counsel,        19    something?
20    I don't want to jam you up.                                    20   A. No. I was turning around in an alley to go pick up
21       So, go ahead and answer.                                    21    someone else, down a side street, and he came driving
22       MS. PRESCOTT: Okay. So, that -- just -- that's a            22    down the alley, and then just started unloading on us.
23    fine objection, but --                                         23   Q. Okay.
24       BY MS. PRESCOTT:                                            24   A. No words exchanged, nothing. I don't know the guy,
25   Q. So, you had mentioned -- so, I ticked off -- okay -- so,     25    never saw the guy before or anything.

                                                           Page 26                                                            Page 28

 1    Crenshaw, the one with the raid with Narcotics, Parker,         1   Q. Okay. And so it was just a random thing?
 2    and then one outstanding. You said, well, there's               2   A. Per the investigators, they said he must have thought we
 3    another shooting prior.                                         3    were someone else.
 4       Have I missed a shooting?                                    4   Q. Okay. And you didn't have to give up your badge or your
 5   A. Oh. There's a guy named Charles Trask.                        5    gun for that?
 6       THE REPORTER: The name? I'm sorry.                           6   A. No.
 7   A. I believe his last name was Trask. Charles Trask.             7   Q. And you didn't have any suspension for -- during an
 8       BY MS. PRESCOTT:                                             8    investigation?
 9   Q. And was there a lawsuit around that or not a lawsuit?         9   A. No.
10   A. No.                                                          10   Q. And do you know whether this is marked in any of your
11   Q. And was he killed?                                           11    files anywhere?
12   A. No.                                                          12   A. Probably in the archives.
13   Q. Okay. But -- and you were the officer involved in the        13   Q. Not sure?
14    shooting?                                                      14   A. I said this is back when we were doing paperwork, ma'am,
15   A. Yes.                                                         15    when we were literally typing paperwork.
16   Q. Okay. And what year?                                         16   Q. Okay. But -- so, did you have to make a report about
17   A. I don't recall. '97, '98.                                    17    it?
18   Q. And what was he doing that caused you to shoot him?          18   A. Yes.
19   A. That case, I have no idea, ma'am. He pulled up next to       19   Q. And was there an Internal Affairs investigation?
20    me and my buddy and started shooting at us. I didn't           20   A. Not that I know. He was caught days later.
21    have any words with anyone, never saw the guy in my            21   Q. Was there any kind of investigation into your conduct at
22    life. He -- per the investigators, they think that he          22    all?
23    thought I was someone else.                                    23   A. No.
24   Q. Okay. So, did he -- did he shoot the person you were         24       We went to trial on that.
25    with or you?                                                   25   Q. Okay. And the other open warrant is about what?


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Parker vs.                                  ECF No. 84-5 filed 07/03/18              PageID.1880  Page
                                                                                      Police Officer    10 ofBlanding
                                                                                                     Jerold   49
City of Detroit, et al.                                                                                      October 12, 2017
                                                        Page 29                                                             Page 31

 1       MR. PADDISON: You can go ahead. I already placed          1 A. I thought you were telling me not to talk about it
 2    my objection. You can go ahead and answer.                   2 except --
 3   A. Oh, a fatal shooting I had February 13th.                  3    MR. PADDISON: No -- right. That why we're putting
 4       BY MS. PRESCOTT:                                          4 it on a protective order.
 5   Q. 2016 or '17?                                               5    So, if it comes out that Garrity -- that you have
 6   A. This year.                                                 6 done a Garrity statement in that, this portion of the
 7   Q. And that was a kid -- kids in a car joyriding or           7 transcript will be protected under a protective order;
 8    something?                                                   8 okay?
 9   A. Well --                                                    9    Do you know if you've met with an attorney? I
10   Q. They had stolen a car? What was going on?                 10 mean --
11   A. It was are you a suspect.                                 11 A. I've been off work since.
12   Q. Oh, can you say that -- what that means, please?          12    MR. PADDISON: I -- I'm trying to --
13   A. He had carjacked someone.                                 13    MS. PRESCOTT: It doesn't matter. I mean, you're
14   Q. Okay. And there was a group of people in the car?         14 being -- I mean, this is a compelled, you know,
15   A. Just him.                                                 15 statement, so --
16   Q. Oh, there was just him.                                   16    MR. PADDISON: No, I understand.
17       Okay. So, you're on duty?                                17    MS. PRESCOTT: It's not like you're choosing to
18   A. Yes.                                                      18 come gossip about it or something to someone.
19   Q. And so they tell you -- go get this guy with              19    MR. PADDISON: No, I understand that. But also, I
20    such-and-such description of the car?                       20 mean, he could be facing criminal charges for speaking
21   A. No. We were just doing routine investigation. The car     21 about it, so -- if he's got a sealed Garrity order not
22    started going at a high rate of speed. We couldn't          22 to discuss it until the conclusion of the investigation.
23    catch up to it to give out the plate. He ended up           23    MS. PRESCOTT: That doesn't bind me, though. I
24    crashing into a building and took off running. We gave      24 mean, whatever the department wants to say to its people
25    chase.                                                      25 doesn't stop me in a --


                                                        Page 30                                                             Page 32

 1    MR. PADDISON: I'm going to pause you right here.             1       MR. PADDISON: Okay. Then -- I mean, what we'll do
 2    Have you given a Garrity statement about this                2   then -- and -- so, Officer Blanding, until we figure out
 3 issue?                                                          3   whether or not there has been -- whether or not you've
 4    Counsel, the only reason I ask is, during Garrity            4   taken a Garrity statement relevant to this incident,
 5 they are instructed not to discuss --                           5   I'll instruct you not to answer.
 6 A. Oh. You know what? You're right. I'm not sure because        6       I will stipulate with counsel that if you haven't
 7 I've been off.                                                  7   taken a Garrity, we will produce you for a deposition
 8    MR. PADDISON: Because they are instructed not to             8   limited to those issues.
 9 discuss the matters of that investigation until it is           9       MS. PRESCOTT: Okay. But that will be the third
10 concluded.                                                     10   time that I have had to come down here.
11    Do you know if you've given a Garrity statement             11       MR. PADDISON: Okay. Then the alternative,
12 relevant to that?                                              12   Counsel, is that I just advise him of his Fifth
13 A. I've just been going to therapy.                            13   Amendment rights and tell him not to answer, and we get
14    MR. PADDISON: Okay. Have you had a situation                14   nowhere with that.
15 where you had a DPOA attorney there with you and you           15       MS. PRESCOTT: Yeah. Okay. Well, so I'll take
16 were asked questions by a use of force investigator?           16   that.
17 A. I can't recall.                                             17       I mean --
18    MR. PADDISON: Okay. Counselor, unless you object,           18       MR. PADDISON: Okay.
19 could we put this portion of the testimony under a             19       MS. PRESCOTT: So, if that's the better -- if
20 separate seal, just pending whether I get information          20   that's what --
21 that there's been a Garrity statement? I don't want to         21       MR. PADDISON: I'm stipulating to saying let's --
22 put him in --                                                  22   with respect to this issue, we can press pause, and I'm
23    MS. PRESCOTT: We can take the rest of the answer            23   happy to reproduce him if we find there is no Garrity
24 on the same -- subject to the same protective order            24   order.
25 issue.                                                         25       MS. PRESCOTT: Why don't we -- why don't we -- I


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Parker vs.                                       ECF No. 84-5 filed 07/03/18                 PageID.1881  Page
                                                                                              Police Officer    11 ofBlanding
                                                                                                             Jerold   49
City of Detroit, et al.                                                                                              October 12, 2017
                                                              Page 33                                                               Page 35

 1    don't agree to press pause, but if you want to maybe               1    to get re-placed on the active roles, active duty?
 2    look at it while we are on a break or something or find            2   A. That, I'm not sure.
 3    out or whatever, we can come back to it.                           3   Q. And are you on any medications today?
 4       MR. PADDISON: Okay. That's fine.                                4   A. Yes.
 5       MS. PRESCOTT: Let's put it that way.                            5   Q. What?
 6       MR. PADDISON: I'll get ahold of the DPOA rep and                6       MR. PADDISON: Counsel, this is off record.
 7    figure out if there's been a Garrity statement. If                 7       MS. PRESCOTT: Okay.
 8    there hasn't, he can talk about it.                                8       MR. PADDISON: Medical information. But he can
 9       So, we'll move on. Next time -- next time we take               9    answer off the record.
10    a break, I'll talk to the DPOA and we'll figure out               10       THE REPORTER: So, I'm sorry --
11    what's going on with that.                                        11       MS. PRESCOTT: Oh. Well, no. Oh, I thought you
12       BY MS. PRESCOTT:                                               12    just wanted to talk to me.
13   Q. Okay. Relative to that situation, it sounds like you've         13       MR. PADDISON: No. I'm saying that -- I mean, his
14    been off work I just heard you saying; is that right?             14    private medical information -- I mean, I understand
15   A. Administrative leave.                                           15    your -- why you're requesting it, but it doesn't need to
16   Q. Since when?                                                     16    necessarily be part of a public transcript.
17   A. February 13th.                                                  17       MS. PRESCOTT: Okay. Do you want to put it on the
18   Q. And what is administrative -- like how does that get            18    other record?
19    initiated? Who says you're going to be on the                     19       MR. PADDISON: That's fine. We can do that.
20    administrative leave?                                             20       MS. PRESCOTT: Okay. So, we'll go on the record
21   A. Between the union and my commander, I guess, and medical        21    subject to the protective order.
22    section.                                                          22       (Testimony from pages 36 and 37 excerpted
23   Q. Okay. So, you put in for a request medically to be off?         23       and bound under separate cover.)
24   A. I didn't put in for it.                                         24       *
25   Q. Did someone tell you, "You can't come back to work until        25       *

                                                              Page 34                                                               Page 38

 1    we say so," or is it --                                            1       (Non-excerpted testimony resumes.)
 2   A. It's still under investigation. They still have me               2       BY MS. PRESCOTT:
 3    going to therapy once a week and going to another                  3   Q. How many times did you answer questions about Demar
 4    doctor, then going to the medical section.                         4    Parker, in the matter of Demar Parker, to your bosses or
 5       That's out of my control.                                       5    internal investigators at DPD?
 6   Q. Okay. So, the department has put you out while you're            6   A. I went down with -- for Garrity, you mean?
 7    going through that therapy?                                        7   Q. Could be Garrity, could be something less formal.
 8   A. Yes.                                                             8   A. I went down there for that, for the Garrity, and then
 9       Not out like you think. I mean, just on                         9    I did a report when he cut me off at the kids' school.
10    administrative leave.                                             10    And that was about it.
11   Q. Well, would you be working if you -- I mean, are you            11   Q. Okay. So, what I'm asking about is times where somebody
12    able to go back and say, "I'm ready to come back now"?            12    at DPD sat down asked you questions about Demar Parker
13   A. No. I don't want to go back right now.                          13    like I'm doing here today. Like, you know, just asked
14   Q. But my question is, could you?                                  14    you questions, person to person, verbally.
15       If you woke up tomorrow and said, "I feel like                 15       Was it just the one Garrity?
16    going to work," can you do that?                                  16   A. I went to the union --
17   A. I'm not sure.                                                   17       MR. PADDISON: I'm going to advise you not to
18   Q. Okay. Do you know whether you have to take a                    18    discuss what was said between you and an attorney, but
19    fitness-for-duty exam at any point?                               19    you can discuss that you spoke to somebody.
20   A. Have I taken one?                                               20   A. Whatever day that was I went to the union.
21   Q. Well, let's start there.                                        21       I can't remember when you talked to --
22       Have you ever been asked to take a fitness-for-duty            22       MR. PADDISON: Counselor, I believe that was the
23    exam by a doctor?                                                 23    day that he actually showed up and Marcus Ways's
24   A. No. I just answer these questions when I go to therapy.         24    deposition was scheduled.
25   Q. Okay. And do you know whether -- what you'd have to do          25       I don't know the date off the top of my head.


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Parker vs.                                     ECF No. 84-5 filed 07/03/18                PageID.1882  Page
                                                                                           Police Officer    12 ofBlanding
                                                                                                          Jerold   49
City of Detroit, et al.                                                                                         October 12, 2017
                                                            Page 39                                                            Page 41

 1       MS. PRESCOTT: Okay.                                           1   A. And then he drove up on the side of me, real close, and
 2       MR. PADDISON: But you spoke with a DPOA attorney              2    then cut me off.
 3    at that time?                                                    3   Q. Okay. And --
 4   A. Yes.                                                           4   A. The union has a report on that, and I can't remember
 5       MR. PADDISON: Okay.                                           5    what detective was handling it.
 6       BY MS. PRESCOTT:                                              6   Q. And was there a police report?
 7   Q. Okay. When we were supposed to be here last time giving        7   A. Yes, I did a police report.
 8    questions and answers, what happened that day?                   8   Q. Okay. And so what was the -- why did you do a police
 9   A. I forgot why I had to go to the union that day, but --         9    report?
10   Q. So, I'm on a different day. I'm on a couple weeks ago         10   A. For the intimidation and because I didn't know what else
11    when we were scheduled to be here and then you didn't           11    he had in mind and to protect my kids just as well as
12    come.                                                           12    his.
13       Why? What happened that day?                                 13   Q. Okay. So, you -- the intimidation is the looking at
14   A. What do you mean I didn't come?                               14    you?
15   Q. You were not here for your deposition.                        15   A. The cutting me off the way that he was driving.
16       MR. PADDISON: I think it was last -- was it last             16   Q. Yeah, but, I mean, you must have been cut off in traffic
17    week?                                                           17    a hundred times. We all have. That's my point.
18   A. I didn't know anything about it.                              18   A. Ma'am, this is a small school. The way that he cut me
19       I barely go in to the station. My supervisor                 19    off in the parking lot, he knew exactly what he was
20    called me and said that they will notify me.                    20    doing.
21       BY MS. PRESCOTT:                                             21   Q. Okay. So --
22   Q. Okay. So, you didn't know until recently that you were        22   A. Even the crossing guards were telling him to move on, to
23    scheduled for this deposition? This is the first time           23    move on, to move on, and I just thought he was someone
24    you think you've been scheduled?                                24    late, going to work. As soon as he pulled off, it
25   A. I thought I would hear it from the City, and that's when      25    clicked to me who he was.

                                                            Page 40                                                            Page 42

 1    I got a phone call and said okay.                                1   Q. Okay. So, at the time, you think it was just some guy,
 2   Q. Okay. Relative to a report about cutting off at a kid's        2    and you're like, "What the heck? Get out of my -- go,"
 3    school, what are you talking about?                              3    whatever?
 4   A. I saw Mr. Parker -- well, I didn't know it was him at          4   A. That's what I said.
 5    first.                                                           5   Q. Okay. And then that was it?
 6       I was leaving the kids' school and found out later            6   A. And then I --
 7    that his daughter and my kids were attending the same            7   Q. I mean, there's nothing else that day?
 8    school. Leaving out of the parking lot, he cut me off,           8       I know you made a report, but like have we covered
 9    was looking at me real hard. I didn't know who he was            9    everything that happened in the school parking lot?
10    or if he was rushing to leave or go to work or whatever.        10   A. Yeah. I mean, I figured out who he was and who -- that
11    The crossings guard were telling him to go ahead. He            11    our kids went to the same school, so that's why I did
12    kept looking at me real hard, staying in front of me,           12    the report as well.
13    blocking traffic, saying something through his window,          13   Q. Yeah. I'm just asking, have we covered everything that
14    but his window was up, and I was still looking, like            14    happened in the parking lot?
15    signaling for him to go ahead. I didn't know who he             15   A. As far as I know, yes.
16    was. Then as soon as he pulled off, it snapped and I            16   Q. Okay. And there's never been any other time in the
17    said that was Demar Parker, and I did a report.                 17    parking lot or at the school grounds or the park or any
18   Q. Okay. So, he got in your way in the school parking lot?       18    time you've ever seen him since?
19   A. Well, cut me off, like an intimidation.                       19   A. No, I see him every now and then.
20   Q. Okay. So, he was driving and you were driving?                20   Q. Oh, you have?
21   A. Yes.                                                          21   A. Yes.
22   Q. Okay. And he was in front of you to be cutting you off;       22   Q. Whereabouts?
23    is that right?                                                  23   A. At the school.
24   A. I was in front of him at first.                               24   Q. Oh, seen at school.
25   Q. Okay.                                                         25       Okay. And then what happened? Anything happening


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Parker vs.                                      ECF No. 84-5 filed 07/03/18                PageID.1883  Page
                                                                                            Police Officer    13 ofBlanding
                                                                                                           Jerold   49
City of Detroit, et al.                                                                                           October 12, 2017
                                                             Page 43                                                             Page 45

 1    at those times?                                                   1   Q. And you had a relationship outside of work with both of
 2   A. Nothing.                                                        2    them; right? You had seen them outside of work?
 3   Q. Okay. Have you ever seen him any other place before             3   A. Yes.
 4    that time at the school with the cutting off, between             4   Q. And then you would also like visit with each other's
 5    the night that you shot him and the night in the                  5    families?
 6    school -- or the day at the school?                               6   A. Yes.
 7   A. I didn't know him from Adam.                                    7   Q. Okay. And so there were -- and I've gotten to talk to
 8   Q. But did you see him in between at all?                          8    both of them first, so I know -- some of this we'll just
 9   A. No.                                                             9    run through a little bit quicker, but it sounds like at
10   Q. Okay. And you'd never seen him before the night of the         10    some time there was almost like a three-person car or a
11    shooting?                                                        11    three-person partnership between Townson and Ways and
12   A. No.                                                            12    you; is that right?
13   Q. Did you work the day -- earlier in that day of the night       13   A. Three or four.
14    of the shooting?                                                 14   Q. Okay. And who was -- when you would have a fourth, who
15   A. Yes.                                                           15    would that be?
16   Q. In the 10th or the 12th Precinct? 10th?                        16   A. They would switch up whoever is the extra we working --
17   A. 10th.                                                          17   Q. Okay. And in 2010, when you arrived, was your boss the
18   Q. Who was the -- did you have a partner when you were            18    same as the night of the shooting, like your direct
19    driving with this thing in February of 2017?                     19    chain of command, sergeant or whoever it would have
20       You said, "We were doing a routine investigation."            20    been?
21       Did you have a partner you were with that day?                21   A. From which time, ma'am.
22   A. As far as the fatal shooting?                                  22   Q. So, from 2010 to 2015, you have the same boss, or does
23   Q. Yeah.                                                          23    it change up?
24   A. Yes.                                                           24   A. Oh, it changed up.
25   Q. Who?                                                           25   Q. Okay. So, then, as of August of 2015, who is your boss,

                                                             Page 44                                                             Page 46

 1   A. Mike Davis.                                                     1    or if there's a couple sergeants that oversee, who are
 2   Q. Anyone else?                                                    2    they?
 3   A. Other people made the location later.                           3   A. With Mr. Parker?
 4   Q. How about Mr. Ways or Mr. Townson?                              4   Q. In August 2015, yeah.
 5   A. No. They -- Townson has been off, and Ways is working           5   A. Oh, my immediate supervisor was Anthony O'Rourke.
 6    in another unit.                                                  6   Q. The same Anthony O'Rourke that was -- was that a Patrick
 7   Q. Okay. So --                                                     7    O'Rourke who you were --
 8       THE REPORTER: I'm sorry?                                       8   A. No. Those are two different people.
 9   A. Townson has been off work, and Ways is working in               9   Q. Okay. So --
10    another unit.                                                    10   A. And -- I'm sorry -- it's Patrick Rourke, not O'Rourke.
11       THE REPORTER: Thank you.                                      11   Q. Okay. It's Patrick Rourke?
12       BY MS. PRESCOTT:                                              12   A. Yes.
13   Q. Okay. And so had you been -- you had been partners with        13   Q. Okay. So, Anthony O'Rourke was your supervisor in
14    Ways and Townson off and on during the years prior to            14    August of 2015?
15    the shooting; right?                                             15   A. Yes, with this incident.
16   A. From prior to -- I went to Number 10 in 2010, and that's       16   Q. And so when you say "with this incident," you mean
17    when I met them.                                                 17    that's who came out that night from the 10th or --
18   Q. You met them both because you moved to the 10th                18   A. After other supervisors came there, I called him --
19    Precinct?                                                        19   Q. Okay.
20   A. Yes.                                                           20   A. -- to see if he was still at the station and advise him
21   Q. You didn't know them at all before?                            21    what had happened, because he was my immediate
22   A. No.                                                            22    supervisor. I was under his, what they call, span of
23   Q. Okay. And then through your working together, you guys         23    control.
24    became good friends; right?                                      24   Q. Okay. And what put you under his span of control at
25   A. Yes.                                                           25    that time?


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 Case 2:16-cv-13036-GAD-SDD
Parker vs.                                    ECF No. 84-5 filed 07/03/18               PageID.1884  Page
                                                                                         Police Officer    14 ofBlanding
                                                                                                        Jerold   49
City of Detroit, et al.                                                                                        October 12, 2017
                                                           Page 47                                                            Page 49

 1   A. I have no idea why they did that.                             1 you that I believe it would be in your best interest to
 2   Q. Who else's span of control were you under at that time;       2 speak to an attorney regarding that incident?
 3    if anyone?                                                      3 A. Yes.
 4   A. That depends on the supervisors, ma'am. He was our            4    MR. PADDISON: I'm -- do you understand that I'm
 5    special ops supervisor. I think I fell under his span           5 instructing you not to assert your Fifth Amendment
 6    of control because I was working days and he worked             6 right, but that you have the Fifth Amendment right not
 7    days.                                                           7 to testify regarding that issue?
 8   Q. Okay.                                                         8 A. Yes.
 9   A. If someone else -- if he was off work or if he was on         9    MR. PADDISON: Okay.
10    military leave, the supervisors would switch up who was        10    Counsel, should it come to be that Officer Blanding
11    under your immediate span of control. I have nothing to        11 has not taken his Garrity relevant to this incident --
12    do with that.                                                  12 or -- excuse me -- related to this incident, or that
13   Q. Okay. So, whether it's O'Rourke or anybody else in the       13 he's released from testifying about it, I will stipulate
14    10th Precinct, none of them have ever asked you any            14 to produce Officer Blanding to testify regarding the
15    questions about Demar Parker; right?                           15 February -- excuse me, February 13th, 2017 shooting.
16   A. They asked me if I was okay after the incident.              16    MS. PRESCOTT: Okay. None of that whatsoever has
17   Q. Anything other than that?                                    17 anything to do with the civil lawsuit that we're here
18   A. No.                                                          18 about today.
19   Q. None of those people who were in -- had you under their      19    MR. PADDISON: Actually, I think nothing --
20    span of control have ever asked you anything about             20    MS. PRESCOTT: Excuse me --
21    Crenshaw; right?                                               21    MR. PADDISON: -- nothing about the February 13
22   A. No.                                                          22 incident has anything to do about this civil lawsuit.
23   Q. And none of them have asked you about the raid that          23    MS. PRESCOTT: Okay. I'm just going to -- I'm just
24    became a shooting case relative to the whole narcotics         24 going to make my points; you've made yours.
25    team that you described; right?                                25    MR. PADDISON: Certainly.

                                                           Page 48                                                            Page 50

 1   A. No.                                                           1      MS. PRESCOTT: I'm here today -- I'm here for the
 2   Q. And you don't know of any facts that would -- there's         2   second time, my time having been completed wasted the
 3    nothing that they would even discussed with you that            3   last time around. I didn't make a big stink about it.
 4    would make you think they even know about that stuff;           4   I didn't ask anyone to pay any damages or costs, but
 5    right?                                                          5   here we sit. I'm not coming back down here a third
 6   A. Just some things, what they may have heard.                   6   time.
 7       THE WITNESS: I need to step out and text my                  7      This officer is individually sued in his own
 8    therapist and let him know --                                   8   capacity. Accordingly, he's free to have whatever
 9       MS. PRESCOTT: Need to take a break?                          9   lawyer he wants here for his very own self. If he
10       MR. PADDISON: Yeah.                                         10   needed to bring someone else into this room, he could
11       MS. PRESCOTT: Okay.                                         11   have done that. He hasn't done that.
12       (Short recess at 2:14 p.m.)                                 12      MR. PADDISON: He doesn't need to, not to testify
13       * * *                                                       13   about this incident.
14       (Record resumed at 2:20 p.m.)                               14      MS. PRESCOTT: Well, good. So, then -- so, then --
15       MR. PADDISON: Okay. During the break, I had an              15      MR. PADDISON: But to testify about a subsequent
16    opportunity to speak with my supervisor regarding the          16   incident, he very well may.
17    testimony involving a shooting that occurred after the         17      MS. PRESCOTT: I'm willing to put whatever we want
18    incident which gives rise to the subject matter of this        18   to put on a separate record, but I'm going to ask my
19    lawsuit.                                                       19   questions, and I'm going to interpret a refusal to
20       After that discussion, I've been instructed to              20   answer as an assertion of the Fifth.
21    advise Officer Blanding as follows: Officer Blanding, I        21      And if that's -- I mean, you can't just say -- I
22    do not act as your attorney relevant to that incident.         22   mean, this isn't -- I know in the halls of congress,
23       Do you understand that?                                     23   we're pretending like we can claim privilege, but we're
24   A. Yes.                                                         24   not going to claim privilege, but we're going to say we
25       MR. PADDISON: Do you understand that I am advising          25   might claim privilege, but here in this deposition


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 Case 2:16-cv-13036-GAD-SDD
Parker vs.                                  ECF No. 84-5 filed 07/03/18                 PageID.1885  Page
                                                                                         Police Officer    15 ofBlanding
                                                                                                        Jerold   49
City of Detroit, et al.                                                                                         October 12, 2017
                                                         Page 51                                                               Page 55

 1 that's not how it's going to roll.                               1       (Non-excerpted testimony resumes.)
 2    BY MS. PRESCOTT:                                              2       BY MS. PRESCOTT:
 3 Q. How it's going to roll is, I'm going to ask my                3   Q. With regard to your relationship with the Defendant in
 4 questions, and you can sit there silently and we can             4    this case, Mr. Townson, you -- nobody in DPD has ever
 5 just assume what we want to assume from that, or we can          5    asked you any questions about that relative to Demar
 6 take answers or do whatever you want to do.                      6    Parker, have they? They have never delved into like how
 7    MR. PADDISON: Actually, I think the law is that               7    you guys go back, are you good friends, any questions
 8 you don't take an assumption of guilt from an assertion          8    like that, have they?
 9 of the Fifth, but --                                             9   A. No.
10    MS. PRESCOTT: Well, that's in a criminal                     10   Q. And same with Ways?
11 proceeding, but here we sit in a civil proceeding --            11   A. No.
12    MR. PADDISON: And I understand --                            12   Q. In other words, I'm right; it's been the same way with
13    MS. PRESCOTT: -- and I'm entitled to --                      13    Ways?
14    MR. PADDISON: Counsel, would you like me to                  14       MR. PADDISON: Form.
15 stipulate to produce him again should it come out that          15       You can answer if you understood the question.
16 he can testify or no?                                           16   A. I don't get what you're asking.
17    MS. PRESCOTT: No. No.                                        17       BY MS. PRESCOTT:
18    MR. PADDISON: Okay.                                          18   Q. Okay. I asked it in a way that makes the answer
19    MS. PRESCOTT: Because that doesn't -- that doesn't           19    ambiguous. It's not your fault.
20 address the fact that I've had to prepare twice for             20       Ways, it's the same thing? Nobody has ever asked
21 this, and I'm not preparing a third time. That doesn't          21    you, relative to investigating the Parker matter, "Hey,
22 address it and nor should I have to and nor should my           22    how do you go back with Ways? How do you know the guy?
23 client be put to that expense and nor should I.                 23    Are you good --" those kinds of questions about your
24    So, we're just going to go through it, and, you              24    relationship?
25 know, he can assert the Fifth; he can answer the                25   A. No.

                                                         Page 52                                                               Page 56

 1 questions. It's really his choice.                               1   Q. Ways said that he couldn't really imagine a circumstance
 2    BY MS. PRESCOTT:                                              2    in which he would ever say anything bad about you.
 3 Q. You had left --                                               3       Do you feel the same way about him?
 4    MS. PRESCOTT: We can go on to the separate record,            4   A. That I could say anything bad about him?
 5 John.                                                            5   Q. Yeah.
 6    (Testimony from pages 53 and 54 excerpted                     6   A. No.
 7    and bound under separate cover.)                              7   Q. Do you feel that -- I mean, can you picture a set of
 8    *                                                             8    circumstances in which you would, you know, say anything
 9    *                                                             9    negative about him?
10    *                                                            10   A. No.
11    *                                                            11   Q. How about Townson?
12    *                                                            12   A. No.
13    *                                                            13   Q. Both of them said that, you know, you got -- that they
14    *                                                            14    feel, you know, that they would take a bullet for you.
15    *                                                            15       Do you feel the same about Ways and Townson?
16    *                                                            16   A. Yes.
17    *                                                            17   Q. You guys are all very good friends?
18    *                                                            18   A. Yes.
19    *                                                            19   Q. You -- have you ever been in a position where you've
20    *                                                            20    given a statement as to another officer being accused of
21    *                                                            21    excessive force?
22    *                                                            22       So, somebody in your department, maybe, or your
23    *                                                            23    precinct, and they called you in, and you've given a
24    *                                                            24    statement about someone else being accused of excessive
25    *                                                            25    force?


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 Case 2:16-cv-13036-GAD-SDD
Parker vs.                                   ECF No. 84-5 filed 07/03/18               PageID.1886  Page
                                                                                        Police Officer    16 ofBlanding
                                                                                                       Jerold   49
City of Detroit, et al.                                                                                       October 12, 2017
                                                         Page 57                                                             Page 59

 1   A. I'm sure I have. But, like I said, I spent half my          1    up.
 2    career in Narcotics and it was -- we were always getting      2   Q. Okay. Was there a pattern and practice of Detroit
 3    complaints. But, again -- I don't know if you                 3    police officers using excessive force?
 4    understand, and I'm not trying to give you a hard way to      4   A. I have no idea.
 5    go -- it would be a complaint against the whole raid          5   Q. You're not sure?
 6    crew.                                                         6   A. No.
 7   Q. Okay.                                                       7   Q. Was there a failure to train them; if you know? Train
 8   A. If you were -- for example, if you were involved in a       8    the officers about use of force?
 9    raid, and even if you're in rear security, you still had      9   A. You start having use of force classes when we go for our
10    to come down and make statements of what you heard and       10    40-hour training.
11    what you know of that's happened to each raid crew           11   Q. Okay. But was there -- I mean, was that part of what
12    thousands of times.                                          12    went into the consent decree; if you know?
13   Q. And have you ever given a statement where you expressed    13   A. I don't know.
14    the view that you thought someone did use force that was     14   Q. Was there a history of unconstitutional police shootings
15    beyond what the situation called for?                        15    here in Detroit?
16   A. No.                                                        16       MR. PADDISON: Objection. Calls for speculation.
17   Q. And have you ever heard of any police officer saying       17       Answer if you know.
18    another police officer used force beyond what a              18   A. I have no idea.
19    situation called for?                                        19       BY MS. PRESCOTT:
20   A. No.                                                        20   Q. Okay. Was there a recurring problems with excessive use
21   Q. You've been an officer before, during and after            21    of force with citizens in Detroit?
22    something called a consent decree.                           22       MR. PADDISON: Same objection ongoing.
23       Do you remember when that came and went?                  23       Go ahead and answer if you know.
24   A. Yes.                                                       24   A. I have no idea.
25   Q. What makes you sort of laugh about it?                     25       BY MS. PRESCOTT:

                                                         Page 58                                                             Page 60

 1   A. Nothing.                                                    1   Q. Was there a -- like a failure to kind of follow up when
 2   Q. Well, something did.                                        2    there were citizen complaints and, you know, get to the
 3       What was it?                                               3    brass tacks about whether something real had needed to
 4   A. It's just stupid to me, but I didn't make the laws.         4    be done?
 5   Q. What about it was stupid?                                   5   A. I have no idea, ma'am. That's above my pay grade.
 6   A. It's hard to explain, ma'am.                                6   Q. Okay. So, what -- so, some paperwork was instituted
 7   Q. Well, do your best.                                         7    that made processing arrests more detailed. You just
 8   A. Just certain laws that -- certain things that changes       8    testified about that.
 9    how you can work and --                                       9       Anything else that changed for you day-to-day
10       THE REPORTER: Excuse me?                                  10    before versus after the consent decree?
11   A. How we could work.                                         11   A. No.
12       THE REPORTER: Thank you.                                  12   Q. Okay. And do you -- in your 23 and a half years, have
13   A. You know, more paperwork. You know, it was just extra      13    you ever known an officer to be disciplined because of
14    paperwork where as opposed to back in the day you would      14    excessive force?
15    do a PCR. Now they added extra, extra paperwork where        15   A. Did I work with one or have I heard rumors about one?
16    an arrest would normally take 30 minutes. It would take      16    Have I seen one or --
17    almost an hour or whatnot.                                   17   Q. Well, let's start with any information you know about
18       BY MS. PRESCOTT:                                          18    any particular person that was removed for excessive use
19   Q. Do you understand why there was a consent decree?          19    of force.
20   A. Yes and no.                                                20   A. I just heard rumors of officers that were accused.
21   Q. What do you understand caused the consent decree to be     21       But as far as me working with them, as it being my
22    entered?                                                     22    partner or whatnot, no.
23   A. Something that happened, an investigation with several     23   Q. Anyone you know of?
24    officers in the past and other cities and stuff,             24   A. No. I can't think of any names.
25    something the mayor, ex-mayor Dennis Archer had brought      25   Q. Okay. Was there an allegation with regard to Crenshaw


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 Case 2:16-cv-13036-GAD-SDD
Parker vs.                                    ECF No. 84-5 filed 07/03/18                 PageID.1887  Page
                                                                                           Police Officer    17 ofBlanding
                                                                                                          Jerold   49
City of Detroit, et al.                                                                                          October 12, 2017
                                                           Page 61                                                               Page 63

 1    that investigation into the situation was slanted or            1   A. As I recall, it was just one time.
 2    skewed because -- in your favor? Do you know that?              2   Q. Okay. When we add in the Trask -- am I saying that
 3   A. I had never got in any trouble before that, ma'am.            3    right? Trask?
 4   Q. Did you know that there was an allegation that the            4   A. I believe so. I never knew that guy.
 5    department covered for you in that situation?                   5   Q. Who was your partner with regard to that situation?
 6   A. No.                                                           6   A. I was off duty.
 7   Q. And so you sit here today and you have no idea how much       7   Q. Okay. Okay. And you did tell me who was in your car.
 8    money has been paid in settling cases of excessive force        8       Okay. So, we have Trask and this February of '17
 9    involving you; right?                                           9    thing and Parker and Crenshaw, and Edward Robinson,
10   A. No.                                                          10    Junior, and the raid with the house with the dogs.
11   Q. And you don't even know if $1 has been paid at all; is       11       Are there any other times where you shot someone on
12    that right?                                                    12    or off duty anywhere?
13   A. No. I know that something was paid to Mr. Crenshaw, but      13   A. Just dogs.
14    they would not tell me the amount. They said I don't           14   Q. Okay. And had the dogs been with regard to raids in
15    have to worry about that.                                      15    narcotic situations?
16   Q. And what about anybody else? Do you know whether any         16   A. Yes.
17    other money has been paid?                                     17   Q. How many times have you shot a dog?
18   A. No.                                                          18       MR. PADDISON: Objection to relevance.
19   Q. Okay. At have you ever heard of an officer being             19       Go ahead and answer.
20    removed for or even disciplined for dishonesty in a use        20   A. I can't count. I was the shotgun guy, so I was first
21    of force investigation?                                        21    person in.
22   A. I've heard of officers that's been what we call getting      22       BY MS. PRESCOTT:
23    Giglio, but as far as --                                       23   Q. Dozens and dozens?
24       THE REPORTER: I'm sorry. "-- getting --"                    24   A. I can't give you a count, ma'am.
25   A. Giglio. Getting caught up in lies and testifying.            25   Q. Is it -- I mean would you estimate it -- I don't need a

                                                           Page 62                                                               Page 64

 1      But as far as me working with them and all that,              1    specific count.
 2    no.                                                             2       What do you estimate?
 3      BY MS. PRESCOTT:                                              3   A. It was a lot.
 4   Q. So, no one you know?                                          4   Q. Relative to -- okay. So, you're out with Ways on the
 5      Like you could give me a name?                                5    night that the shooting -- well, what ultimately ended
 6   A. No.                                                           6    up happening with Parker, you had worked that day.
 7   Q. How many times have you given Garrity statements?             7       How long had it been between work and when you
 8   A. Wow.                                                          8    started hanging out with Ways?
 9      Several.                                                      9   A. Well, when I got off work, I called to see where he was
10   Q. Can you -- could you put a specific number on it?            10    going to be at. I told him where I was going. He said
11   A. No.                                                          11    they would be over there to meet me, and as soon as he
12   Q. When was the last one?                                       12    got there -- I mean, within seconds -- he got the phone
13   A. With Mr. Parker.                                             13    call from Townson.
14   Q. And how long before Parker was the one -- you know, like     14       THE REPORTER: "-- from --"?
15    how long had it been by the time you go do the Parker          15   A. Townson.
16    one?                                                           16       BY MS. PRESCOTT:
17   A. I couldn't give you a date on that.                          17   Q. Okay. And so where do you guys meet?
18   Q. Okay. And you did say that you went down and that there      18   A. One of our friend's house that's close to the precinct,
19    was a time you talked to the union lawyer, the DPOA            19    as I recall.
20    lawyer with regard to Parker. Putting that aside and           20   Q. Also an officer?
21    putting aside the school, the kids, the report, I know         21   A. No.
22    you went to the Garrity.                                       22   Q. Oh, another friend's house. Okay.
23      Did you ever have like a second Garrity or -- that           23       And had you been home already, or did you come
24    came back around, the same ladies came back and asked          24    straight from work?
25    you questions again about Parker?                              25   A. No, I didn't go home first.


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                                    Ph: 248.644.8888   Toll Free: 888.644.8080
 Case 2:16-cv-13036-GAD-SDD
Parker vs.                                    ECF No. 84-5 filed 07/03/18               PageID.1888  Page
                                                                                         Police Officer    18 ofBlanding
                                                                                                        Jerold   49
City of Detroit, et al.                                                                                        October 12, 2017
                                                          Page 65                                                             Page 67

 1   Q. Okay. And so when you're in the 10th Precinct, are you       1   Q. I guess I should have been clear.
 2    the kind of officer walking around in a DPD uniform?           2       You don't -- you didn't have it when you were in
 3    Are you in street clothes? Like what is your normal            3    the vehicle with Ways?
 4    when you go out?                                               4   A. No.
 5   A. Department-issued special ops uniforms: Green pants,         5   Q. Okay. Does he have his?
 6    black shirt, badge on the outside, duty belt on the            6   A. I have no idea.
 7    outside, issue black coat.                                     7   Q. Okay. And then you have your gun?
 8       I can't recall -- because I got issued two of them.         8   A. Department-issued gun.
 9    One has your name on it and it has a badge, and then one       9   Q. Uh-huh. And what do you do like with your -- do you
10    doesn't, but they're both department-issued. It just          10    carry handcuffs?
11    depends on the weather.                                       11   A. Yes.
12   Q. Okay.                                                       12   Q. Okay. So, that's on your belt and whatnot?
13   A. And we also have hoodies that are marked, but it just       13   A. Yes.
14    depends on the weather.                                       14   Q. Okay. And that stays --
15   Q. Okay. So, like in an August situation, you would have       15   A. On-duty belt.
16    been wearing -- you still wear the pants and then the         16   Q. That whole stuff stays with you the whole night?
17    black shirt?                                                  17   A. Yes.
18   A. Yes. It was cold that day for some reason.                  18   Q. So, what else is on there? Like mace?
19   Q. It was a cold day?                                          19   A. Extra mags, pepper spray, flashlight, emergency gloves,
20   A. Yeah.                                                       20    the holster, my PR-24 clip, but I don't -- I know I
21   Q. Okay. That happens.                                         21    wouldn't have carried that off duty. It would have been
22       Okay. So, that's what you're wearing when you go           22    in my duty bag.
23    hang out with Ways, go and hang out with him?                 23   Q. Okay. So, those are things on your belt and you're in
24   A. Well, we were going to the friend's house, and I know --    24    the truck with him. And you take off just driving.
25    out of habit, I normally keep different clothes in my         25    You're not sure where you're going, or do you like get

                                                          Page 66                                                             Page 68

 1    car. So, I can't recall what had -- I know I had the           1    the call and not go anywhere until you get the call?
 2    pants on. I know I had the duty belt on. I know I had          2   A. Ways got the call.
 3    the shirt on. But as to what jacket I put on that day,         3   Q. Okay. So, Ways gets a call.
 4    I don't recall.                                                4       And what's the first you know of what's going on?
 5   Q. Okay. And then do you ever change out of that stuff?         5       What do you first hear?
 6   A. No.                                                          6   A. I said -- I asked him, "What's up?"
 7   Q. Okay. So, you're in that stuff.                              7       And he said -- well, his exact words was, "CT's son
 8       And then you get into his car when you guys take            8    is in trouble."
 9    off, or he into yours, or how does that work?                  9   Q. Okay. CT was the nickname you guys used for him?
10   A. I got in his car.                                           10   A. For Townson.
11   Q. Okay. Is that a personal car or a Detroit PD car? What      11   Q. Yeah.
12    was it?                                                       12       And one of you is Junior?
13   A. Then that was his personal car.                             13   A. Me.
14   Q. Did it become a City car?                                   14   Q. You. Okay.
15   A. No. He works somewhere else now, so that's why I'm          15       And so do you know Townson's son's mom at all?
16    saying it was his personal car.                               16       Her name is Sanchez.
17   Q. Okay. All right. So, you get in his car and you're --       17   A. Never -- never met her.
18    is there anyone else in the car?                              18   Q. Okay. And so you don't know anything about Parker and
19   A. No.                                                         19    Sanchez and Townson and any of that?
20   Q. And do you have like a radio that you keep with you for     20   A. Nothing.
21    when you're on duty?                                          21   Q. Okay. So, Ways says Townson's kid is in trouble.
22   A. Yes. They did issue us one, but I'm sure mine was in my     22       And what else does he say?
23    bag in my trunk.                                              23   A. He's back and forth trying to call Ways, like his phone
24   Q. Okay. You don't remember having it that night?              24    kept going to voice mail. Then they were back and forth
25   A. I could have, but it would have been in my trunk.           25    calling each other.


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 Case 2:16-cv-13036-GAD-SDD
Parker vs.                                    ECF No. 84-5 filed 07/03/18                PageID.1889  Page
                                                                                          Police Officer    19 ofBlanding
                                                                                                         Jerold   49
City of Detroit, et al.                                                                                         October 12, 2017
                                                          Page 69                                                              Page 71

 1   Q. Okay. Why? Like what's --                                    1   A. Yes.
 2   A. Because he's trying to see -- I had never been over to       2   Q. Okay. And with regard to when you gave your Garrity
 3    that house.                                                    3    information, were you honest with them?
 4   Q. Okay.                                                        4   A. Yes.
 5   A. Never met that man, never -- I never even knew where his     5   Q. Okay. And when you wrote your report about what
 6    son -- I seen his son before, but I think he came with         6    happened, you know that you're doing that in your
 7    him to the precinct before.                                    7    capacity as a police officer, and you have to be
 8   Q. Okay.                                                        8    complete and honest and correct with that; right?
 9   A. But Ways knew apparently where she lived, and where his      9   A. Yes, ma'am. I have a good record.
10    son had lived.                                                10   Q. And when you did complete a report about this incident,
11   Q. Okay.                                                       11    were you honest in it?
12   A. I didn't.                                                   12   A. Yes.
13   Q. Okay. So, like -- so, is the calling trying to meet up?     13   Q. Okay. And did you give complete information in it?
14   A. See where he's at.                                          14   A. Yes.
15   Q. Get to where --                                             15   Q. Did you leave out anything, you know, omit anything
16   A. See where he's at and see what's going on.                  16    major that happened or --
17   Q. Okay. All right. And so you hear that the son is in         17   A. No.
18    trouble; right?                                               18   Q. Okay. So, when was the last time you saw your report
19   A. Yes. He said -- all I heard him say, "Daddy, help me.       19    about this incident?
20    Come get me," or something.                                   20   A. Earlier today.
21   Q. Okay. And part of the discussion, too, is to see who is     21   Q. Okay. And when was the last time before that?
22    closest and who can get there fastest?                        22       So, like, I mean had you just put it into the
23   A. Yeah. Because I knew -- I remember him saying -- asking     23    system and then today was the next time, or was there
24    where he was at. He didn't know I was with Ways at the        24    something in between?
25    time until -- once he did talk to him, he said, "Junior       25   A. They give you a report when you -- as I recall, when you

                                                          Page 70                                                              Page 72

 1    is with me."                                                   1    go to Garrity to refresh your memory.
 2       But I knew for a fact that Ways stayed, at the              2   Q. Uh-huh. Was there anything that occurred on the night
 3    time, way out in Southfield. So, I guess he was -- I'm         3    of the shooting that wasn't part of the report for any
 4    assuming he was calling to see who was closer to get to        4    reason?
 5    that house.                                                    5       Like the before stuff or the after stuff or
 6   Q. Between you and --                                           6    anything?
 7   A. No. Between Ways and Townson.                                7   A. No.
 8   Q. Okay.                                                        8   Q. Okay. And the report that you write up is made the same
 9   A. I just happened just to be getting ready to hook up with     9    night as the shooting; right?
10    Ways.                                                         10   A. Yes.
11   Q. When you -- you don't have any personal anything going      11   Q. And that's so that you can quickly get down the detail
12    on in this house at any time that you're heading over to      12    while you remember it the best; right?
13    Sanchez's house?                                              13   A. Yes.
14   A. No.                                                         14   Q. What else did you look at today?
15   Q. And -- but that's not something that -- has anyone ever     15   A. That's it.
16    asked you about that before now that you can recall?          16   Q. Just your report?
17   A. I've never even met her, ma'am.                             17   A. Yes.
18   Q. I know.                                                     18   Q. Have you ever listened to your Garrity statement?
19       But like at DPD, when they were looking into this,         19       MR. PADDISON: You can answer.
20    did anyone ever say like, "Do you know this lady? Do          20   A. Yes.
21    you know anything about her?"                                 21       BY MS. PRESCOTT:
22   A. I'm sure they have, but I can't recall exactly what was     22   Q. When was the last time you listened to that?
23    asked.                                                        23   A. Today.
24   Q. Okay. Would everything that you know of the questions       24   Q. Okay. So, other -- so, other than the Garrity and the
25    you got asked be whatever we have from Garrity?               25    report, is there anything that you looked at, listened


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 Case 2:16-cv-13036-GAD-SDD
Parker vs.                                     ECF No. 84-5 filed 07/03/18                PageID.1890  Page
                                                                                           Police Officer    20 ofBlanding
                                                                                                          Jerold   49
City of Detroit, et al.                                                                                          October 12, 2017
                                                            Page 73                                                             Page 75

 1    to, touched, examined, anything?                                 1   Q. Okay. Who at Force and/or IA talked to you before you
 2   A. No.                                                            2    did your report?
 3   Q. Okay. So, those are the two things?                            3   A. I don't know, ma'am. There were so many people there.
 4       There's nothing else?                                         4   Q. Did you -- were you asked questions -- I mean, was
 5   A. As far as me, yes.                                             5    there -- did you just say what happened, or did they
 6   Q. Okay. And is there -- have you read the lawsuit in this        6    just say, "Here is what's going to happen. You know,
 7    case?                                                            7    here is how we're going to handle this"?
 8   A. Advised of bits and pieces of it.                              8   A. I can't remember, ma'am. It was confusing. There was a
 9   Q. When was the last time you looked at the Complaint?            9    bunch of people there.
10   A. I never personally just looked at it. I was just              10   Q. So, you call in your union rep and -- right?
11    advised of bits and pieces of it.                               11   A. I didn't.
12   Q. I see. And relative -- excuse me.                             12   Q. Your union rep --
13       Have you listened to Ways' or Blanding's Garrity             13       THE REPORTER: I'm sorry. "Did" or "did not"?
14    statements?                                                     14   A. I said I did not.
15   A. I am Blanding.                                                15       THE REPORTER: Thank you.
16   Q. I apologize.                                                  16       BY MS. PRESCOTT:
17       Ways' or Townson's Garrity statements?                       17   Q. Your union rep shows up.
18   A. No.                                                           18   A. A union rep would show up.
19   Q. Have you ever seen a transcript of anybody's anything in      19   Q. Okay.
20    this case? Garrity, deposition, anything?                       20   A. But as far as if it's the one from the 10th Precinct, I
21       I can show you what it looks like. A transcript              21    don't have any idea.
22    would be like --                                                22   Q. Okay. Relative to anyone from Force or IA on the night
23       MR. PADDISON: She's just asking about if you                 23    of the shooting, can you recall any questions that
24    reviewed --                                                     24    anyone asked you that night?
25       BY MS. PRESCOTT:                                             25   A. Just if I was okay.

                                                            Page 74                                                             Page 76

 1   Q. -- questions and answers.                                      1   Q. Okay. But you said that they separated you, so that --
 2      THE REPORTER: Excuse me?                                       2    I thought maybe they questioned you some, but you don't
 3      MR. PADDISON: She's just asking about if you've                3    remember any questions?
 4    reviewed Blanding's or --                                        4   A. No. They separated us. I can't remember the guy's
 5   A. Oh.                                                            5    name. One of the union guy's came. For some reason it
 6      BY MS. PRESCOTT:                                               6    was cold that day. I sat there in the car and just
 7   Q. What was said, questions and answers.                          7    waited until they said I was clear to go back to the
 8   A. No.                                                            8    station and do paperwork.
 9   Q. Okay. Have you read Ways' or Townson's reports from the        9   Q. Okay. So, then you and Ways and Townson go back to the
10    night of the incident?                                          10    station?
11   A. As a practice, you will always read your partner's            11   A. Not together.
12    report or your partner reads your report. Your                  12   Q. Right, but, I mean -- well, whose car did you go in?
13    supervisor reads your report, you know, spelling and all        13   A. It was either some of the guys from the night crew, a 30
14    this, and going over penmanship, you know, before you           14    Series, or -- I can't remember if one of the supervisors
15    submit it, so that you don't get the report back the            15    took me or -- I can't remember. But I did not ride with
16    next day and have to make corrections.                          16    Ways and Townson.
17   Q. Okay. So, the night that you guys would have written          17   Q. Okay. Does Ways drive his car in?
18    your reports, you would have seen each other's reports          18   A. I believe he did.
19    before they were finalized?                                     19   Q. Okay. And then so you write your report. And then
20   A. I can't remember if they separated us.                        20    before it's finalized, you go through the process you
21      Yeah. They did separate us for a minute, and                  21    described earlier of exchange them, and then the
22    they -- I was spoken to by Force Investigation, Internal        22    sergeant looks at them as well?
23    Affairs, and they were spoke to by Force and Internal           23   A. Yes.
24    Affairs, and that's when they told us we can go ahead           24   Q. Okay. So, is that the last time you reviewed Ways and
25    and do our reports.                                             25    Townson's reports?


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 Case 2:16-cv-13036-GAD-SDD
Parker vs.                                    ECF No. 84-5 filed 07/03/18               PageID.1891  Page
                                                                                         Police Officer    21 ofBlanding
                                                                                                        Jerold   49
City of Detroit, et al.                                                                                       October 12, 2017
                                                          Page 77                                                            Page 79

 1   A. I believe so, yes.                                           1   A. No.
 2   Q. Okay. So, you know you're going to be going to -- at         2   Q. Okay. So, Ways is lying if that's what he says is what
 3    some point along the line you are told that you're going       3    went down?
 4    to go to Curtis and Mendota to help Townson's kid?             4       MR. PADDISON: Mischaracterizes his testimony.
 5   A. To see what was wrong, yes.                                  5       BY MS. PRESCOTT:
 6   Q. And the goal of getting over there is to go help keep        6   Q. Is Ways lying?
 7    the peace?                                                     7   A. No.
 8   A. To see what -- we was going to see what was wrong,           8   Q. Well, then what do you think is going on?
 9    ma'am. I had no idea what they were -- they were               9   A. I don't know, ma'am. He was on the phone with him. So,
10    talking on the phone.                                         10    I don't know if he was telling him the address or
11   Q. Ways and Townson were?                                      11    whatever. I don't know if he followed him or what. But
12   A. Yes.                                                        12    we -- I know we didn't stop.
13   Q. Okay. And so what you know is the kid is calling for        13   Q. You didn't go to the Northwest Activity Center?
14    help?                                                         14   A. No.
15   A. Yes.                                                        15       That incident was not far from there --
16   Q. What about 911?                                             16   Q. Okay.
17       Had someone tried calling 911?                             17   A. -- actually.
18   A. I have no idea.                                             18   Q. But you didn't meet Townson at the Northwest Activity
19   Q. Okay. And the first you see Townson that night is           19    Center before going over to Curtis and Mendota?
20    where?                                                        20   A. No.
21   A. When we got there, he was squared off in the street as      21   Q. So, if Ways said you did, then that is untrue; right?
22    if he was about to fight Mr. Parker.                          22       MR. PADDISON: Objection. Calls for speculation.
23   Q. Do you see him before you arrived at Curtis and Mendota?    23       BY MS. PRESCOTT:
24   A. No.                                                         24   Q. Right?
25   Q. When was the last time before Curtis and Mendota and the    25   A. I don't remember us stopping, ma'am.

                                                          Page 78                                                            Page 80

 1    night -- and you just described squaring off.                  1   Q. Well, do you just not remember and you think it's
 2       When was the last time, back in time from then,             2    possible or what?
 3    that you had seen Townson? Like had you seen him at            3   A. Like I said, they were on the phone back and forth,
 4    work earlier that day or 10 minutes before at the              4    going back and forth. So, I don't know -- I don't even
 5    7-Eleven, or it had been a week or what?                       5    recall -- when I first saw them, they were squared off
 6   A. No. He has been off with some injury. But I would call       6    in the middle of the street.
 7    and check on him.                                              7   Q. Okay. My question to you is, you did not connect with
 8   Q. Okay. So, it had been a while since you had seen him?        8    Officer Townson and meet up with him at Northwest
 9   A. Physically, yes.                                             9    Activity Center?
10   Q. Okay. But -- physically laid eyes on him, but you kept      10   A. No.
11    in touch, is what you're saying?                              11   Q. Okay. And Ways answered that same question "yes."
12   A. Yes.                                                        12       So, he is giving untrue information; right?
13   Q. Okay. So, you did not meet with him ahead of going to       13       MR. PADDISON: I think you're asking two different
14    Curtis and Mendota?                                           14    people the same question. The answers could be
15   A. No.                                                         15    different and both be true.
16   Q. Okay. Do you know why Officer Ways says under oath          16       MS. PRESCOTT: Okay. I'll just ask him.
17    that, yes, you did?                                           17   A. I don't recall stopping, ma'am. I know when we got
18   A. I didn't. We didn't.                                        18    there, I saw them squared off in the street. I know
19   Q. Okay. Officer Ways is honest, isn't he?                     19    what car was Townson's, and I saw his car parked in
20   A. Yes. He apparently knew where he was going. I have          20    the -- in a driveway.
21    never been to that house. I didn't know where the             21       BY MS. PRESCOTT:
22    baby's mother lived or nothing.                               22   Q. And you didn't follow him over to Curtis and Mendota?
23   Q. Okay. But -- so, you didn't stop in a parking lot and       23    You didn't follow Townson to Curtis and Mendota from the
24    meet up with Townson and drive over to Curtis and             24    Northwest Activity Center?
25    Mendota together and arrive together?                         25   A. Again, when I got there, they were already squared off


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                                   Ph: 248.644.8888   Toll Free: 888.644.8080
 Case 2:16-cv-13036-GAD-SDD
Parker vs.                                    ECF No. 84-5 filed 07/03/18               PageID.1892  Page
                                                                                         Police Officer    22 ofBlanding
                                                                                                        Jerold   49
City of Detroit, et al.                                                                                       October 12, 2017
                                                          Page 81                                                           Page 83

 1    in the street. You could see Townson's car parked in a         1    doesn't have to be exact.
 2    driveway.                                                      2   A. (Drawing diagram.)
 3   Q. Okay. So, you didn't all exit your vehicles together at      3   Q. Okay. So -- okay. So, that's -- if that represents
 4    the same time; right?                                          4    Townson, how far away from Parker from Townson? Is he a
 5   A. Ways and I did.                                              5    house away? Is he, you know, a foot away?
 6   Q. But not with Townson; right?                                 6       Why don't we have Parker be blue, and do an "X3."
 7   A. No.                                                          7   A. (Drawing diagram.)
 8   Q. So, if Ways said, yes, you did, that's also untrue           8   Q. Is he closer to you? Further from you?
 9    information; right?                                            9   A. They were right in the street in front of the house.
10   A. Ma'am, I'm telling you what happened.                       10   Q. Okay. And how close to each other are they relative to
11   Q. Okay. And the answer is, you did not exit your vehicles     11    how, you know --
12    at the same time as Townson because, according to you,        12   A. They were -- like I said, they were squared off as if
13    he was already standing in the street; right?                 13    they were going to fight.
14   A. Yes.                                                        14   Q. Okay. So, they were arm's length apart? Is that what
15   Q. Okay. So, what we'll do is -- I've just taken a north,      15    you're trying to say?
16    west, east, south look at how Mendota and Curtis run.         16   A. From what I could see, that's what I would say.
17    We'll mark it as Exhibit 1.                                   17   Q. Okay. Okay. So, draw in as best you can Parker in blue
18       (Deposition Exhibit 1 marked                               18    with an "X3."
19       for identification.)                                       19   A. Okay.
20       MR. PADDISON: I'll just place an objection due to          20   Q. Okay. And -- okay. And do you get out? What do you do
21    the fact that the drawing marked as Exhibit 1 is not to       21    as soon as you pull up?
22    scale.                                                        22   A. I get out the passenger side, and I look down the
23       BY MS. PRESCOTT:                                           23    street, and that's when I saw them squared off. You
24   Q. Okay. Can you in your -- with your red, can you mark an     24    could hear them arguing, but as to what they were
25    "X1" where you -- where the car pulls up?                     25    saying, I had no idea.

                                                          Page 82                                                           Page 84

 1       So, you're in the car with Ways. And so I'm                 1   Q. Okay. So, when you get out, does Ways get out or does
 2    talking about "X1" will be your car -- the car -- his          2    he sit?
 3    car, the car you're riding in.                                 3   A. He gets out.
 4   A. (Drawing diagram.)                                           4   Q. Okay. And so do you start walking? Do you sit tight?
 5   Q. Okay. Thank you.                                             5    What do you do?
 6       And then I'm going to hand you green, and if you            6   A. Ways was ahead of me. He started walking down there. I
 7    could put an "X2" where you see Townson at that time?          7    stayed near his vehicle the whole time because I was
 8       So, it's as you pull up.                                    8    trying to see what was going on, see who else was out
 9   A. I couldn't see the count of the houses that they were        9    there.
10    down from.                                                    10   Q. Okay. So, can you draw Ways' path with the red?
11   Q. Okay. Okay.                                                 11       So, Ways is red, and he starts at "X1."
12   A. I couldn't --                                               12       Tell me -- show us on the thing where he gets to.
13   Q. About where do you think he was, not -- understanding       13   A. About down here.
14    that you're not taking -- you're not going to agree or        14       Not all the way quite to them.
15    disagree about where the houses sit or how many there         15   Q. Okay. So, why don't you do an "X4" about where you
16    are.                                                          16    think he stops?
17       About where do you think Townson is?                       17       I mean, you drew a little arrow to where -- what
18   A. You said mark it how?                                       18    direction he went, but does he stop, or is he just
19   Q. "X2."                                                       19    heading that way?
20   A. It was further down the block, ma'am. I think it was        20   A. He stopped because he took off running.
21    more houses.                                                  21   Q. Okay. So, Ways stops because Parker takes off?
22   Q. Okay. So, ignore --                                         22   A. Yes. He takes off running.
23   A. If I were to guess, I would say between here and here.      23   Q. Okay. So, did Ways only get as close to Parker as
24   Q. Okay. So, you can draw in a circle and mark an "X2"         24    you've drawn in on Exhibit 1 so far?
25    where around it would have been. That's fine. It              25   A. I couldn't give you the exact, ma'am. It was dark out


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 Case 2:16-cv-13036-GAD-SDD
Parker vs.                                   ECF No. 84-5 filed 07/03/18                PageID.1893  Page
                                                                                         Police Officer    23 ofBlanding
                                                                                                        Jerold   49
City of Detroit, et al.                                                                                        October 12, 2017
                                                         Page 85                                                              Page 87

 1    there. Right here was a streetlight. I'm watching what        1    between houses.
 2    was going on, assessing the situation.                        2   Q. Okay. And so -- but he says this, "Oh, it's like that"
 3   Q. Okay.                                                       3    and "I've got something for you," he -- before he's --
 4   A. Ways starts going down there as soon as he says, "Oh,       4    or as he's running away or before he runs --
 5    it's like that. I've got something for you, niggers,"         5   A. That's not what he said. He said, "I've got something
 6    and he took off. That's when I told him to start coming       6    for you, niggers."
 7    back.                                                         7   Q. Okay. When? Is he running?
 8   Q. Okay. So, how long are you basically at 1 -- "X1"           8   A. Once he looked down and saw Ways walking.
 9    before you -- do you see Parker running?                      9   Q. Okay. So, before he takes off running?
10   A. Yeah, I could see somebody take off.                       10   A. Yes.
11   Q. Okay. And how long are you hanging out at -- around        11   Q. Okay. And you never hear any other words that he or
12    "X1" before that happens?                                    12    anybody else says?
13   A. Once I saw him take off, I'm yelling at Ways to come on,   13   A. No.
14    to come back. CT was yelling for his son to get his          14   Q. You don't hear anything Ways says to anybody?
15    stuff, get his stuff, "Let's go. Let's go. Let's go."        15   A. No.
16   Q. Okay. But I'm just trying to get a sense of how long       16   Q. Like does Ways talk to Parker?
17    you're there before running occurs, running off.             17   A. No. Again, from what I saw, he didn't get a chance.
18   A. Within seconds.                                            18   Q. Okay. And so if he testified that he was talking to
19       As soon as he saw Ways and -- walking down there,         19    Parker, you just couldn't hear that?
20    that's when he took off.                                     20   A. I couldn't hear nothing, ma'am. I heard what he was
21   Q. Okay. So, we drew in Ways walking along Curtis             21    saying and I'm assessing the situation. From here was
22    eastbound, and you stay by the car on the curb, which is     22    the only street light. Down there it was dark.
23    the southwest curb?                                          23   Q. Okay. And so --
24   A. Yes.                                                       24   A. And I could see Townson's car only because it's silver.
25       Then I later had walked over, but I still stayed          25   Q. Okay. Is Parker -- does he have his shirt on? Does he

                                                         Page 86                                                              Page 88

 1    close to his vehicle.                                         1    not have his shirt on?
 2   Q. Okay. So, let me just unpack a couple of things             2   A. As I recall in my report, he had on a tank top.
 3    backwards with some things you said in follow-up.             3   Q. Okay. Did you ever see him with his shirt off that
 4       So, are you hearing what Parker and Townson are            4    night?
 5    saying to each other?                                         5   A. Not that I recall.
 6   A. Just -- not verbatim, just them arguing.                    6   Q. And you say -- okay. So -- when you say that Parker and
 7   Q. So, you know that there's an argument, but you don't        7    Townson are squared off, do they ever lay any hands on
 8    hear any of the words?                                        8    each other?
 9   A. No.                                                         9   A. Not that I saw.
10   Q. Okay.                                                      10   Q. Do either of them ever try to take a swing at either
11   A. Only words I heard was, after I heard him say, "Oh, it's   11    one?
12    like that. I've got something for you, niggers," then        12   A. Not that I saw.
13    once he took off, I heard Townson yelling to his son,        13   Q. Did you ever see any contraband on Parker that night?
14    "Come on. Get your stuff. Let's go. Let's go. Let's          14    Any drug paraphernalia, anything stolen, any weapons,
15    go."                                                         15    any anything?
16   Q. Okay. Where is Parker when you say he said what you        16   A. I saw a gun later when he came back down Mendota.
17    just testified to twice?                                     17   Q. Okay. Anything other than that?
18   A. He took off northbound.                                    18   A. No.
19   Q. Is he at "X3" when you hear that?                          19   Q. All right. And Ways is armed at the time he leaves the
20   A. Approximately, ma'am. It happened so quick. They were      20    car; right?
21    squared off. Assuming when he saw Ways, that's when he       21   A. I don't know.
22    took off.                                                    22   Q. Did he have a gun that night at all?
23   Q. Okay.                                                      23   A. I don't know.
24   A. And I didn't see him. I didn't know -- I was so far, I     24   Q. Okay. And do you -- Ways testified that Parker said, "I
25    couldn't tell if he went to a house, or if he went           25    ain't about to fight you because you brought your boys


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 Case 2:16-cv-13036-GAD-SDD
Parker vs.                                   ECF No. 84-5 filed 07/03/18                 PageID.1894  Page
                                                                                          Police Officer    24 ofBlanding
                                                                                                         Jerold   49
City of Detroit, et al.                                                                                          October 12, 2017
                                                          Page 89                                                               Page 91

 1    here to jump me."                                              1       Do you mind being purple?
 2       Do you remember that?                                       2       It's purple. Snazzy color.
 3   A. I didn't hear any of that.                                   3       All right. So, you get out of the car, and can you
 4   Q. Okay. And can you draw -- so, we have Parker standing        4    draw where you are when you see the car?
 5    there with the blue "X3."                                      5   A. What am I? "X4"?
 6       Can you draw his path as he runs away?                      6   Q. So, you were at "X1," where the car was.
 7   A. He ran somewhere northbound. Like I said, I was so far       7   A. Uh-huh.
 8    I couldn't tell if he went into a house or if he went          8   Q. All right. And you're going to be purple. And you get
 9    between the houses. That's how far I was.                      9    out of the car, and you said you moved across the street
10   Q. Okay. So, he didn't come west -- he didn't use the          10    or across the intersection or what?
11    streets like to come west on Curtis and then take a           11   A. Yes.
12    right up Mendota, like close to you and then take a           12   Q. Okay. So, draw your path from getting out of the car to
13    right up Mendota?                                             13    where you end up.
14   A. Not that I recall. I just remember him disappearing out     14   A. (Drawing diagram.)
15    of my eyesight.                                               15   Q. Okay.
16   Q. Okay.                                                       16   A. Somewhere right --
17   A. That's when I started calling for him to come back. The     17   Q. Okay. And put yourself as an "X4" there.
18    next thing I know his car came down Mendota.                  18   A. (Drawing diagram.)
19   Q. So, Ways is our person in red. We see where he's walked     19   Q. Okay. So, we can -- later, we'll go back, and we'll
20    to. And then does he turn around and go west along            20    know what we're talking about.
21    Curtis and turn up Mendota, or does he cut through the        21       Okay. So, now I'm going to ask you a couple
22    houses?                                                       22    questions.
23   A. You mean as far as did he chase him?                        23       Did you ever go further east than "X4" on the night
24   Q. Well, we know -- did he chase him?                          24    in question --
25   A. No.                                                         25   A. Maybe --

                                                          Page 90                                                               Page 92

 1   Q. Ways didn't?                                                 1   Q. -- before the shooting?
 2   A. No.                                                          2   A. Maybe a house or so, but I was looking and listening and
 3   Q. Okay. So, Parker is up with his -- you know, his blue        3    listening for CT to get his son. I still had no idea
 4    arrow to the north.                                            4    what was going on, but I was looking because, like I
 5   A. Uh-huh.                                                      5    said, after he made that comment, I was just on alert to
 6   Q. And your -- and Ways has walked down Curtis but you're       6    see where he went, where he was coming out at and
 7    just saying, "Come on. Let's go." And he turns back            7    whatnot.
 8    around and walks back down Curtis?                             8   Q. Okay. So, maybe you went a little bit further east, but
 9   A. He's turning around and coming back to me because I          9    did you ever make it down to where "X2" and "3"ish area
10    didn't know where he was going, who he had with him,          10    were?
11    what he was going to do.                                      11   A. Never.
12   Q. Okay. And so you said you saw a car -- you said, "And       12   Q. Okay. All right. So, there you are.
13    then we saw a car."                                           13       And "X4" is where you are when you see Parker's
14       You saw a car with Parker?                                 14    car?
15   A. Yes.                                                        15   A. No. I hear it.
16   Q. Okay. So, at the time you see the car, had you been on      16   Q. You hear the car? Okay.
17    the scene for a minute, 10 minutes, an hour? Like how         17   A. I hear a car.
18    long had you been there?                                      18   Q. You hear a car.
19   A. Maybe a couple of minutes.                                  19       Where is Ways at that point?
20   Q. Okay. And so when you see the car, can you draw             20       Can you draw him in red with an "X5"?
21    yourself -- you were -- what's -- I don't know that           21   A. At that time he may have gotten to here in the street.
22    we've really --                                               22   Q. Okay. Now, Parker is blue, so where is the car when you
23       MR. PADDISON: We haven't given him --                      23    first make visual contact with the car?
24       BY MS. PRESCOTT:                                           24   A. I hear a car squealing tires.
25   Q. -- put much of you on there.                                25   Q. Up -- you're pointing up Mendota north?


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 Case 2:16-cv-13036-GAD-SDD
Parker vs.                                   ECF No. 84-5 filed 07/03/18               PageID.1895  Page
                                                                                        Police Officer    25 ofBlanding
                                                                                                       Jerold   49
City of Detroit, et al.                                                                                       October 12, 2017
                                                         Page 93                                                            Page 95

 1   A. It's coming from this area.                                 1   A. Just the driver's window.
 2   Q. Okay. So, it's -- and do you see the car coming south       2   Q. Okay. And then where is -- so, do you say anything to
 3    on Mendota?                                                   3    him?
 4   A. Yes.                                                        4   A. To who?
 5   Q. Okay. And so that's -- and what -- it was a -- Parker?      5   Q. To Parker.
 6   A. It was a silver Cadillac, yes.                              6   A. No. I didn't have time.
 7   Q. Okay.                                                       7   Q. Too fast of a rate of speed?
 8   A. It was Parker.                                              8       He's driving too fast?
 9   Q. Okay. You didn't know his name. I get that.                 9   A. Yeah. Things were going on fast. When I saw the gun
10   A. No.                                                        10    and saw him turn that corner hard, going at Ways, that's
11   Q. Okay. So, what happens as he comes down --                 11    when all hell broke loose.
12   A. Mendota.                                                   12   Q. Okay. And so then what happens?
13   Q. -- Mendota?                                                13   A. Then I fired in his vehicle into the window, into the
14   A. As he's coming down, he came this way, he turned, and he   14    driver's side of the vehicle.
15    said, "What's up now, niggers?"                              15   Q. Okay. So, he -- had he come around the corner at that
16       He didn't -- I don't know if he saw me because I          16    point, like by the time you start shooting?
17    was standing over there.                                     17   A. He was -- yes. He was bending the corner.
18       The next thing you know, the window was down. Like        18   Q. I mean, you -- your police report says you -- as you
19    I said, for some reason in August that day, it was cold      19    shot -- he was coming south on Mendota, and then you
20    as hell, and I saw he had a gun in his hand, and he          20    shot, and then he turned.
21    turned the corner real hard, and he was going straight       21       Do you recall that?
22    at Ways.                                                     22   A. I recall him coming -- flying down the street. As to
23   Q. Okay. So -- so, can you draw in the blue -- we don't       23    what angle -- south down Mendota. To what angle I
24    necessarily have the whole of Mendota, but the path he's     24    started firing, he couldn't see me. He was going
25    coming is south on Mendota?                                  25    straight at Ways when I saw his window down with a gun.

                                                         Page 94                                                            Page 96

 1   A. Yes.                                                        1   Q. Okay. Okay. So, he -- where is -- can you draw "X" --
 2   Q. Okay. So, draw that.                                        2    is "X5" where Ways is when you shoot?
 3   A. (Drawing diagram.)                                          3   A. If the vehicle is going there, he was walking back.
 4   Q. And then he turns. And then does he slow down, or           4   Q. Okay. And is "X5" about where you are?
 5    what's going on?                                              5   A. Approximately.
 6   A. No. That's when I said he couldn't see me from where I      6   Q. Okay. And are you at "X4"?
 7    moved on to the west side of the street, but I can see        7   A. Yes.
 8    him heading -- and he had his window down when I saw the      8   Q. Okay. And so -- and where is the car compared to Ways?
 9    gun and him turning and going straight at Ways. That's        9   A. Going straight at him.
10    when I fired.                                                10   Q. Okay. And so does Ways have his gun, at this point,
11   Q. Okay. How fast was he going?                               11    out?
12   A. Like I told them, approximately 20 miles an hour. He       12   A. I couldn't see that.
13    bent that corner kind of hard.                               13        Ways, sometimes when he's off duty, he would leave
14   Q. Do you remember saying he was driving 25 to 30 miles an    14    it in the car and whatnot. So, I didn't -- I don't
15    hour with tires squealing?                                   15    know.
16   A. I said approximately. Approximately, ma'am.                16   Q. Okay. Do you ever see Parker's car west of Mendota on
17   Q. If you said in the Garrity 25 to 30, is that what you      17    Curtis that night?
18    remember?                                                    18   A. I don't recall.
19   A. That's what I remember.                                    19   Q. Did you ever see his car going west on Curtis? Because
20   Q. Okay. It was very dark; right?                             20    I know you've drawn in that he turns to go left and go
21   A. Yes.                                                       21    east on Curtis.
22   Q. And -- okay. So -- okay.                                   22   A. Yes.
23      Where is the gun that you say --                           23   Q. So, do you ever see him going west on Curtis at any
24   A. In his right hand.                                         24    point that night?
25   Q. Okay. So, which windows were down?                         25   A. I don't recall. It happened so fast.


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 Case 2:16-cv-13036-GAD-SDD
Parker vs.                                      ECF No. 84-5 filed 07/03/18                PageID.1896  Page
                                                                                            Police Officer    26 ofBlanding
                                                                                                           Jerold   49
City of Detroit, et al.                                                                                          October 12, 2017
                                                             Page 97                                                            Page 99

 1   Q. Well, the -- I mean, he comes south and drives past, and        1    he -- I can't tell you if it was Birwood or the next
 2    the shooting happens, and then he drives off which                2    street because it happened so fast.
 3    direction?                                                        3   Q. Okay. What was he doing with the gun?
 4   A. After Ways got out of the way, he went eastbound on             4   A. I thought he was getting ready to shoot at Ways and run
 5    Curtis, and then he went -- I don't know if it was this           5    him over.
 6    street or the next street that he went southbound on.             6   Q. Why?
 7   Q. Okay. So, all you know is you see taillights going, and         7   A. Because when he turned the corner, he said, "I've got
 8    then you see him eventually turn southbound?                      8    something for you niggers now."
 9   A. Yes.                                                            9   Q. Okay. He said that twice?
10   Q. Okay. And you had a bullet in the chamber, and then a          10   A. As I recall, he said it once, and that's when I started
11    full clip of 15?                                                 11    firing. He said -- over here, he said, "Oh, it's like
12   A. Yes.                                                           12    that. I've got something for you." Then he took off.
13   Q. And so you shoot 16 times; right?                              13       Then when he came back, he said, "now" or
14   A. I don't recall how many times I shot.                          14    something -- "niggers" or something. I can't recall
15   Q. Do you -- did anyone else shoot?                               15    exactly, but I heard him say that, and I saw the gun and
16   A. No.                                                            16    him going at Ways. That's the only reason why I fired.
17   Q. And is there anything else that Parker does that night         17   Q. Well, "going at Ways." What do you mean "going at
18    that -- that you haven't described?                              18    Ways"?
19   A. I was later advised, when I was at the station, from           19   A. With the vehicle at a high rate of speed.
20    another supervisor.                                              20   Q. Okay. Having just turned a corner?
21   Q. Okay. Let me back up.                                          21   A. With a gun in his hand.
22       Is there anything that Parker does that night that            22   Q. Uh-huh.
23    you observed that we haven't now covered?                        23       And so he's raising the gun to shoot him and run
24   A. Once I started shooting at him --                              24    him over, according to you?
25   Q. Yeah.                                                          25   A. Ma'am, it happened so quick, I thought he was going to

                                                             Page 98                                                           Page 100

 1   A. -- and saw the gun, and he was going at Ways, it                1    shoot at him or run him over.
 2    startled him.                                                     2   Q. Okay. Do you remember saying that you shot while he was
 3   Q. Okay.                                                           3    going southbound down Mendota?
 4   A. He swerved. Then that's when he went down one of those          4   A. I started shooting, ma'am, as he was bending the
 5    side streets southbound.                                          5    corner --
 6   Q. Okay. And so can you draw the swerve in as --                   6   Q. Okay.
 7   A. I can't tell you exactly how that was, ma'am. It                7   A. -- on Mendota.
 8    happened so quick.                                                8   Q. And do you remember previously saying that he was
 9   Q. Okay. And so is the -- so, your sense of it was that he         9    driving southbound when you shot?
10    never knew you were there other than the -- once the             10   A. I said I observed him coming southbound. It's confusing
11    shooting, and that's what startles him?                          11    the way that I say when I started shooting because he
12   A. Exactly.                                                       12    was coming southbound when I could see it. When he was
13   Q. Okay. So, then he jerks the wheel?                             13    turning on Curtis, you could still see it, and that's
14   A. Away from Ways, yes.                                           14    when I started shooting. As far as -- as to what angle
15   Q. Okay. And is Ways in the middle -- it looks like you've        15    I was at, I know my rounds went towards Mendota and
16    drawn him basically in the middle of the street?                 16    towards this other street over here.
17   A. He was coming -- walking back towards me.                      17   Q. Are you standing -- you're standing kind of in the
18   Q. Down the middle of Curtis?                                     18    street?
19   A. Yes.                                                           19   A. I moved over to the west side of the street when I heard
20   Q. Okay. And so you're not sure if he jerked left or he           20    the car coming.
21    jerked right? Parker, you know, swerved left or swerved          21   Q. You moved --
22    right?                                                           22   A. I didn't know who was in the car until I saw him.
23   A. I saw Ways jump out of the way of the vehicle. I know          23   Q. You moved to the west side of Mendota?
24    when I started firing, it startled him. He had his               24   A. No. Of Curtis. I stayed on Curtis.
25    window down. He had a gun in his right hand. Then                25   Q. Okay. You mean the westbound part?


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 Case 2:16-cv-13036-GAD-SDD
Parker vs.                                     ECF No. 84-5 filed 07/03/18                PageID.1897  Page
                                                                                           Police Officer    27 ofBlanding
                                                                                                          Jerold   49
City of Detroit, et al.                                                                                           October 12, 2017
                                                          Page 101                                                              Page 104

 1   A. Yes.                                                          1    it up across himself?
 2   Q. Because it's -- okay. But you got yourself at "X4" at         2   A. No, ma'am. He was coming southbound when I saw him.
 3    the time of the shooting; right? That's where you were          3    When he turned, he basically turned in front of me and
 4    when you shot?                                                  4    was going directly --
 5   A. Yes.                                                          5   Q. And you started shooting?
 6   Q. Okay. All right. I just want to make sure I'm                 6   A. Yes.
 7    understanding it because -- okay.                               7   Q. Okay. So, let's just keep reading.
 8       But -- so, you don't recall -- do you recall saying          8       "I then feared for the life and safety of
 9    previously that you shot when he was driving southbound;        9       Officer Ways and was forced to fire my
10    that you -- either you do or you don't. It's --                10       department-issued weapon --"
11   A. I don't recall. Because, like I said, he was coming          11    and you give the make and model --
12    down there so fast and as he was turning.                      12       "-- several times at the unknown black
13       MS. PRESCOTT: Okay. So, let's just go on to the             13       male because I feared he was going to shoot
14    other record for a second, and just give me a second.          14       Officer Ways or run him over with the car.
15       (Audio recording testimony from page 102                    15       I then observed Officer Ways jump out of
16       excerpted and bound under separate cover.)                  16       the way and fell on the south side of the
17       *                                                           17       street."
18       *                                                           18       So, Ways falls on the southern half of Curtis?
19       *                                                           19   A. I can't recall what side he fell on.
20       *                                                           20   Q. Okay. So, you said here "the south side."
21       *                                                           21       Do you think --
22       *                                                           22   A. Then if it was the south side, then it was the south
23       *                                                           23    side.
24       *                                                           24   Q. Well, is it or isn't it?
25       *                                                           25   A. I can't recall, ma'am. If I put that in my report, then

                                                          Page 103                                                              Page 105

 1       (Non-excerpted testimony resumes.)                           1    that's what I said.
 2       BY MS. PRESCOTT:                                             2   Q. That's what you said.
 3   Q. Okay. Are you saying he went southbound down another          3   A. Okay.
 4    street there?                                                   4   Q. Do you have any different information here today?
 5   A. Yeah. That's what I just said.                                5   A. No.
 6   Q. Okay. Then let's look at your report.                         6   Q. Okay.
 7       You've got a copy there.                                     7       "The unknown black male then drove
 8       THE REPORTER: Are we still on the separate record?           8       eastbound on Curtis and then in an unknown
 9       MS. PRESCOTT: No. We can go back.                            9       direction."
10       BY MS. PRESCOTT:                                            10       So, why are you -- so, you see how you said --
11   Q. Okay. So, I'll just read this, and we can go on from         11   A. Right.
12    there.                                                         12   Q. -- that after you shot him, after Ways shot -- jumped
13       So, you lost sight of him.                                  13    out of the way, "then the unknown male then drove
14       "I then heard a car's tires squealing, and I                14    eastbound on Curtis"?
15       observed the unknown black male driving a                   15   A. That's going eastbound.
16       light-colored Cadillac, traveling southbound on             16   Q. Okay. So, he -- you shot and then he was going -- after
17       Mendota at a very high rate of speed. I then                17    that, he started going eastbound?
18       observed that the unknown black male had a pistol           18       I'm on your report, and I'm trying to understand --
19       in his hand and yelled through the open window,             19   A. And I understand what you're saying.
20       'What's up now, niggers?' He then drove the                 20   Q. -- your report compared to what you're testifying.
21       Cadillac directly at Officer Ways and raised up             21       MR. PADDISON: I think --
22       the pistol as if he was going to shoot at Officer           22   A. Huh?
23       Ways."                                                      23       MR. PADDISON: Go ahead.
24       So, I'm going to just pause right there.                    24   A. I understand what you're saying.
25       So, this is still south on Mendota? He's raising            25       I said I shot -- he started going eastbound.


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 Case 2:16-cv-13036-GAD-SDD
Parker vs.                                     ECF No. 84-5 filed 07/03/18               PageID.1898  Page
                                                                                          Police Officer    28 ofBlanding
                                                                                                         Jerold   49
City of Detroit, et al.                                                                                         October 12, 2017
                                                          Page 106                                                            Page 108

 1    That's when Ways got out of the way. Then he went in an         1   Q. Okay. And --
 2    unknown direction. I don't recall if it was the street          2   A. I was close enough to see a gun and close enough to see
 3    Birwood or it's another street which would be                   3    him getting ready to run Ways over.
 4    southbound.                                                     4   Q. Well -- and you must have been really close because he
 5       BY MS. PRESCOTT:                                             5    was turning the corner right tight to you; right?
 6   Q. Okay. What I'm asking you here is, on the night in            6   A. Yes.
 7    question, you said you shot, Ways jumped, "the unknown          7   Q. Okay. And so --
 8    black male then drove eastbound on Curtis."                     8   A. He didn't look in my direction. He was looking at Ways.
 9       Are you here today to say that he already started            9   Q. Okay.
10    driving eastbound on Curtis before --                          10   A. That's why I said it startled him.
11   A. It was simultaneous, at the same time. It happened as        11   Q. So, why -- are you trying to shoot him where? You're
12    he was turning.                                                12    trained to shoot people when you're going to shoot them
13   Q. All right. And then in this report you say then he           13    where? In the leg? In the chest? You're trained to
14    drove off in an "unknown direction."                           14    shoot them in the body; right?
15       You do not say he goes south.                               15   A. You're trained to shoot, yes, ma'am.
16       Where did south come from?                                  16   Q. Biggest target; right?
17   A. I told the supervisors that the vehicle went southbound      17   A. Yes.
18    where I was standing at. I couldn't tell -- I don't            18   Q. And so how far away from Parker's car are you when you
19    even know what street this is until you put this on            19    shoot?
20    here. You put this as a different street.                      20   A. I couldn't tell you exactly that.
21   Q. Birwood.                                                     21   Q. It couldn't have been more than a few feet, right, based
22   A. I wouldn't be able to tell you that. That's not my           22    on what you've drawn?
23    neighborhood.                                                  23   A. Approximately about 10 feet or less.
24   Q. Okay. I didn't ask about Birwood. My question is, is         24   Q. Okay. And so you were -- this is your duty weapon?
25    that here today --                                             25   A. Yes.

                                                          Page 107                                                            Page 109

 1   A. He went south. When I said "southbound," I remember him       1   Q. And your duty outfit; right?
 2    turning right which is southbound, which to me is an            2   A. Yes.
 3    unknown direction because I don't know what street he           3   Q. And you're stepping in at this point because you're
 4    was on or where else he could have turned from there.           4    going to, according to you, protect Ways' life?
 5   Q. Okay.                                                         5   A. Yes.
 6   A. Other than that, we would have called that out on --          6   Q. Okay. And so that's an official police action; right?
 7   Q. Okay. So you are how far away from Ways when you --           7    You've intervened in the situation; right?
 8    when you start shooting? How far is "X5" from "X4"              8   A. Yes.
 9    about?                                                          9   Q. And do you ever say to him, "Stop. Police"?
10   A. It's 10 feet, approximately. I'm not sure. Maybe a           10   A. It happened so quick, ma'am, I didn't have time.
11    little bit further.                                            11   Q. Well, you had time to hear him say -- what did he say?
12   Q. Okay. Ways testifies that he chased Parker up Mendota.       12   A. Something. "What's up now?" whatever.
13       Is that true?                                               13   Q. "What's up now?"
14   A. I don't recall him chasing anybody. I just saw one           14   A. Because he had his window down.
15    person run off, and that was later found out to be             15   Q. Uh-huh. So, you see him --
16    Parker.                                                        16   A. I was close enough to hear his tires squealing for him
17   Q. Okay. So, you're just not sure?                              17    to drive right past me. For some reason he didn't see
18   A. I don't recall that, ma'am.                                  18    me until he started -- when I started firing.
19   Q. Okay. If he testified that that's what happened, do you      19   Q. Do you start raising your gun as you see him coming down
20    think that that's probably what happened, or you think         20    the street at you?
21    that's wrong?                                                  21   A. I had my gun ready, ready position, like I'm trained.
22   A. I couldn't answer on what he said.                           22   Q. I mean, like is it -- is it like at shooting, you
23   Q. That's what I'm trying to get at, your -- how closely        23    know --
24    you remember it. But it sounds like you don't know?            24   A. No. It was in ready position like I'm trained through
25   A. No. I said "approximately."                                  25    DPD.


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 Case 2:16-cv-13036-GAD-SDD
Parker vs.                                    ECF No. 84-5 filed 07/03/18               PageID.1899  Page
                                                                                         Police Officer    29 ofBlanding
                                                                                                        Jerold   49
City of Detroit, et al.                                                                                        October 12, 2017
                                                         Page 110                                                           Page 112

 1   Q. Okay. So, you had time to raise your weapon to shoot,        1    to come on. I could hear Townson telling his son, "Come
 2    but not time enough to say, "Stop. Police"?                    2    on. Let's go."
 3   A. It happened so fast.                                         3       Next thing you know, all hell breaks loose when the
 4       Yes, ma'am.                                                 4    car comes flying down the street --
 5   Q. Okay. And from the time you're there to the time you         5   Q. Right.
 6    shoot 16 times is how long?                                    6   A. -- with the window down, with him, with a gun in his
 7   A. It happened within seconds.                                  7    right hand, and he's turned to go on Curtis, and he was
 8   Q. From the time you arrived until then?                        8    going directly at Ways.
 9   A. Yes.                                                         9   Q. Okay. And what you -- what I think you've said is, in
10   Q. Okay. And other -- your co-defendants have said that        10    the time it took Ways to go half a block -- because
11    you-all were there for 10 minutes.                            11    you've drawn him in --
12       Do you remember -- does that sound right?                  12   A. I didn't say half a block now. I told you earlier, I
13   A. It seemed for me, things happened fast. As soon as I        13    don't know how many houses that was from Mendota. I
14    got there --                                                  14    mentioned that.
15   Q. Well, it's just one amount of time. I mean, time is         15   Q. Well, I know -- we aren't -- I'm not on houses. I
16    time.                                                         16    didn't say anything about houses. You've drawn him
17       MR. PADDISON: To clarify, it mischaracterizes the          17    going about half a block -- halfway down the street and
18    testimony. I don't think anybody gave an exact                18    coming back. And in that amount of time, Parker is
19    10-minute time frame.                                         19    back; right?
20       MS. PRESCOTT: Okay. Well, we can pull it out.              20   A. Yes.
21       BY MS. PRESCOTT:                                           21   Q. Okay. Isn't it true that you were disciplined relative
22   Q. Go ahead.                                                   22    to this situation?
23       You think you were there just a matter of a few            23   A. They gave me a -- I don't know what you call that -- a
24    seconds before you shoot?                                     24    verbal talk about the extra round thing. I told them
25   A. I didn't say a few seconds.                                 25    why my gun was able to do that.

                                                         Page 111                                                           Page 113

 1   Q. Okay. Well, do you know?                                     1       THE REPORTER: Excuse me? "-- told them --"
 2   A. We were there for a short period of time, ma'am.             2   A. Why my gun was able to -- they changed some rule why I
 3   Q. And you -- as far as you know, it might have been            3    was able to hold that many rounds in there. Because it
 4    10 minutes or it might have been a few seconds? You            4    was the first generation.
 5    don't know?                                                    5       BY MS. PRESCOTT:
 6   A. It might have been 10 minutes, or it might have been         6   Q. Okay. Is it -- did you get disciplined about this
 7    less.                                                          7    situation or not?
 8   Q. Okay. And so that's what I'm missing, is if it's             8   A. No. It was just a verbal counseling with my big boss,
 9    10 minutes, I don't understand what's going on in that         9    my commander.
10    10 minutes.                                                   10   Q. Okay. So, let's understand.
11       Because you -- you know, you get out of the car.           11       I would like to know about all discipline you
12    Ways walks down. Someone runs away. Car comes down.           12    received, whether it's a verbal counseling or other
13    You shoot.                                                    13    counselings.
14       So, what is in the rest of that time?                      14   A. Okay.
15   A. I said when we pulled up, they were in the street           15   Q. And earlier we talked about two times you said you had
16    squared off, arguing. I couldn't hear what they were          16    been disciplined. You did not mention this, so I want
17    saying. Ways started walking down there.                      17    to go back.
18   Q. Yeah.                                                       18   A. If you would call that discipline. All they did was
19   A. The next thing you know, once he saw Ways -- I'm            19    talk to me about it, and that was it. I didn't lose any
20    assuming he saw Ways, and that's when he made the             20    days, no ACR entry, nothing. It was just verbal.
21    statement and ran off. Again, like I said, I don't know       21   Q. Who talked to you about it?
22    if he went to a house or between houses because it was        22   A. Commander Kyriacou.
23    dark.                                                         23       THE REPORTER: I'm sorry?
24   Q. Right.                                                      24   A. Kyriacou.
25   A. And the next thing you know, I started yelling for Ways     25       Good luck on the spelling.


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 Case 2:16-cv-13036-GAD-SDD
Parker vs.                                   ECF No. 84-5 filed 07/03/18                PageID.1900  Page
                                                                                         Police Officer    30 ofBlanding
                                                                                                        Jerold   49
City of Detroit, et al.                                                                                        October 12, 2017
                                                         Page 114                                                            Page 116

 1       BY MS. PRESCOTT:                                            1    said, "Well, your partner says you met at the Northwest
 2   Q. Okay. It was a commander?                                    2    Activity Center, and you say that didn't happen."
 3   A. Yes.                                                         3       They didn't confront you with that and say, "What's
 4   Q. And what did you -- what were you supposed to have done      4    the truth?"
 5    wrong?                                                         5       Right?
 6       Like what did they say was wrong?                           6   A. No.
 7   A. He said why did I have 16 rounds in my magazine.             7   Q. And nobody ever comes to you and says, "Your partner
 8   Q. Okay. Was that something that was considered wrong to        8    says that 'I had to jump out of the way, and there was a
 9    do, to have 15 or 16 or whatever?                              9    swerving and I was being swerved at, and then there was
10   A. Not to me because as if he knew and understood it, if       10    shooting'"?
11    you know anything about weapons, I had the first              11       No one ever comes and says that to you, do they?
12    generation, and they said if you have to force in 15          12   A. No.
13    rounds, not to. So, just have 14 in the mag so you can        13   Q. And nobody ever says, as far as you know, "Hey, do you
14    keep the spring still fresh, and then put one in the          14    think maybe it was dangerous to shoot at a person,
15    pipe so you'll have 15 rounds.                                15    causing them to swerve, when somebody else is standing
16       My gun was one of the first generations where I            16    in the street?"
17    could put in 15 rounds in the mag without forcing it and      17       Right? No one ever says that?
18    then put one in the chamber so it equalled 16 rounds.         18   A. They asked me what was the -- what direction I fired and
19   Q. Okay. So, did you get a verbal warning?                     19    what was the backdrop behind there, and I told them the
20   A. Yes.                                                        20    telephone pole and the grass because it was in a
21   Q. Okay. Why? Because they don't understand guns and           21    downward direction.
22    yours was really a first generation and it was okay and       22   Q. Okay. And nobody ever says to you that, you know,
23    it shouldn't have happened or what?                           23    "Everybody else says this about the way he's driving,
24   A. I explained to him why, and he explained to me the new      24    and you say that about the way he's driving, west,
25    policy, how it's changed, and I said, "Okay." I said,         25    east?"

                                                         Page 115                                                            Page 117

 1    "It won't happen again."                                       1       No one ever comes back to you and tries to put the
 2   Q. Okay. At any point do you get any kind of discipline or      2    stories together; right?
 3    criticism, commentary of negative feedback about having        3   A. No.
 4    shot Demar Parker?                                             4   Q. And no one ever suggests to you that, you know, "Some of
 5   A. No.                                                          5    the stories don't line up in any way," do they?
 6   Q. Or -- you know, putting 16 bullets into a, you know,         6   A. No.
 7    residential neighborhood in --                                 7   Q. And nobody ever gives you any discipline for any --
 8   A. No.                                                          8    anything to do with your reporting of this incident,
 9   Q. -- middle of the evening?                                    9    whether it was truthful or not?
10       Does anyone ever come back to you and say, "Boy,           10   A. No.
11    gee, nobody else saw a gun that night. What do you make       11   Q. And during the investigation -- as we've already
12    of that? No one ever --"                                      12    covered, right -- nobody ever says to you, you know,
13   A. I know what I saw.                                          13    "Officer, there's been a lot of people that have been,
14   Q. But no one ever comes back to you and says, "Nobody else    14    you know, shot while you have been an officer. We want
15    saw a gun that night"?                                        15    to go over, you know, situation by situation," like we
16   A. I know what I saw, ma'am. I can only go by what I saw.      16    did here today; right?
17   Q. My question isn't about what you saw. My question is        17   A. I only talk to my therapist about that.
18    about what the department asked you.                          18   Q. There's no training that you've gotten after the
19       Did the department ask you any questions about how         19    incident with Parker because of the incident with
20    your story was different from anybody else's?                 20    Parker; right?
21   A. No.                                                         21   A. What do you mean "training"?
22       MR. PADDISON: Objection. Mischaracterizes                  22   Q. Well, like nobody ever said, "Blanding, you've got to go
23    testimony.                                                    23    to extra training."
24       BY MS. PRESCOTT:                                           24   A. No.
25   Q. Okay. For example, no one ever came back to you and         25   Q. Or you need to be pulled out to a particular program or


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Parker vs.                                      ECF No. 84-5 filed 07/03/18                PageID.1901  Page
                                                                                            Police Officer    31 ofBlanding
                                                                                                           Jerold   49
City of Detroit, et al.                                                                                           October 12, 2017
                                                            Page 118                                                            Page 120

 1    intervention of any kind; right?                                  1       to help a friend."
 2   A. No.                                                             2       Why did you answer it that way?
 3       (Deposition Exhibit 2 marked                                   3   A. Because that's what I did.
 4       for identification.)                                           4   Q. Okay.
 5       BY MS. PRESCOTT:                                               5   A. Once I started firing my weapon, then you
 6   Q. And is this your signature here on the back of these            6    automatically -- you're going into police mode.
 7    Interrogatories I'm marking as Exhibit 2?                         7   Q. Okay.
 8   A. Yes.                                                            8   A. I could have easily left the location. He would have
 9   Q. Okay. There was a set of questions and answers you had          9    never known who I was. I didn't. We stayed there. I
10    to go through with your lawyer.                                  10    did proper notifications and waited.
11       Do you remember that?                                         11   Q. Okay.
12   A. I'm sure I did, but I don't remember.                          12   A. I could have easily left. He would have never known who
13   Q. Okay. And that's what you were signing was, you know,          13    I was.
14    the set of questions and answers.                                14   Q. Okay. You could have shot someone and then just walked
15       I asked about disciplinary history, and the answer            15    away from the situation?
16    came back that you've gotten two written reprimands on           16   A. That happens all the time in the city. I could have --
17    two prior occasions. The first was related to a failure          17   Q. Okay. But that's not legal; right?
18    to follow an administrative policy regarding department          18   A. No, it's not legal. I did the right legal thing within
19    paperwork.                                                       19    the line of duty.
20       Is that the report we talked about with the box?              20   Q. Okay. And so you weren't just there to help a friend at
21   A. Yes.                                                           21    the time that you shoot my client; right?
22   Q. The second being related to discharge of a firearm             22   A. Of course I was there to help my friend.
23    with -- something about wildlife in an abandoned                 23   Q. Right.
24    location.                                                        24       But at the time you shoot my client, you're acting
25       That's the other one?                                         25    now -- you understand you're a police officer?

                                                            Page 119                                                            Page 121

 1   A. Yes.                                                            1   A. It turns to another police action, yes.
 2   Q. Okay. Do you know why this doesn't also list that you           2   Q. Right.
 3    were given verbal counseling about the incident of Demar          3       Okay. And yet -- but it is true you don't identify
 4    Parker?                                                           4    yourself, say -- we talked about this -- "Stop.
 5   A. I have no idea, ma'am.                                          5    Police"; right?
 6   Q. You were acting in -- as a police officer when you shoot        6   A. I didn't have time, ma'am.
 7    my client, according to what you said earlier; right?             7   Q. And you don't threaten to arrest Plaintiff while -- do
 8   A. Yes. Saving Officer Ways' life.                                 8    you remember anything you said to my client?
 9   Q. Okay. An interrogatory I asked -- a question I asked            9   A. I didn't have time, ma'am.
10    said:                                                            10   Q. Okay. All right. And so you don't see Sanchez that
11       "Were you acting in the course and scope                      11    night, the lady at the house?
12       of your police duties? Please explain."                       12   A. Never saw her.
13       And the answer I got back was:                                13   Q. You're not the one who called 911?
14       "No. Defendant was off duty at the time                       14   A. No. I told Townson to call.
15       of the incident. Defendant was with his friend,               15   Q. Okay. Did you have a dispute with a supervisor that --
16       Defendant Ways."                                              16    and not call him out for that reason that night?
17       It explains about Ways getting the call, and it               17   A. Yes. I had a dispute with a supervisor.
18    goes on to say:                                                  18   Q. Okay. What was it about?
19       "Defendant --"                                                19   A. Because he tried to disarm me while I was still in
20    meaning you --                                                   20    danger at a scene where a suspect that I just shot at
21       "-- was armed with his service weapon but                     21    had left.
22       did not identify himself as a police officer                  22       And they said it was improper for him to try to do
23       and did not threaten to arrest Plaintiff or                   23    that. I have more time than him on the job, and I
24       issue Plaintiff a citation. Defendant did not                 24    knew -- I said, "If you're ready to go down and me make
25       act as a police officer, but was simply trying                25    statements, let's go. We don't know where this guy


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Parker vs.                                    ECF No. 84-5 filed 07/03/18                PageID.1902  Page
                                                                                          Police Officer    32 ofBlanding
                                                                                                         Jerold   49
City of Detroit, et al.                                                                                           October 12, 2017
                                                         Page 122                                                                   Page 124

 1    went. I don't know who he's with. He already came back         1       MS. PRESCOTT: Okay. Let's listen to it and we'll
 2    one time. You're not going to put me in harm's danger          2    just see -- we'll just go onto the other record just to
 3    like that."                                                    3    make sure that we've covered what is on here.
 4       And other supervisors, including his commander, got         4       (Audio recording testimony from page 125
 5    on him and said that I was correct.                            5       excerpted and bound under separate cover.)
 6   Q. Okay. So, you were asked to turn over your weapon --         6       *
 7   A. At the scene.                                                7       *
 8   Q. -- by your supervisor?                                       8       *
 9   A. No, not my supervisor. It was another supervisor.            9       *
10   Q. Okay. And you said, "No, because I might get shot or        10       *
11    hurt"?                                                        11       *
12   A. No. I said, "If you're ready to go --" which he             12       *
13    apparently didn't understand the proper procedure. I          13       *
14    said, "If you're ready to go, fine."                          14       *
15       But he said, "No. Hand me your weapon."                    15       *
16       And he was basically going to have me standing out         16       *
17    there while we did not know where he was going, what          17       *
18    else he was going to go do.                                   18       *
19       And I said, "I'm not giving you my weapon until I'm        19       *
20    in a safe environment."                                       20       *
21   Q. Okay. And so how many officers are on the scene at that     21       *
22    point?                                                        22       *
23   A. A lot.                                                      23       *
24   Q. All right. A lot, a lot; right?                             24       *
25   A. Uh-huh.                                                     25       *

                                                         Page 123                                                                   Page 126

 1       THE REPORTER: I'm sorry. Is that "yes"?                     1       (Non-excerpted testimony resumes.)
 2   A. A lot.                                                       2       BY MS. PRESCOTT:
 3       BY MS. PRESCOTT:                                            3   Q. Okay. So, that's where you say "Him and I got into it."
 4   Q. And where are you standing when you have this                4   A. Uh-huh.
 5    confrontation with the supervisor?                             5   Q. And she goes on to say, "Did you call 911?"
 6   A. By one of the scout cars.                                    6       At any point does anyone ever say to you, "What do
 7   Q. And can you draw --                                          7    you mean you got into it with a supervisor that night?"
 8   A. I can't remember where, ma'am. They start blocking the       8   A. I meant verbally, ma'am.
 9    streets off and all that staff.                                9   Q. Well, does anybody else question you from Internal
10   Q. Right.                                                      10    Affairs or beyond this Garrity statement?
11       So, you're in between street blockades; right?             11   A. I -- as I recall, Tony O'Rourke had asked me what
12   A. As I recall, yes.                                           12    happened because he saw I was pissed off. The commander
13   Q. Okay. So, who is the supervisor that you have a dispute     13    had asked me. I can't think of their commander, which
14    with?                                                         14    would be their 2400 at the time. And then once they
15   A. I can't think of his name. They all know him. They          15    understood what was said to me by him, they went and got
16    said he's -- he's a supervisor at Number 12.                  16    on him and told me to stand by and wait until they're
17   Q. And you were in the 12th Precinct's area; right?            17    ready for me to leave.
18   A. Yes.                                                        18       And they -- one of them, as a matter of fact, even
19   Q. And was he the officer in charge of the scene or what?      19    apologized for his actions, saying that he was -- the
20   A. I have no idea. He just pulled up to me, didn't even        20    supervisor was wrong.
21    ask me if I was okay, and said, "Officer, relinquish          21   Q. Okay. So, a Detroit police officer on duty asked you
22    your weapon."                                                 22    off duty to relinquish your weapon after shooting
23       And then that's when we start going back and forth.        23    someone --
24    And I said, "If you're ready to go, then let's go, but        24   A. Sergeant.
25    I'm still in harm's danger."                                  25   Q. A sergeant -- after shooting someone, and you got an


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Parker vs.                                    ECF No. 84-5 filed 07/03/18               PageID.1903  Page
                                                                                         Police Officer    33 ofBlanding
                                                                                                        Jerold   49
City of Detroit, et al.                                                                                       October 12, 2017
                                                         Page 127                                                           Page 129

 1    apology for this at the end of this?                           1    Officer Blanding surrendered his I.D. but not his
 2   A. No. They said --                                             2    firearm. Captain Szilagy, S-z-i-l-a-g-y, ordered
 3   Q. Is that how it went?                                         3    Officer Blanding to surrender his firearm.
 4   A. It's not exact words.                                        4       Is that who you think probably --
 5   Q. Okay.                                                        5   A. Terechenok is the sergeant I got into it.
 6   A. They said, "Sorry about that. He's an asshole. He            6       None of them ever took my I.D.
 7    doesn't know what he's talking about."                         7       And then when however you pronounce that
 8   Q. Okay. And did you give over your weapon that night on        8    commander's name or captain, that's who I gave my weapon
 9    the scene?                                                     9    to, and then I immediately left.
10   A. Later when they were getting ready to take me.              10   Q. So, this doesn't talk about you getting an apology for
11   Q. Yeah.                                                       11    being asked to turn over your gun.
12       And so you did give it over that night?                    12   A. No. No. One of my supervisors said, "That's it. Just
13   A. I gave it to whatever -- the big boss. I still didn't       13    forget it. Don't worry about. He's an asshole."
14    give it to him. I gave it to him, their 2400, and we          14   Q. Okay. But actually the captain agreed with the sergeant
15    went back to the station. And I believe I got it              15    that you needed to surrender --
16    back -- yeah, I did get it back that day.                     16   A. Of course he's going to say he ordered me, and I still
17       I don't know if I got it back that day at the              17    didn't give it to him. I gave it to the captain.
18    station or Homicide had gave me a loaner.                     18   Q. Right. The captain, when he comes, orders you to
19   Q. Why did you give it over when you gave it over?             19    surrender the firearm just like the sergeant did.
20   A. Because that's procedure. You're supposed to give it        20   A. No. He didn't say that. The sergeant ordered me.
21    over.                                                         21   Q. Okay.
22       That doesn't mean they take it from you, you know.         22   A. The captain -- once the captain walked up, after my
23    It's evidence then. So, I gave it to the -- well, the         23    supervisor and him talked to him, he said, "Officer
24    commanding officer. We go back to the station, and I          24    Blanding, you know you're going to have to give up your
25    can't recall if I had -- I'm almost positive they gave        25    weapon. You're going to have to leave."

                                                         Page 128                                                           Page 130

 1    me a loaner, which would have come from homicide.              1       I said, "Okay. I'm still not giving it to him,"
 2   Q. Okay. But what I'm asking is, why do you -- you don't        2    and I removed my weapon and gave it to the captain.
 3    give it to the one guy.                                        3   Q. Okay. The captain asked you to give him your gun;
 4       Do you know who you give it to?                             4    right?
 5   A. I just said their -- whoever was -- I can't think of his     5   A. Terechenok or whatever is the one that did it. He just
 6    name. He was the commanding officer of -- from the west        6    walked -- the captain walked up, said, "Officer, you
 7    side that day.                                                 7    know what you have to do. You have to give up your
 8   Q. Okay. And when you give it to him, you're still              8    weapon."
 9    standing somewhere in the area of Curtis and Mendota;          9       I can't remember his exact words, ma'am.
10    right?                                                        10   Q. Is there some reason why you're worried about agreeing
11   A. No. They took me to the station.                            11    that this is why he ordered you --
12   Q. So, you had your gun when you left Curtis and Mendota?      12   A. I'm not worried about it.
13   A. I gave it to a supervisor of the 12th Precinct, which       13   Q. -- to surrender your firearm?
14    was a commanding officer. I can't remember who took me        14   A. I'm not worried about it. You're making a bigger deal
15    to Number 10, but that gun was with him.                      15    out of it than it has to be.
16       As to when they gave me another loaner gun, I don't        16   Q. Okay.
17    know, but I still had another gun on me.                      17   A. I know I gave it to him.
18   Q. There's a Sergeant Terechenot, T-e-r-e-c-h-e-n-o-t(sic).    18       I didn't give it to that sergeant.
19       MR. PADDISON: Terechenok.                                  19   Q. Is this report untrue when it says he ordered you to
20       BY MS. PRESCOTT:                                           20    give him the gun, the captain?
21   Q. Terechenok?                                                 21   A. Ma'am --
22   A. That's the guy I got into it with.                          22   Q. That's all I want to know.
23   Q. So, according to the Force Investigation report,            23   A. Terechenok had ordered me to give it to him.
24    Sergeant Terechenok reported he asked Officer Blanding        24   Q. Okay. So, is this report untrue when it says that the
25    for his department identification and his firearm.            25    sergeant --


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Parker vs.                                  ECF No. 84-5 filed 07/03/18                PageID.1904  Page
                                                                                        Police Officer    34 ofBlanding
                                                                                                       Jerold   49
City of Detroit, et al.                                                                                        October 12, 2017
                                                       Page 131                                                              Page 133

 1   A. I can't say that, ma'am.                                   1   A. That has --
 2   Q. Okay. You never got close enough to Parker to smell        2       BY MS. PRESCOTT:
 3    anything on him, did you?                                    3   Q. My question is a how long question.
 4   A. No.                                                        4       How long? Years? Months?
 5   Q. Did you tell anyone that you had been the victim of a      5   A. That's a martial arts term.
 6    felonious assault that night?                                6   Q. Okay. How long have you used the term "Fatal Force" as
 7   A. The felonious assault would have been on Ways.             7    your --
 8   Q. Okay. So, you didn't say you had been the victim of a      8   A. I couldn't give you a date.
 9    felonious assault; right?                                    9   Q. No one at DPD ever asks you about that?
10   A. I don't recall that. Ways was the one about to be the     10   A. No. They got that off my Instagram thing when I talked
11    victim if he would have got hit or got shot.                11    to other martial artists. They falsified that whole
12   Q. Okay. And so the -- why did no one pursue --              12    report. I had just opened up a Facebook, which I
13   A. I have no idea.                                           13    probably never used. The "Fatal Force" is an Instagram
14   Q. -- Parker?                                                14    thing which, if it was still open, you could see all I
15   A. That's -- that's what we wonder.                          15    talked to is other martial artists.
16   Q. Well, why didn't you pursue him?                          16   Q. Who falsified what report?
17   A. How can I pursue him? I'm not investigator. That was      17   A. Whoever at Metro Times and whatever you reported to
18    up to them, the Internal Affairs, Force Investigation.      18    people about me, making it sound like I'm just this
19   Q. Well, I just mean that night. You can get in the car      19    rogue cop out here shooting people.
20    and go down the way. I mean, you just riddled the car       20   Q. Okay. So, let's get specific about what we have here.
21    with bullets.                                               21       (Deposition Exhibit 3 marked
22   A. In my personal car and chase him and have someone else    22       for identification.)
23    get killed because you're chasing a guy in your personal    23       BY MS. PRESCOTT:
24    vehicle? That's not smart.                                  24   Q. So, this is you; right? Exhibit 3, "Fatal Force"?
25   Q. Okay.                                                     25   A. That's from my Instagram.

                                                       Page 132                                                              Page 134

 1   A. Our chases don't end well in the city.                     1   Q. Right.
 2   Q. Any reason that you don't report that you had had a        2       And nobody at DPD ever goes on your Instagram and
 3    problem with the sergeant?                                   3    sees if you were holding yourself out as "Fatal Force";
 4   A. My supervisor prepared that. He knew him.                  4    right?
 5   Q. Mr. O'Rourke?                                              5   A. As far as investigation, no.
 6   A. Yes. They got on it.                                       6   Q. What -- what martial art are you referring to?
 7   Q. And why is your supervisor out there?                      7   A. Something I've been doing since I was a kid.
 8   A. Because I called him on his cell phone.                    8       Why does that matter?
 9   Q. You wanted him to come out there and help sort it out?     9   Q. Is it Taekwondo or --
10   A. You always call your immediate supervisor so he doesn't   10   A. No.
11    find things out from other people. And plus he -- I         11   Q. What is it?
12    didn't know those other supervisors or nothing.             12   A. Japanese Shotokan karate.
13   Q. What does that matter?                                    13       THE REPORTER: I'm sorry. "Japanese --"
14   A. Because if you have a crew that's working for you, you    14   A. Japanese Shotokan karate.
15    want them to tell you, "Hey, I just got in trouble with     15       BY MS. PRESCOTT:
16    them," or "something happened," or "just got in a           16   Q. And it's -- and there is some -- is it your position
17    shooting," "just got in a car accident," as opposed to      17    that this form of martial arts is -- endorses fatal --
18    them coming to work the next day and finding out from       18    the use of fatal force?
19    the supervisor. You don't do that.                          19   A. I don't know how to properly answer that.
20   Q. Okay. But why does he have to come out to the site?       20   Q. Did you know Crenshaw before the shooting?
21   A. Because I just was involved in a shooting.                21   A. Who?
22   Q. How long have you gone by the handle of "Fatal Force"?    22   Q. Crenshaw, the guy you shot. Johnny Crenshaw.
23       MR. PADDISON: Objection. Relevance.                      23   A. Never.
24   A. Do I have to answer?                                      24   Q. Khary Mason, do you know him?
25       MR. PADDISON: Yeah, you can answer.                      25   A. Khary Mason?


Min-U-Script®                          Bienenstock / U.S. Legal Support                                  (32) Pages 131 - 134
                                  Ph: 248.644.8888   Toll Free: 888.644.8080
 Case 2:16-cv-13036-GAD-SDD
Parker vs.                                     ECF No. 84-5 filed 07/03/18               PageID.1905  Page
                                                                                          Police Officer    35 ofBlanding
                                                                                                         Jerold   49
City of Detroit, et al.                                                                                         October 12, 2017
                                                          Page 135                                                           Page 137

 1   Q.  Khary Mason.                                                 1    different little group.
 2   A.  Yes.                                                         2   Q. Do you ever talk to Mason about the situation with
 3   Q.  How do you know him?                                         3    Parker?
 4   A.  We used to work together. He's at Homicide.                  4   A. No, we couldn't.
 5   Q.  How long -- how many -- how long did you know him?           5   Q. I mean, he never questions you?
 6   A.  We worked at ATF task force together --                      6   A. No.
 7      THE REPORTER: I'm sorry. "-- worked at --"                    7   Q. And you --
 8   A. ATF task force together. And then I transferred over to       8   A. Oh.
 9    Number 10 probably in 2010, and he was my regular               9   Q. Go ahead.
10    partner until he left and went to Homicide.                    10   A. I guess one time, I was down there at Homicide, taking
11      BY MS. PRESCOTT:                                             11    another suspect down there. And I guess they brought
12   Q. Okay. How long was that that you would have been             12    Parker in for questioning.
13    regular partners?                                              13   Q. Actually, he decided to come in voluntarily.
14   A. I couldn't tell you. Maybe two, three years.                 14       But go ahead.
15   Q. Okay. And you two were also friends; right?                  15   A. Okay. Well --
16   A. Yes.                                                         16   Q. But he's there. You see him?
17   Q. Outside of work?                                             17   A. But he still didn't know who I was.
18   A. Yes.                                                         18       So, they just made sure that I walked around the
19   Q. And considered him a close friend; right?                    19    hallway. My deal with my prisoner, that had nothing to
20   A. Yes.                                                         20    do with that. And then I -- that was it.
21   Q. And the ATF task force when you first started working        21   Q. Okay.
22    with him, what year would that have put us in?                 22   A. And he walked right past me. I didn't know that he
23   A. I was at two task forces in 2006. I was at ATF task          23    still didn't know who I was.
24    force and DEA task force.                                      24   Q. So, Mason talked to you about that at that point; is
25   Q. Okay. So, you would go back with him about ten years,        25    that --

                                                          Page 136                                                           Page 138

 1    then?                                                           1   A. No, they saw --
 2   A. I couldn't say that because I was at ATF task force           2   Q. The question had been -- and just to help you --
 3    before him.                                                     3   A. I just so happened to be at Homicide, with a homicide
 4   Q. He was one of the people that was investigating for           4    suspect.
 5    Homicide in the -- with regard to the shooting of               5   Q. I'm with you.
 6    Parker; right?                                                  6   A. As I was standing at their witness room, they came in or
 7   A. Yeah.                                                         7    whatever you want to say -- he came in or whatever with
 8       But he couldn't say anything about it.                       8    Parker.
 9   Q. Couldn't say anything about the fact that you had been        9       I knew who he was, but he didn't know who I was.
10    friends for ten years?                                         10   Q. And how did you know who he was?
11   A. I mean, I'm sure he can, but as far as giving me details     11   A. I just -- I don't forget a face, ma'am. I knew he
12    and stuff, he doesn't do that.                                 12    looked familiar, and then the way that they looked, and
13   Q. Uh-huh.                                                      13    they were like, oh, can't have you two together.
14       What about the other guy who investigated for               14       And I was like -- you know, I said, "Okay."
15    Homicide? What was his name?                                   15       And then the guy walked past, and I said, "He
16   A. Who?                                                         16    already walked past me."
17   Q. There's no one else you know that was an investigator?       17       And he was like, "Did he say anything to you?"
18   A. They have a --                                               18       I said, "He doesn't know who I am."
19   Q. A task force?                                                19       And, see, I want to share something with you.
20   A. -- a shooting team or whatnot.                               20       This is how they switched it up. That's the
21       Yeah. So, I don't know who was all on it. I know            21    picture of when I was in the Bahamas. This is something
22    just about everybody on the department. I've been on           22    from Facebook, how they switched it up. This is a
23    the job so long. But as far as the Homicide having             23    picture of me from in the Bahamas, sitting there
24    their own, I guess it's a shooting team or a team that         24    smiling, and they switched this up to make this look
25    deals with police shootings, enforcement. It's a               25    like this is my Instagram photo, and it's not.


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                                    Ph: 248.644.8888   Toll Free: 888.644.8080
 Case 2:16-cv-13036-GAD-SDD
Parker vs.                                     ECF No. 84-5 filed 07/03/18                PageID.1906  Page
                                                                                           Police Officer    36 ofBlanding
                                                                                                          Jerold   49
City of Detroit, et al.                                                                                          October 12, 2017
                                                           Page 139                                                           Page 141

 1       So, like I said, they're trying to make me look               1   A. On Facebook, which someone posted for me.
 2    like some rogue cop.                                             2   Q. Okay. But you used -- this is the picture that you
 3       BY MS. PRESCOTT:                                              3    uploaded on Exhibit 4; right?
 4   Q. Is that not a picture of you?                                  4   A. Yes. Someone else did it for me.
 5   A. It's two pictures, if you look at it closely.                  5   Q. Okay. And then separately your Instagram handle is the
 6       One is -- at the top which says, "Fatal Force,"               6    "Fatal Force"; right?
 7    which is my Instagram. It's when I was down in the               7   A. Yes.
 8    Bahamas with my wife.                                            8   Q. Okay. And so you think someone is trying to smear you
 9   Q. Okay.                                                          9    as a bad cop because why?
10   A. That picture of me with the weights, that's from my --        10   A. Between you and the people from Metro Times, yes.
11    someone set that up on my Facebook. So, they switched           11   Q. No, no, no.
12    it around and tried to make me look like I'm some damn          12       What is --
13    killer.                                                         13   A. Because why would they switch --
14   Q. Okay. But -- so, this is a picture of you and your            14   Q. -- being done that's unfair?
15    weights -- with your weights; right?                            15   A. Why would they switch -- why would they switch those
16   A. Yes.                                                          16    pictures around and try to make me sound like I'm some
17   Q. The picture is you, and the "Fatal Force" is your             17    rogue cop and just like --
18    handle?                                                         18   Q. What is unfair about what's on Exhibit 3 or 4?
19       MR. PADDISON: Go ahead and answer.                           19   A. How they switched those pictures around.
20   A. Yes.                                                          20   Q. Okay. Show me.
21       BY MS. PRESCOTT:                                             21   A. That "Fatal Force" is not the "Fatal Force" picture that
22   Q. We got -- okay. All right. I don't know what -- is            22    I put out there on the Internet. It was a picture of me
23    this something different?                                       23    sitting up smiling in the Bahamas. I'm saying they're
24   A. It's the image that they're trying to make me look like.      24    tying to make me look like I'm just this evil person.
25    That's from Facebook, which I never use.                        25    They put that all in the paper, in the Metro Times.

                                                           Page 140                                                           Page 142

 1       (Deposition Exhibit 4 marked                                  1    That's the only reason why he knew who I was.
 2       for identification.)                                          2   Q. Okay.
 3       BY MS. PRESCOTT:                                              3   A. Now he confronted me at the school. That's what I'm
 4   Q. Okay. Is this Exhibit 4 a picture where you have the           4    saying.
 5    boxing gloves on and the whatever?                               5       You know, so, whatever. People do anything to get
 6   A. You don't see boxing gloves. That's weights.                   6    money, I guess, but that's slander.
 7   Q. Okay. What is --                                               7   Q. Okay. And nobody did anything to get money that made
 8   A. And at the top, as a matter of fact --                         8    you put yourself out there as "Mr. Fatal Force," did
 9   Q. Oh, I see. Yeah, you're right. That's weights behind           9    they? You chose to do that?
10    it. Okay.                                                       10   A. It's a martial arts term, ma'am.
11   A. Which that's what -- I didn't like how they tried to          11   Q. You chose to do that; right?
12    switch it.                                                      12   A. Yes.
13       MR. PADDISON: Well, no. We'll get to that.                   13   Q. Okay. And what is that -- what are we supposed to take
14       MS. PRESCOTT: Okay.                                          14    from that? That's --
15   A. Okay.                                                         15   A. To be honest with you, not switch the pictures around.
16       MS. PRESCOTT: You can get to it. I really don't              16   Q. What are we supposed to understand about you when you
17    care --                                                         17    are "Mr. Fatal Force"? That's who you are to
18   A. Well, it's a big deal to me because it's -- it's              18    Instagram --
19    jeopardizing my career.                                         19   A. But why would you put a picture --
20       BY MS. PRESCOTT:                                             20       THE REPORTER: I'm sorry.
21   Q. Okay. Well, let's get -- let's get something clear.           21       BY MS. PRESCOTT:
22    The picture of you with the weights is a picture you've         22   Q. My question is --
23    used as your -- is it a picture you have used as your           23       MR. PADDISON: Go ahead and answer her question;
24    identifying picture, your -- I don't have the right             24    okay?
25    word.                                                           25   A. Okay.


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                                    Ph: 248.644.8888   Toll Free: 888.644.8080
 Case 2:16-cv-13036-GAD-SDD
Parker vs.                                    ECF No. 84-5 filed 07/03/18                 PageID.1907  Page
                                                                                           Police Officer    37 ofBlanding
                                                                                                          Jerold   49
City of Detroit, et al.                                                                                         October 12, 2017
                                                          Page 143                                                            Page 145

 1       BY MS. PRESCOTT:                                             1    they have it.
 2   Q. Put Exhibit 3 out of your head. Let's say that we never       2   Q. Okay.
 3    saw Exhibit 3.                                                  3   A. I assist with a lot of things that they sent me to
 4       We know you're "Mr. Fatal Force." That's your                4    become an instructor. And when they need me at the
 5    name.                                                           5    academy, they sign me up.
 6       What are we supposed to understand about the use of          6   Q. And you sign in on handwriting sheets like a -- like
 7    "Fatal Force" or your interaction with that concept?            7    literally a roster when you go to those trainings;
 8   A. I have no idea.                                               8    right?
 9   Q. You just -- it just happened to be your name you picked?      9   A. Yes.
10   A. Yes.                                                         10   Q. When you had the shooting with Parker, when was the last
11   Q. Okay. You can't think of any reason why?                     11    time you had been to a use of force training?
12   A. No.                                                          12   A. We have to go to 40-hour block once a -- once a year,
13   Q. Do you remember telling the officers that -- in the          13    and you have to go to the gun range quarterly, and they
14    investigation that you stayed by the truck the whole           14    go through use of force there as well.
15    time and didn't cross the street?                              15   Q. Okay. And the year before the shooting of Parker, do
16   A. I remember saying "I stayed close to the truck."             16    you remember what would have been covered in that block?
17   Q. You don't remember saying you stood by the truck the         17       I mean, I know that there's lots covered that
18    whole time, twice?                                             18    doesn't have to do with use of force. There's legal
19   A. I could have.                                                19    updates and other stuff.
20   Q. Do you know why you would have?                              20       With regard to use of force, do you remember
21   A. Because the truck was still in close distance to me from     21    anything that was covered that particular -- within that
22    the whole time -- the whole incident.                          22    year?
23   Q. Well, do you know why you would have said you didn't         23   A. No.
24    cross the street?                                              24   Q. How about the year before?
25   A. I can't recall, ma'am.                                       25   A. It's the same thing.

                                                          Page 144                                                            Page 146

 1       As far as staying by the truck, never walking down           1   Q. How about in the five years prior?
 2    where Ways went, never getting down where Townson and           2   A. As far as what training I went through?
 3    Parker went, no, I never did. I was still by the truck.         3   Q. Specific to the use of force, what particular subjects,
 4   Q. What kind of gun was he holding? Parker?                      4    topics they covered.
 5   A. All I can say is, it was a dark semi-automatic.               5   A. It's kind of a broad question, ma'am. I mean, within
 6   Q. Do you have any idea why Ways would say he couldn't see       6    five years I became an active shooter instructor, a
 7    any gun?                                                        7    handcuff instructor, PR-24 instructor, asp baton
 8       MR. PADDISON: Calls for speculation.                         8    instructor. I assist with -- because of my background
 9       BY MS. PRESCOTT:                                             9    with the defensive tactics when they need help with
10   Q. That he -- it was impossible to see because it was dark?     10    that.
11   A. Possibly because it was dark; possibly because he saw a      11       So, a lot of things I'm certified through the
12    car coming at him with headlights on. I have no idea           12    department as an instructor.
13    why he couldn't see --                                         13   Q. Okay. So, I'm asking about the five years prior to the
14   Q. Uh-huh. Well, you saw a car coming at you with               14    shooting what you can talk to me about, about which --
15    headlights on; right? The headlights were on; right?           15    what of those you had in the five years prior to this
16   A. Yes, ma'am.                                                  16    shooting?
17   Q. Okay. Did anyone ever go through your training history       17   A. I couldn't give you them verbatim. I would have to have
18    relative to this investigation with Parker? Like IA or         18    someone pull it up in MAS.
19    the people who were doing the Garrity questioning?             19   Q. Okay. And with regard to the use of force, you
20   A. I have no idea. They have to go through MAS, which is        20    understand that you can't use force unless you report
21    our training thing, and I'm a certified instructor in          21    that the suspect was using force first; right?
22    several areas for the Detroit Police Department.               22   A. Of course.
23   Q. Okay. And so you are somebody who has -- your MAS file       23   Q. Okay. And so, for example, if you shot someone, you
24    says you've been to training on use of force; right?           24    understand that that would be illegal unless there was
25   A. Yes. I assist with the defensive tactics courses when        25    some use of force by them first; right?


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 Case 2:16-cv-13036-GAD-SDD
Parker vs.                                    ECF No. 84-5 filed 07/03/18                PageID.1908  Page
                                                                                          Police Officer    38 ofBlanding
                                                                                                         Jerold   49
City of Detroit, et al.                                                                                         October 12, 2017
                                                         Page 147                                                            Page 149

 1   A. Extreme measures, yes.                                       1   A. No.
 2   Q. Okay. And that, in fact, you -- it would have to be          2   Q. Do you know why it would be that you weren't questioned
 3    true that the person was using active aggression, if not       3    in this matter for months after it happened by the --
 4    deadly force, before you would be justified in pulling         4    you know, by the department?
 5    out a gun and shooting them; right?                            5       You didn't give your Garrity for quite a while.
 6   A. Yes.                                                         6   A. I have no idea, ma'am.
 7       He had a gun. He's charging my partner with a               7   Q. Did you -- no one ever explained that to you?
 8    vehicle. I'm not going to wait for it to happen and            8   A. No.
 9    then react. I prevented him from getting shot or ran           9   Q. Did you get to see Parker's questioning when he comes in
10    over, which I stated several times.                           10    with his lawyer at any time?
11   Q. Okay. And so you understood at the night -- on the          11   A. No.
12    night of the 15th that if -- of course, if you had shot       12   Q. Let's look at the Complaint.
13    a person out on the street without him having a gun or        13       Yeah, okay. So, if you turn to page 10, paragraph
14    driving at your partner, that would be illegal; right?        14    51, this is our account of what happened, and I just
15   A. Of course.                                                  15    want to understand your take on some of these points.
16   Q. And you could be prosecuted for that; right?                16       So, on page 10, paragraph 51, at the top, says the
17   A. Of course.                                                  17    time of this event was shortly after 11:00 p.m.
18   Q. And so did you ever talk to Ways or Townson about           18       Do you know whether -- what the time was?
19    whether they saw a gun that night?                            19   A. Uh-uh.
20   A. I don't recall.                                             20       THE REPORTER: I'm sorry. Is that --
21   Q. Do you know why they testified that Parker swerved at       21       MR. PADDISON: Is that "yes" or "no"?
22    Ways before the shooting?                                     22   A. Oh, I'm sorry.
23       MR. PADDISON: Objection. Calls for speculation.            23       I would have to look at my report as to what time
24   A. I don't recall that, ma'am. It happened so quick, like      24    approximately.
25    I said.                                                       25       BY MS. PRESCOTT:

                                                         Page 148                                                            Page 150

 1       BY MS. PRESCOTT:                                            1   Q. Okay. We can -- so, whatever your report says is the
 2   Q. Do you know why Parker and Townson, sitting all the way      2    best your remember?
 3    to today, were squared off in the street as of the time        3   A. Yes.
 4    you pulled up there?                                           4   Q. Okay.
 5   A. I found out later.                                           5      "-- and the street was well-lit and the
 6   Q. What did you find out?                                       6      weather conditions were mild."
 7   A. It was something dealing with the kids and -- his son        7      Is that true or not true?
 8    and his daughter.                                              8   A. This corner was lit, but it was cold.
 9   Q. Okay. You talked to Townson about it or what?                9   Q. Okay. There's no fog or sleet or anything. It was
10   A. I asked him what was going on later. He said his son        10    August; right?
11    called for help and apparently something happened with        11   A. Yeah, it was August, but I remember it was cold.
12    his son and his daughter. As far as -- as to what             12   Q. Okay. Was it clear outside?
13    specifically, I don't know. Like I said, I've only seen       13   A. It was dark, ma'am, but the corner where we parked, it
14    his son a couple of times. I never seen his sister.           14    was a street light.
15   Q. Okay. So, you talked to Townson about the situation         15   Q. Okay.
16    after the fact of how this all unwound?                       16   A. Down where they were at, it was dark.
17   A. Yeah. What was going on, what was up.                       17   Q. What I'm asking is, it wasn't foggy or something?
18   Q. Okay. And I'll just keep going here.                        18   A. I don't recall.
19       You never see Parker flip a U-turn in the street,          19   Q. Okay.
20    do you?                                                       20      "Plaintiff was --"
21   A. I don't recall that.                                        21    so, Parker --
22   Q. Do you see him stop a bus? You know, step into traffic,     22      "-- lightly dressed in shorts, gym shoes
23    Parker --                                                     23      and a light shirt. No bulky clothing such as
24   A. No.                                                         24      to conceal a weapon."
25   Q. -- cause a bus to have to stop?                             25      Is that true or not true, or you don't know?


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 Case 2:16-cv-13036-GAD-SDD
Parker vs.                                      ECF No. 84-5 filed 07/03/18                PageID.1909  Page
                                                                                            Police Officer    39 ofBlanding
                                                                                                           Jerold   49
City of Detroit, et al.                                                                                           October 12, 2017
                                                           Page 151                                                             Page 153

 1   A. I don't know.                                                  1       BY MS. PRESCOTT:
 2   Q. Don't know. Okay. 53:                                          2   Q. Okay. And Townson's status as an officer allows him to
 3      "Plaintiff had no weapons."                                    3    have a gun. We -- that's obvious. We know that.
 4      You dispute that?                                              4     Okay. 60:
 5   A. I saw him with a weapon.                                       5       "Marcus Ways and Jerald Blanding, also
 6   Q. The gun you testified about?                                   6       Detroit police officers, arrived on the scene,
 7   A. Yes.                                                           7       also armed with guns."
 8   Q. And nothing else; right?                                       8       So, you know you were and you're not sure about
 9   A. And the car.                                                   9    Ways?
10   Q. But no other weapon; right?                                   10   A. I don't know if his gun was on him, or, like I said, in
11   A. No.                                                           11    the car.
12   Q. Okay.                                                         12   Q. Okay. Does Townson ever hand you a gun that night?
13      "Townson approached aggressively and began                    13   A. No.
14      to question Plaintiff --                                      14   Q. I mean -- okay. I just want to --
15    Parker --                                                       15     All right. Okay. 62:
16      "-- asking certain questions."                                16       "Ways and Blanding reported to the scene
17      Do you know whether any of that is true on 54?                17       on duty or were third-party interveners in the
18   A. Like I said, I saw them arguing in the street. I              18       dispute --"
19    couldn't hear exactly what they were saying.                    19       MR. PADDISON: Can you finish the paragraph,
20   Q. Okay. And who approached who or whatever?                     20    please?
21   A. I don't know. They were both in the street when I got         21       BY MS. PRESCOTT:
22    there.                                                          22   Q. (Reading.)
23   Q. Okay.                                                         23       "-- between Plaintiff and his ex-girlfriend
24      Parker --                                                     24       regarding Townson's son."
25      "Plaintiff observed Defendant Townson's                       25       You didn't know what the dispute was; right?

                                                           Page 152                                                             Page 154

 1       service weapon sticking out of his pocket."                   1   A. No. I just know his son called for help.
 2       Do you know whether that --                                   2   Q. And your -- we covered, I think, the rest of that.
 3       MR. PADDISON: Objection. Calls for speculation.               3       You were called to the residence by Townson. You
 4       BY MS. PRESCOTT:                                              4    know that; right?
 5   Q. -- happened?                                                   5   A. I wasn't called. Ways was called. I happened to be
 6       That's my question.                                           6    with Ways.
 7       Do you know if that happened?                                 7   Q. Okay. And you get out of the car to help Ways; right?
 8   A. I don't know.                                                  8   A. To help Ways and Townson.
 9   Q. Do you know if Townson had a weapon that night?                9   Q. Okay. And you're unrelated to the ex-girlfriend and
10   A. I don't know.                                                 10    Townson and Townson's son; right?
11   Q. Okay.                                                         11   A. Correct.
12       "DPD --"                                                     12   Q. That's 64. It also says you have no personal interest
13     Number 56:                                                     13    in the matter to motivate you as your own personal dog
14       "DPD policies authorize on- and off-duty                     14    in this fight or beef; right?
15       police officers to carry their service weapons."             15   A. What's the number you're reading?
16       Is that true?                                                16   Q. 64. You had no personal interest in the matter to
17   A. Yes.                                                          17    motivate your own intervention?
18   Q. Okay. And, in fact, you can carry concealed; right?           18       You didn't have a personal stake in this; right?
19   A. Yes.                                                          19       MR. PADDISON: In what exactly?
20   Q. Okay. All right. So, 58, is it common for Detroit             20   A. I was going to help Townson and see what was wrong with
21    police officers to carry their weapons if they need to          21    his son with Ways.
22    respond to a call or a need for immediate action?               22       BY MS. PRESCOTT:
23       MR. PADDISON: Objection. Calls for speculation.              23   Q. Okay. The next one says:
24       You can answer to the best of your ability.                  24       Parker --
25   A. As far as I know, yes.                                        25       "Plaintiff asked Townson to put the gun


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                                     Ph: 248.644.8888   Toll Free: 888.644.8080
 Case 2:16-cv-13036-GAD-SDD
Parker vs.                                      ECF No. 84-5 filed 07/03/18                    PageID.1910  Page
                                                                                                Police Officer    40 ofBlanding
                                                                                                               Jerold   49
City of Detroit, et al.                                                                                               October 12, 2017
                                                               Page 155                                                             Page 157

 1       down."                                                            1   A. I don't understand how that's written.
 2       Were you -- could you hear any of that?                           2   Q. Yeah. So, it takes off with 69. So, 69 says he's
 3   A. No.                                                                3    heading west on Curtis past you-all, and then 70, he
 4   Q. Okay. So, you don't know one way or another?                       4    drove several blocks and then turned around, going the
 5   A. No.                                                                5    other way.
 6   Q. Okay. This -- 66:                                                  6   A. That would be going -- coming southbound --
 7       "Townson, Ways and Blanding began to close                        7   Q. Going east?
 8       in on Plaintiff."                                                 8   A. -- then going eastbound.
 9       Did you ever sort of make a like circle around                    9   Q. It would be going west, turning around and coming back
10    Parker?                                                             10    east on --
11   A. Never got close to him.                                           11   A. No, I don't remember him driving past me.
12   Q. Okay.                                                             12   Q. -- on Curtis.
13   A. Not down the street.                                              13      You don't remember that?
14   Q. Okay. 67 says that he stepped into the bright lights              14   A. I don't remember him driving past me first. I just
15    illuminating Curtis Street and tried to draw attention              15    remember him coming southbound down Mendota.
16    to himself.                                                         16   Q. Okay.
17       Did you see that?                                                17      "As Plaintiff returned down Curtis
18   A. No.                                                               18      eastbound and headed home, Ways stepped into
19   Q. Okay. 68, the next page:                                          19      the middle of the street just before the
20       "Plaintiff was able to avoid the closing                         20      intersection of Mendota with his service
21       officers."                                                       21      weapon drawn."
22       You deny that you were closing in on him; right?                 22      Is that true?
23    First of all?                                                       23   A. I didn't see Ways with his weapon out.
24   A. No, I wasn't.                                                     24   Q. Okay. Did he step into the middle of the street from --
25   Q. Okay. And he ran to his vehicle?                                  25   A. He was in the street.

                                                               Page 156                                                             Page 158

 1       You know that he certainly got to his vehicle;                    1   Q. Okay.
 2    right?                                                               2       "Blanding was standing on the north driver's
 3   A. Yes.                                                               3       side of the street."
 4   Q. And it says it was to the east of the individual guys,             4       Which is -- I mean we have "X4" on Exhibit 1.
 5    you guys, and it was parked facing west.                             5       You were on the north side of Curtis; right?
 6       Do you know anything about that?                                  6   A. Yes. 72. Right.
 7   A. Uh-uh.                                                             7   Q. (Reading.)
 8   Q. Okay.                                                              8       "As Plaintiff drove, Defendant Blanding,
 9       THE REPORTER: I'm sorry. Is that --                               9       and potentially others, deployed deadly force,
10       MR. PADDISON: Is that a "no"?                                    10       firing handgun wildly and repeatedly at
11       BY MS. PRESCOTT:                                                 11       Plaintiff's car."
12   Q. Yeses and nos.                                                    12   A. I wouldn't say "wildly."
13   A. No.                                                               13   Q. Okay. Other than "wildly," we know you shot at the car;
14       I'm sorry.                                                       14    right?
15       No.                                                              15   A. I shot at him.
16   Q. Okay. It goes on that he entered the vehicle and headed           16   Q. And you hit -- and you hit -- you saw that you were
17    west on Curtis past you-all.                                        17    hitting the car; right?
18       Did he pass you guys on Curtis?                                  18   A. You don't know that until later, ma'am. I told them I
19   A. Not that I recall.                                                19    was -- I know I shot at his vehicle down -- down window.
20   Q. Okay. And then, 70, he drove several blocks down and              20   Q. Okay. So, you're standing 10 feet away from this car?
21    turned around in a parking lot and drove back down                  21   A. I said "approximately."
22    east -- now this time eastbound.                                    22   Q. I understand.
23       Did that happen?                                                 23       Approximately 10 feet away from this car, you put
24   A. I don't understand.                                               24    16 -- you fire 16 shots, and you don't know whether any
25   Q. That's 70.                                                        25    of them hit?


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 Case 2:16-cv-13036-GAD-SDD
Parker vs.                                    ECF No. 84-5 filed 07/03/18                PageID.1911  Page
                                                                                          Police Officer    41 ofBlanding
                                                                                                         Jerold   49
City of Detroit, et al.                                                                                        October 12, 2017
                                                          Page 159                                                          Page 161

 1   A. I later saw that they hit his car.                            1    for somebody to come pick him up. That's why they kept
 2   Q. Okay. But at the time -- fair enough.                         2    me at the scene so long, to see if he would go to the
 3       At the time, you didn't know; right?                         3    hospital. He didn't call 911 or anything.
 4   A. Correct.                                                      4   Q. And what do you draw from the fact that he didn't call
 5   Q. And 75:                                                       5    911?
 6       "The shots were aimed and intended to kill                   6   A. He had something to hide. He wanted to go get rid of
 7       the Plaintiff."                                              7    that gun first.
 8       We already discussed that.                                   8   Q. Okay. So, why didn't you-all call 911?
 9       That's true?                                                 9   A. We did call 911.
10   A. That's what you're saying. I mean, you don't want to         10   Q. Who?
11    kill anybody, but I was shooting to protect Ways.              11   A. Townson called 911 and described the vehicle and what
12   Q. Well, so you didn't intend to kill him?                      12    direction the vehicle went.
13   A. I was shooting to protect Ways.                              13   Q. He doesn't remember doing that.
14   Q. Okay. Intending to -- if that was what it took, to kill      14   A. Townson doesn't remember what? Calling 911?
15    Demar Parker; right?                                           15   Q. Right.
16   A. I don't like how you're wording it like that.                16   A. Okay.
17   Q. Okay.                                                        17   Q. Nor is the tape anywhere that there's any call.
18       "Including one shot directly in the driver's                18   A. Okay.
19       side window of Plaintiff's car."                            19   Q. So --
20       Do you recall that?                                         20   A. When other units got there, I told them what type of
21   A. (No verbal response.)                                        21    vehicle it was and what direction it went.
22   Q. Do you recall it?                                            22   Q. Well, why don't you call 911?
23   A. I recall shooting at his car, but the way you're wording     23   A. Ma'am, it was so much going on. You know, you don't --
24    this to "kill" the Plaintiff, that was never my                24    I advised them which he went and all that stuff.
25    intention to do that.                                          25       They told me later that they found that vehicle

                                                          Page 160                                                          Page 162

 1   Q. Okay. Well, what -- I guess what I'm asking now is, do        1    stashed and that he was on the phone with someone saying
 2    you remember shooting straight into the -- like at chest        2    that he just got shot. "Come get me. Come get me."
 3    level?                                                          3   Q. Okay.
 4   A. Into the window?                                              4   A. So, they kept me at the scene to wait to see which
 5   Q. Yeah.                                                         5    hospital that he possibly went to, which he didn't until
 6   A. Yes.                                                          6    later. And his story, what he came up with, was
 7       See, that's the crap that I'm talking about.                 7    something totally different.
 8       MR. PADDISON: I understand.                                  8   Q. What was his story he came up with?
 9   A. He didn't do this.                                            9   A. I don't know. I don't know. They wouldn't tell me.
10       THE REPORTER: Excuse me?                                    10   Q. Who did you get all this information from?
11       BY MS. PRESCOTT:                                            11       MR. PADDISON: Objection to the extent it calls for
12   Q. What did he not do? Sixty -- was it 76?                      12    communication protected under attorney/client privilege.
13   A. 77.                                                          13   A. I just know, ma'am.
14   Q. (Reading.)                                                   14       BY MS. PRESCOTT:
15       "Once he felt he was safe from Defendants,                  15   Q. Well, you don't just know. I mean, you had to have
16       Plaintiff pulled over and called for help."                 16    gotten it from somewhere.
17       Do you think that didn't happen?                            17       MR. PADDISON: Objection to the extent it calls for
18   A. Uh-huh.                                                      18    information protected under attorney/client privilege.
19   Q. What --                                                      19       I'm instructing my client not to answer.
20       THE REPORTER: I'm sorry. Is that --                         20       BY MS. PRESCOTT:
21   A. That was a no.                                               21   Q. I'll take an answer. I mean --
22       I'm sorry.                                                  22       MR. PADDISON: No. I'm instructing him not to
23       BY MS. PRESCOTT:                                            23    answer about conversations he had with his attorney.
24   Q. But what do you think happened?                              24       MS. PRESCOTT: I didn't ask for that. I want to
25   A. One of the witnesses said that he called and was calling     25    know who he heard it from first.


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 Case 2:16-cv-13036-GAD-SDD
Parker vs.                                   ECF No. 84-5 filed 07/03/18               PageID.1912  Page
                                                                                        Police Officer    42 ofBlanding
                                                                                                       Jerold   49
City of Detroit, et al.                                                                                      October 12, 2017
                                                        Page 163                                                           Page 165

 1   A. I'll plead the Fifth on that.                               1   A. And tell them what happened, tell them -- you can only
 2      MR. PADDISON: No.                                           2    be brief, but tell them what kind of vehicle he was in
 3      BY MS. PRESCOTT:                                            3    and what direction. That was told.
 4   Q. Well, you can't plead the -- I mean, that's not --          4       As to which officer --
 5      MR. PADDISON: That's not a criminal question. I             5   Q. Right.
 6    am instructing you not to answer.                             6   A. -- I don't know.
 7      BY MS. PRESCOTT:                                            7   Q. Why don't you guys call 911 the night instead of going
 8   Q. Who in the department do you hear that from?                8    over there with your guns and getting out and walking
 9   A. Just other officers.                                        9    out on the street and ultimately ending in a shooting?
10   Q. Which other officers?                                      10   A. Apparently, 911 was called prior to us getting there.
11   A. I don't know their names.                                  11   Q. So, you knew that too; right?
12   Q. Okay. Well, how many -- like who is on the list of         12   A. I found that out later.
13    possibilities?                                               13   Q. Okay. You knew -- well, Ways knew that at the
14   A. Ma'am, there was a lot of people at that scene.            14    time Blanding -- or -- excuse me -- Townson knew that at
15   Q. I know, but not a lot of people know where he went and     15    the time.
16    what he did and what he called.                              16       You learned that later?
17      So, who is giving you the information on the               17   A. Yes.
18    investigation?                                               18   Q. Okay. And so that was one of the reasons why they
19   A. I can't remember who told me when they found his car.      19    needed you to go there because they were worried that
20    But they said, "We found his car stashed."                   20    911 wasn't getting there fast enough?
21   Q. They found his car stashed?                                21       MR. PADDISON: Objection. Calls for speculation.
22   A. Uh-huh.                                                    22       BY MS. PRESCOTT:
23      THE REPORTER: I'm sorry. Is that --                        23   Q. Is that what you understood later --
24   A. Stashed.                                                   24   A. A friend called us and he wanted to see where Ways --
25      BY MS. PRESCOTT:                                           25       THE REPORTER: I'm sorry?

                                                        Page 164                                                           Page 166

 1   Q. You mean the car that you made undrivable and he drove a    1   A. A friend, Townson, wanted to see who was closer to get
 2    mile away?                                                    2    to his son because I know Townson stays way out in
 3   A. If that's what you're saying.                               3    Southfield.
 4   Q. Okay. And so you think that there's something wrong         4       (Deposition Exhibit 5 marked
 5    with not calling 911 after the police have just shot          5       for identification.)
 6    you? You think that that indicates that he was guilty         6       BY MS. PRESCOTT:
 7    of something?                                                 7   Q. Here is Exhibit 5. So, this is Khary Mason.
 8   A. Why wouldn't you call 911 if someone just shot you?         8       Are you Facebook friends with him?
 9   Q. Well, why wouldn't you call 911 if you just someone and     9   A. I don't open Facebook, but he is my friend. I don't
10    you're a police officer?                                     10    even have Facebook any more.
11   A. Because I had Townson call 911, like I said. When other    11   Q. Okay. Irrespective of that, at some point, did you
12    supervisors got there, they were receiving information       12    become friends with him on Facebook?
13    to go look for him.                                          13   A. I have no idea, ma'am. I barely know how to work
14   Q. You weren't -- you didn't delay calling 911 so that you    14    Facebook. Someone opened it for me.
15    guys could create a story?                                   15       (Deposition Exhibit 6 marked
16   A. No. They got there real quick, and I didn't have to        16       for identification.)
17    make up a story.                                             17       BY MS. PRESCOTT:
18   Q. How long? How long did it take them?                       18   Q. Okay. I'll hand you Exhibit 6.
19   A. For the police to get there?                               19       Is this your MAS record?
20   Q. Yeah.                                                      20   A. What is that?
21   A. Under 5 minutes.                                           21       MR. PADDISON: MAS.
22   Q. Then why don't you call the police when you get there      22   A. Oh, yeah. This is what I was talking about.
23    and you have this --                                         23       BY MS. PRESCOTT:
24   A. And tell them --                                           24   Q. Turning to page 8 of 11 -- the pages are at the bottom
25   Q. -- belligerent guy in the street and, you know --          25    left -- what is the "Use of Force PI," that's almost


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                                   Ph: 248.644.8888   Toll Free: 888.644.8080
 Case 2:16-cv-13036-GAD-SDD
Parker vs.                                     ECF No. 84-5 filed 07/03/18                PageID.1913  Page
                                                                                           Police Officer    43 ofBlanding
                                                                                                          Jerold   49
City of Detroit, et al.                                                                                         October 12, 2017
                                                           Page 167                                                           Page 169

 1    dead in the middle of the page under "Use of Force               1    is "Use of Force."
 2    Summary"?                                                        2   A. I have no idea.
 3       Do you know what that is?                                     3   Q. Okay. The one that's earlier than that is 4-17-12, also
 4   A. I guess that means the counts of use of force. I don't         4    with the same supervisor.
 5    understand what the "PI" is.                                     5       Do you know what this is?
 6   Q. "Felonious Assault on a Police Officer," two counts, do        6   A. No.
 7    you know what that is?                                           7   Q. "Citizen Complaints," page 9 and going on to page 10 and
 8   A. I don't know what they mean by that.                           8    page 11, looking at the dates of these, I think the
 9   Q. "Firearm Discharge Reports and Investigation," two, do         9    earliest one is 4-16-03, "Force," a male, 39, in
10    you know what that is?                                          10    narcotics.
11   A. Probably when I killed a dog and shot him. But this           11       Do you remember a name associated with that?
12    isn't up-to-date as far as that.                                12   A. No, ma'am.
13   Q. "Resisting and Obstructing," two counts, are you              13   Q. How about with any of these?
14    familiar with ever being charged or alleged to have been        14   A. No.
15    involved --                                                     15   Q. Were you questioned in each of these instances on pages
16   A. These aren't charges --                                       16    9, 10 and 11?
17       MR. PADDISON: No, these aren't charges.                      17   A. I'm sure I was, but you see the charges that happened on
18       BY MS. PRESCOTT:                                             18    them.
19   Q. Okay. I'm asking you whether you've ever been charged         19   Q. Well, I just need to know if you remember specific dates
20    with resisting or obstructing.                                  20    of being questioned.
21   A. No.                                                           21   A. No, ma'am.
22   Q. Or assault and battery?                                       22   Q. Do you know whether there were -- what -- you don't know
23   A. No.                                                           23    the circumstances of any of these, it sounds like?
24   Q. Anywhere?                                                     24   A. I would have to look back in the archives to see, ma'am.
25   A. No.                                                           25   Q. And what does "Not Sustained" mean?

                                                           Page 168                                                           Page 170

 1   Q. Have you ever been arrested?                                   1       Some of them say "Exonerated."
 2       MR. PADDISON: Objection. Relevance.                           2       What does "Not Sustained" mean?
 3       You can answer.                                               3   A. I'm assuming it wasn't enough for them to go forward
 4   A. No.                                                            4    with anything.
 5       BY MS. PRESCOTT:                                              5   Q. Okay. So, there's a "Force," 4-1-11, against a male,
 6   Q. Okay. "Use of Force History," what is -- looking over          6    16-year-old, "Sustained."
 7    these dates, does this tell -- can you tell me anything          7       What was that?
 8    about any of these incidents?                                    8   A. Where are you looking at?
 9   A. No.                                                            9   Q. It's on page 10, about this far down, 2 or 3 inches
10   Q. May of -- like the bottom one on page 8 is May of 2012.       10    down, 4- --
11       Do you know what that was?                                   11       MR. PADDISON: For the record, my ongoing
12   A. Where?                                                        12    objection. Foundation.
13   Q. So, it's the bottom thing. "Draw Firearm and Acquire          13       BY MS. PRESCOTT:
14    Target Reports," "Use of Force (PI)," 5-23-12.                  14   Q. -- -1-11 --
15       Do you know what that is?                                    15   A. I can't recall these things. But it says "Not
16   A. We pulled over -- if I recall, because it had him -- we       16    Sustained."
17    pulled over like five guys that just shot somebody's            17   Q. Looking at the one that says, "Sustained" against a
18    house up. So, of course we're going to acquire target           18    male, age 16 --
19    while we get them out of the vehicle. And we got a gun          19       MR. PADDISON: I think it's --
20    out of there.                                                   20       BY MS. PRESCOTT:
21   Q. What was the use of force?                                    21   Q. -- and the female "Sustained" --
22       MR. PADDISON: You can answer.                                22       MR. PADDISON: We're looking at 2010, 10-10-2010?
23   A. They're saying pointing your weapon.                          23       MS. PRESCOTT: Yeah. And it looks like it was
24       BY MS. PRESCOTT:                                             24    closed out 4-1-11.
25   Q. Well, under that -- after "Acquired Target," under that       25       BY MS. PRESCOTT:


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 Case 2:16-cv-13036-GAD-SDD
Parker vs.                                     ECF No. 84-5 filed 07/03/18                PageID.1914  Page
                                                                                           Police Officer    44 ofBlanding
                                                                                                          Jerold   49
City of Detroit, et al.                                                                                          October 12, 2017
                                                          Page 171                                                             Page 173

 1   Q. You don't remember what that was?                             1    mentioned Ella Bully-Cummings. Because as soon as she
 2   A. Uh-uh.                                                        2    heard the story, she threw it out.
 3       MR. PADDISON: Is that a "no"?                                3   Q. Okay. And --
 4   A. No, I don't.                                                  4   A. As far as me --
 5       I'm sorry.                                                   5   Q. What was the name of the officer? The female officer?
 6       BY MS. PRESCOTT:                                             6   A. Tracey Elledge.
 7   Q. Okay. Next.                                                   7       She doesn't even stay here any more.
 8       Do you know why your discipline file doesn't                 8       THE REPORTER: Excuse me?
 9    contain discipline?                                             9   A. She doesn't even live here any more. I don't know
10   A. Because I'm a good officer. I don't get in trouble.          10    where; don't care.
11   Q. Well, it doesn't contain the discipline we know you got.     11       BY MS. PRESCOTT:
12       Do you know why that would be?                              12   Q. Okay. Have you ever -- has anyone ever sought a PPO
13   A. I'm not a supervisor, ma'am. How am I supposed to know       13    relative to you?
14    that?                                                          14   A. I sought a PPO against her.
15       (Deposition Exhibit 7 marked                                15   Q. Did you hear my question?
16       for identification.)                                        16   A. What?
17       BY MS. PRESCOTT:                                            17   Q. Has anyone ever sought a PPO against you?
18   Q. Okay. There's something here relative to mistreatment        18   A. Not as far as I know.
19    of a person or a prisoner, the charge being that you           19       MS. PRESCOTT: Okay. Why don't we take a break,
20    did, while off duty, mistreat a fellow officer by using        20    and I'll look at my notes.
21    force without cause or justification.                          21       (Short recess at 4:37 p.m.)
22       Do you remember that?                                       22       * * *
23   A. No. I never had any conflict with another officer. I         23       (Record resumed at 4:50 p.m.)
24    don't know what that is.                                       24       BY MS. PRESCOTT:
25   Q. Hearing officer was Ella Bully-Cummings, 2002.               25   Q. Just a couple of quick odds and ends.

                                                          Page 172                                                             Page 174

 1   A. Who?                                                          1       Am I correct in understanding that there -- it has
 2   Q. Ella Bully-Cummings.                                          2    never come a time when anyone has ever given you any
 3   A. That was our old chief.                                       3    commentary, criticism, critique on what happened between
 4   Q. Yeah, I know.                                                 4    you and Demar Parker?
 5   A. Oh.                                                           5   A. No.
 6   Q. Does that refresh your memory?                                6   Q. Okay. Relative to times when you have been evaluated --
 7   A. That was some allegations that my ex-girlfriend said,         7    you get certain evaluations at different times.
 8    and she found me not guilty on all that, and that               8       Have citizen complaints ever been part of the
 9    officer ended up getting dismissed from the job. That           9    discussions of your evaluations?
10    was an ex-girlfriend. They threw all that crap out             10   A. Not as far as I know. We get a -- forgot what you call
11    because she was lying and forced her to retire.                11    it -- evaluation every year, but I've always been at the
12   Q. Okay. So, if Exhibit 7 is relating to this -- this           12    maximum one for years. I forgot what it's -- service
13    girlfriend was a police officer?                               13    rating.
14   A. Yes.                                                         14   Q. Right.
15   Q. Okay. So, she made an allegation against you of using        15       No one has ever said, you know, "Watch out for this
16    force against her --                                           16    number of citizen complaints," or any kind of references
17   A. No. She made allegations --                                  17    to --
18   Q. -- harming her?                                              18   A. I see a lot of -- we got complaints all the time when we
19   A. -- against some property or something, and I did -- if       19    worked narcotics, ma'am.
20    you did your homework, you'll see plenty of reports that       20   Q. But my question remains that no one has raised this
21    I did against her. That's why that was thrown out.             21    issue with you at your evaluation?
22    That's why she is no longer a police officer.                  22   A. No.
23   Q. Okay. So, Exhibit 7 is relating to that -- that person?      23   Q. Between the night of the shooting and when you leave
24   A. As I recall. That's the only time -- when you                24    that scene and the day of your Garrity interview, do you
25    mentioned -- only reason I said that is because you            25    know of any steps and investigation that were going on?


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                                    Ph: 248.644.8888   Toll Free: 888.644.8080
 Case 2:16-cv-13036-GAD-SDD
Parker vs.                                     ECF No. 84-5 filed 07/03/18               PageID.1915  Page
                                                                                          Police Officer    45 ofBlanding
                                                                                                         Jerold   49
City of Detroit, et al.                                                                                         October 12, 2017
                                                          Page 175                                                            Page 177

 1       I guess you saw Parker at the station, so you at             1   A. Yes.
 2    least know that he was in there.                                2   Q. Is that a photograph from your Instagram?
 3       Anything else you know that went on in that                  3   A. No. That's from Facebook.
 4    intervening time?                                               4   Q. Okay. Do you have any idea why this purported Instagram
 5   A. I saw Parker later, but not that day. I mean, it had to       5    page would have a photo from Facebook?
 6    be weeks before I saw him down at Homicide.                     6   A. It's -- someone switched that around through Metro Times
 7   Q. Okay. Anything you know that went on between the night        7    or whatever. I have no idea why they did it.
 8    of the shooting and your Garrity interview to                   8   Q. So --
 9    investigate the situation?                                      9   A. Well, I know why they did it, but they switched the
10   A. No.                                                          10    photos around.
11   Q. You don't have any recordings, audio or visual, from         11   Q. Why do you believe they did it?
12    that night, I assume?                                          12       MS. PRESCOTT: Objection. Speculation.
13   A. No.                                                          13   A. To make me look bad.
14   Q. You don't know of anyone who does?                           14       BY MR. PADDISON:
15   A. No.                                                          15   Q. You worked in Narcotics for a period of time; correct?
16       I wish I did, but no.                                       16   A. Half my career.
17   Q. You don't know of any reason that Parker and Ways would      17   Q. Okay. Are you familiar with the slang "ice"?
18    have any problem with each other; right?                       18   A. Yes.
19   A. I'm sure after this situation. I mean --                     19   Q. Okay. What is your understanding of what the term "ice"
20   Q. I apologize. I should make this clear.                       20    means?
21       Before the incident that we're here about in August         21   A. Methamphetamine.
22    of 2015, you don't know of anything between them; right?       22   Q. And methamphetamine can be smoked; correct?
23   A. Not -- no.                                                   23       MS. PRESCOTT: Objection to the form. It's
24       MS. PRESCOTT: Okay. Okay. Those are my                      24    leading.
25    questions.                                                     25   A. Yes.

                                                          Page 176                                                            Page 178

 1       MR. PADDISON: Okay, Officer Blanding, a couple               1      BY MR. PADDISON:
 2    real quick follow-ups.                                          2   Q. Can methamphetamine be smoked?
 3   A. This is yours.                                                3   A. Yes.
 4       * * *                                                        4   Q. Okay. So, if someone had the handle "Lit Up the Ice,"
 5       EXAMINATION                                                  5    would you assume that it was referring to smoking
 6       BY MR. PADDISON:                                             6    methamphetamine?
 7   Q. First and foremost, do you believe the action you took        7   A. Not necessarily.
 8    in shooting Demar Parker's vehicle saved the life of            8   Q. Okay. Is it possible that it's your attorney's handle
 9    Officer Ways?                                                   9    that he's had since 16 and refers to hockey?
10       MS. PRESCOTT: Form. It's argumentative.                     10   A. That would be a good one.
11   A. Yes.                                                         11   Q. Okay. Does the handle "Fatal Force" have anything to do
12       MS. PRESCOTT: And leading.                                  12    with your employment as a law enforcement officer?
13       BY MR. PADDISON:                                            13   A. No. That's with my martial arts.
14   Q. You have been shown what's been marked as Exhibit 3;         14   Q. Okay. Officer Blanding, if an individual has a CPL, can
15    correct?                                                       15    they carry a concealed weapon?
16   A. Yes.                                                         16   A. Yes.
17   Q. And it's been suggested this purports to be your             17   Q. Okay. Is it illegal to -- for an ordinary citizen to
18    Instagram; correct?                                            18    carry handcuffs?
19   A. Yes.                                                         19       MS. PRESCOTT: Foundation.
20   Q. Okay. Now, across the top it is the handle "Fatal            20   A. No.
21    Force"; correct?                                               21      BY MR. PADDISON:
22   A. Yes.                                                         22   Q. Okay. Is it illegal for a citizen with a CPL to carry
23   Q. Okay. The photograph that's displayed in the middle of       23    an extra magazine for their firearm?
24    that -- of this Instagram page, is that a photograph of        24   A. No.
25    you?                                                           25       MS. PRESCOTT: Foundation.


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 Case 2:16-cv-13036-GAD-SDD
Parker vs.                                    ECF No. 84-5 filed 07/03/18                PageID.1916  Page
                                                                                          Police Officer    46 ofBlanding
                                                                                                         Jerold   49
City of Detroit, et al.                                                                                         October 12, 2017
                                                          Page 179                                                           Page 181

 1       BY MR. PADDISON:                                             1    that the headlights of Mr. Parker's vehicle were pointed
 2   Q. Officer Blanding, you testified that you were standing        2    directly at Officer Ways?
 3    at what appears to be on the northwest corner of Curtis         3       MS. PRESCOTT: Same objection.
 4    and --                                                          4   A. Yes, they were.
 5   A. That's east.                                                  5       MR. PADDISON: You can place an ongoing, and we can
 6   Q. I'm sorry.                                                    6    speed this up.
 7       Well --                                                      7       BY MR. PADDISON:
 8   A. Okay.                                                         8   Q. In your experience, is it difficult to see into a
 9   Q. Okay. The northeast corner of Curtis and Mendota,             9    vehicle with headlights pointing directly at you?
10    correct, at a time -- well, strike that.                       10       MS. PRESCOTT: Objection. Form.
11       You were standing at the corner of -- the northeast         11   A. Yes.
12    corner of Curtis and Mendota when you heard the car            12       BY MR. PADDISON:
13    being driven by Demar Parker approach?                         13   Q. Okay. So, based on your experience, would it have been
14       MS. PRESCOTT: Leading.                                      14    difficult for Officer Ways to see into the vehicle?
15   A. Yes.                                                         15   A. Yes.
16       BY MR. PADDISON:                                            16   Q. It would have been difficult for him to determine
17   Q. And at some point you observed Mr. Parker with a             17    whether or not Officer -- excuse me -- Mr. Parker had a
18    firearm; correct?                                              18    firearm?
19       MS. PRESCOTT: Leading.                                      19       MS. PRESCOTT: Objection. Form.
20   A. Yes.                                                         20   A. Yes.
21       BY MR. PADDISON:                                            21       BY MR. PADDISON:
22   Q. When did you observe Mr. Parker with a firearm?              22   Q. So, the drawing has been marked as Exhibit 1; is that
23   A. As he was turning.                                           23    correct?
24   Q. Okay. As he was -- as Mr. Parker was turning, were the       24   A. Yes.
25    headlights from his vehicle still in your face?                25   Q. Okay. Is this drawing to scale?

                                                          Page 180                                                           Page 182

 1   A. Not --                                                        1   A. No.
 2       MS. PRESCOTT: Leading and foundation.                        2      MS. PRESCOTT: I'll stipulate it's not, yeah.
 3   A. -- at that time.                                              3      BY MR. PADDISON:
 4       THE REPORTER: I'm sorry?                                     4   Q. Okay. You've made a number of markings on this drawing;
 5       BY MR. PADDISON:                                             5    correct?
 6   Q. Go ahead and answer.                                          6   A. Yes.
 7   A. Not at that time.                                             7   Q. Okay. Are those drawings indicative of exact distances?
 8   Q. Okay. Were you able to see clearly into the vehicle?          8   A. No, not exact distances.
 9   A. Yes.                                                          9   Q. Okay. Is it fair to say they're rough approximations?
10   Q. Okay. Did you observe Mr. Parker's vehicle coming            10   A. Yes.
11    directly at you prior to turning?                              11      MS. PRESCOTT: Same objection. It's leading.
12       MS. PRESCOTT: Objection to the form. It's                   12      BY MR. PADDISON:
13    leading.                                                       13   Q. When you were driving with Officer Ways to the location,
14   A. I could hear a vehicle coming.                               14    you passed near the Northwest Activity Center, did you
15       BY MR. PADDISON:                                            15    not?
16   Q. Okay. Could you observe Officer Ways at the time that        16      MS. PRESCOTT: Objection to the form. Leading.
17    Mr. Parker's vehicle was turning?                              17   A. Yes. It's close by where the incident happened at.
18   A. Yes.                                                         18      BY MR. PADDISON:
19   Q. Okay. When Mr. Parker's vehicle turned, could you            19   Q. Okay. Do you know whether or not at that time Officer
20    observe Officer Ways within the range of the headlights        20    Ways observed Officer Townson's vehicle?
21    of Mr. Parker's vehicle?                                       21   A. I couldn't -- I didn't know that.
22       MS. PRESCOTT: Leading.                                      22   Q. Okay. Do you know if -- when he says -- when Officer
23   A. Yes. The vehicle was going straight at him.                  23    Ways says that he met Officer Townson at the Northwest
24   By MR. PADDISON:                                                24    Activity Center whether he meant that he simply observed
25   Q. Okay. So, based on your perceptions, do you believe          25    Officer Townson's vehicle or whether he stopped and


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 Case 2:16-cv-13036-GAD-SDD
Parker vs.                                    ECF No. 84-5 filed 07/03/18               PageID.1917  Page
                                                                                         Police Officer    47 ofBlanding
                                                                                                        Jerold   49
City of Detroit, et al.                                                                                        October 12, 2017
                                                         Page 183                                                            Page 185

 1    actually spoke to him?                                         1   A. -- going to help his son.
 2       MS. PRESCOTT: Form. It's argumentative.                     2       THE REPORTER: Excuse me?
 3   A. No, we didn't stop and speak to him, but he could have       3       MS. PRESCOTT: Objection to the foundation.
 4    saw his vehicle. He knew where we were going. I didn't         4   A. I believe he was going to help his son.
 5    know where we were going.                                      5       BY MR. PADDISON:
 6       BY MR. PADDISON:                                            6   Q. Okay. Did you -- when you observed Officer Ways
 7   Q. Would it be unusual to say you met someone at a certain      7    approach Mr. Parker and Officer Townson, did you observe
 8    location if you saw them on the street and followed            8    Officer Ways take any police action?
 9    them?                                                          9   A. No.
10       MS. PRESCOTT: It's argumentative and leading.              10   Q. Officer Blanding, from the time you -- Officer Ways
11   A. Yes.                                                        11    first got the call, up and until you fired on
12       BY MR. PADDISON:                                           12    Mr. Parker's vehicle, did you take any police action?
13   Q. Okay. So, if Officer Ways saw Officer Townson's             13       MS. PRESCOTT: It's been asked and answered.
14    vehicle, would it be unusual to say, "Yeah, I met him at      14   A. No.
15    that location"?                                               15       BY MR. PADDISON:
16       MS. PRESCOTT: It's asked and answered.                     16   Q. Okay. Now, is there a DPD policy regarding your
17   A. Yes.                                                        17    obligations if you fire a weapon on or off duty?
18       BY MR. PADDISON:                                           18   A. Yes.
19   Q. You weren't driving at that time, were you?                 19   Q. Okay. What is that policy?
20   A. No.                                                         20   A. Stay at the scene, don't police any brass.
21   Q. Officer Blanding, when you were initially with Officer      21       THE REPORTER: "-- don't --" I'm sorry?
22    Ways, did you know exactly what was going on at the           22   A. Don't police any brass. Don't pick it up. Call for an
23    Curtis location?                                              23    immediate supervisor to -- call for immediate supervisor
24   A. No. I just knew that his son had called Townson and         24    and call for union steward. Let them basically call for
25    said that he was in trouble and he needed help.               25    back-up.

                                                         Page 184                                                            Page 186

 1   Q. Okay. Are you aware of a DPD policy governing off-duty       1      BY MR. PADDISON:
 2    police officers who become aware of criminal activity          2   Q. Okay. So, if I'm understanding your testimony
 3    that is not in their immediate vicinity?                       3    correctly, regardless of whether you are off duty or on
 4   A. Explain it one more time.                                    4    duty, regardless of the circumstances, any time you fire
 5   Q. I can rephrase that if you need.                             5    a weapon, you're required to notify DPD?
 6   A. Okay. Yes.                                                   6   A. With the exception of if you're at the gun range, but,
 7   Q. Okay. If you're off duty and you became aware of some        7    yes.
 8    sort of criminal activity that's not in your immediate         8   Q. Fair enough. Fair clarification.
 9    vicinity, what is your appropriate course of action per        9      Is the DPD policy that once you fire a weapon, with
10    DPD policies?                                                 10    the exception of being at the gun range, you immediately
11   A. To dial 911.                                                11    become a police officer again?
12   Q. Okay. Notify on-duty law enforcement?                       12   A. Yes. That's taking police action.
13   A. Yes.                                                        13   Q. Okay. You said you observed Mr. Parker run from the
14   Q. Okay. Were you acting as a police officer when you and      14    location where he had had altercation with Officer
15    Officer Ways traveled to the Curtis location?                 15    Townson; correct?
16       MS. PRESCOTT: Objection to the form.                       16   A. Yes.
17   A. No.                                                         17   Q. And after you observed Mr. Parker run, you observed
18       BY MR. PADDISON:                                           18    Officer Ways coming back in your direction; correct?
19   Q. Okay. Were -- do you believe that Officer Townson was       19   A. Correct.
20    acting as a police officer when he engaged with               20   Q. Do you know whether or not Officer Ways was following
21    Mr. Parker?                                                   21    anybody?
22   A. No, I believe --                                            22   A. No.
23       MS. PRESCOTT: Objection to the --                          23   Q. Okay. So, you don't know what Officer Ways' state of
24   A. -- he was --                                                24    mind was at the time?
25       MS. PRESCOTT: -- foundation.                               25      MS. PRESCOTT: Objection. Objection to the form.


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 Case 2:16-cv-13036-GAD-SDD
Parker vs.                                    ECF No. 84-5 filed 07/03/18               PageID.1918  Page
                                                                                         Police Officer    48 ofBlanding
                                                                                                        Jerold   49
City of Detroit, et al.                                                                                        October 12, 2017
                                                         Page 187                                                            Page 189

 1   A. No.                                                          1   A. I'm looking everywhere, ma'am.
 2       BY MR. PADDISON:                                            2   Q. Okay. And you lock eyes with the guy or not?
 3   Q. Okay. So, you don't know whether or not Officer Ways         3   A. No. He never saw me.
 4    was attempting to follow Mr. Parker?                           4   Q. Okay. So, he rolls down the window?
 5       MS. PRESCOTT: Objection to the form.                        5   A. The window is already down.
 6   A. No.                                                          6   Q. Window is down, and he's telling you "What now?" or
 7       MR. PADDISON: Okay. I think that does it.                   7    "Look what I've got" or whatever?
 8       * * *                                                       8   A. He wasn't telling me. He was saying it as he was
 9       RE-EXAMINATION                                              9    driving toward Ways.
10       BY MS. PRESCOTT:                                           10   Q. Okay. And so he's saying that while he's turning the
11   Q. Anything you know, sir, about what Townson was thinking     11    corner or on Mendota or what?
12    that night, or how he was -- what -- where his head was       12   A. As I recall, yes.
13    would be because Ways told you what Townson had said to       13   Q. Which one was it?
14    him on the phone?                                             14   A. As he was turning the corner, that's when I could see he
15   A. Yes. Because he said his son had called for help, and       15    had a weapon in his hand. He was saying whatever I said
16    he wanted to see where he was at.                             16    on the PCR, "What's up now, niggers," or something like
17   Q. Okay. But I'm right that you didn't talk to Townson         17    that.
18    that night before the shooting?                               18   Q. Okay. But by then you're already shooting because
19   A. No. I was listening back and forth to them on the           19    you're shooting as he's turning; right?
20    phone. I couldn't really hear what Townson was saying.        20   A. Once I saw the gun and saw him going at Ways, that's
21    I could hear Ways --                                          21    when I started shooting.
22   Q. Okay.                                                       22   Q. You're looking where you're shooting; right? Of course?
23   A. -- saying where at -- you know, "Where's he at?" and        23   A. Of course.
24    different stuff like that.                                    24   Q. So, when you just testified that you were --
25   Q. So, you could hear half the conversation?                   25   A. Oh, God.

                                                         Page 188                                                            Page 190

 1   A. Not even half. Just like, "Where is he at now?"              1   Q. -- looking at Ways, when was that? That was before you
 2    "Where?" "Okay." You know, stuff like that.                    2    were shooting?
 3   Q. Okay. What policy are you talking about, about what to       3       MR. PADDISON: Objection. Mischaracterizes the
 4    do when you've got a shooting, what to do when you have        4    testimony. The question was could he see Ways.
 5    discharged a weapon? These things you just mentioned,          5       BY MS. PRESCOTT:
 6    policies, what policies are those?                             6   Q. Were you ever looking back at where Ways was?
 7   A. You have to make your notifications.                         7   A. I saw where Ways was at. I saw him with the gun in his
 8   Q. Are they written policies?                                   8    hand. I saw him turning the corner hard. I saw him
 9   A. I'm sure they're written. They're just policies per my       9    accelerating towards Ways. That's when I started to
10    experience that I know what you're supposed to do if you      10    shoot.
11    fire your weapon.                                             11   Q. Okay. So, you know Ways is off down the way where we
12   Q. Okay. And in terms of what policies are written             12    have "X5," and now you turn your attention to the place
13    relative to deploying force, would you be able to give        13    you're going to shoot; right? So, you make sure there's
14    me details on any of those?                                   14    no children, no ladies, no whatever. You're looking
15   A. As far as the correct order, not offhand.                   15    where you're going to shoot; right?
16   Q. When you are at "X4," you hear tires squealing kind of      16   A. Of course.
17    behind you and over your right shoulder?                      17   Q. And as you testified before, that's as he's turning from
18   A. I can't say what shoulder, ma'am, I just hear tires         18    south to east, making that turn; right?
19    squealing and see a car coming at a high rate of speed.       19   A. Yes.
20   Q. Okay. Well, he's coming from behind you; right?             20       MS. PRESCOTT: Okay. That's all the questions.
21   A. Yes.                                                        21       MR. PADDISON: That does it.
22   Q. Okay. And do you turn to the sound?                         22       Could I get an E-trans and -- I know I say this
23   A. Yes.                                                        23    every time. Some people are using PTX, others are doing
24   Q. Because you want to see that it's the guy that just ran     24    PDF. We can't open the PTX format, so if I can get an
25    off as opposed to some old lady?                              25    ordinary PDF, I would very much appreciate that. And


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 Case 2:16-cv-13036-GAD-SDD
Parker vs.                                   ECF No. 84-5 filed 07/03/18   PageID.1919  Page
                                                                            Police Officer    49 ofBlanding
                                                                                           Jerold   49
City of Detroit, et al.                                                                   October 12, 2017
                                                         Page 191

 1   could I get it with an index as well.
 2     (Deposition concluded at 5:06 p.m.)
 3     * * *
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                                                         Page 192
 1          STATE OF MICHIGAN )
 2          COUNTY OF OAKLAND )
 3                           CERTIFICATE OF NOTARY PUBLIC
 4              I do hereby certify that the witness, whose
 5       attached testimony was taken in the above matter, was
 6        first duly sworn to tell the truth; the testimony
 7       contained herein was reduced to writing in the presence
 8        of the witness by means of stenography; afterwards
 9       transcribed; and is a true and complete transcript of
10          the testimony given.
11            I further certify that I am not connected by blood
12       or marriage with any of the parties; their attorneys or
13        agents; and that I am not interested, directly or
14         indirectly, in the matter of controversy.
15             In witness whereof, I have hereunto set my hand
16       this day at Highland, Michigan, County of Oakland, State
17          of Michigan on Friday, October 20, 2017.
18
19
20
21                   _______________________________________
22                        John J. Slatin, RPR, CSR-5180
23                        Certified Shorthand Reporter
24                   Notary Public, Oakland County, Michigan
25                    My commission expires:      July 25, 2023


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